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ROBERT M. YASPAN, SBN 051867

JOSEPH G. MCCARTY, SBN 151020

DEBRA R. BRAND, SBN 162285

LAW OFFICES OF ROBERT M. YASPAN

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Attomeyfor Plaintrf€s' Consul Group RE Dos Ml Veintiuno Sociedad de
Responsabilidad Limitada, etc. and Wise Nem)ork, S.A.

UNITE]) STATES DISTRICT COURT
CENTRAL })ISTRICT OF CALIFORNIA - WESTERN DIVISION

CONSUL GROUP RE DOS MIL )
vElNTIUNO SOCIEDAD DE ) CASE NO-¢
RESPONSABILIDAD LIMITADA AKA )

CONSUL GROUP RE 2021 S.R.L. AKA ) COMPLAINT FOR=
CONSUL GROUP RE 2021, LTDA, a )

Costa Rican limited iiability company and ) l' CONSPIRACY TO

WzSE NETWORK, S.A., a Costa Rican ) DEFRAUDS
corporation, ) 2' FRAUD;
) 3. CONVERSION;
Plaintiffs’ ) 4. CONSTRUCTIVE TRUST;
V_ ) 5. RESULTING TRUST;
6. BREACH OF FIDUCIARY
LIDIA ZINCHENKO aka LIDIYA ) DUTY;
ZINCI'IENKO, 311 individual and dba § 7_ BREACH OF CONTRACT;
RANER AG; RAINIER AG, a ) 3_ NEGLIGENCE;
purported SWiSS trust company; RAINIER 9_ ACCOUNTING;

ADVISORY GROUP, LTD., an El‘lg1&rld ) 10_ INJUNCTIVE RELIEF;

and Wales Company; MICI~§[AEL GUSS ) 1 1_ DECLARATORY RELIEF;
AKA 1\/[[CHAEL GAUSS AKA ) 12_ ngl\/HSSORY FRAUD;
MIKHAIL GASS AKA I\AICHAELI ) 13. RESCISSION FOR FRAUD;
GUSS AKA MICHAEL I. SYROEJINE ]4_ RESCISSION F()R FAILURE
AKA MIKHAIL IVAN SYROHNE AKA OF CONSIDERATI()N;
NIIC}IAEL SYROJESCI~HN, AKA ]5_ IN THE ALTERNATIVE,
b/[[KHAIL SYROETINE, an individual, BREACH ()F CONTRACT

and dba EWLES FINANCIAL; DEMA_ND FOR JURY TRIAL
GREGORY MANCUSO aka GREG

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l\/IANCUSO, an individual; TH_E BANK )
OF NEW YORK l\/[ELLON )
CORPORATION aka BNY MELLON, a )
Delaware corporation; PERSH`[NG, LLC, )
a Delaware corporation; CASEIS BANK, )
S.A.; BAADER BANK; and DOES 1-50, )
inclusive,

\_/\_/\_/\_/

Defendants.

 

 

 

Plaintiffs Consul Group RE Dos Mil Veintiuno Sociedad de
Responsabilidad Lirnitada (translated to English as Consul Group RE 2021
S.R.L).aka Consul Group RE 2021, Ltda (“CONSUL”), and Wise Networl<, S.A.
(“WESE”), (referred to together as “Plaintiffs”) state as folloWs:

JURISDICTION AN}) VENUE

1. This Court has jurisdiction of this action pursuant to 28 U.S.C.
Section 1332(a)(b). There is complete diversity between ali of the Plaintiffs on the
one hand, and all defendants on the other. There is more than $75,000 in
controversy, exclusive of interest and costs.

2. Venne lies in this district pursuant to 28 U.S.C. Section 1391(a)

PARTIES

3. Pla'mtiff CONSUL is a limited liability company organized and
existing under the laws of Costa Rica, Where it has its principal place of business

4. For all times herein relevant, the Manager of CONSUL is, and has
been, Mauricio Lara (“LARA”), an attorney in Costa Rica, Who is also its only

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member/shareholder

5. Plaintiff W¥SE is a corporation organized and existing under the laws
of Costa Rica, where it has a principal place of business LARA is an officer of
WISE.

6. Plaintiffs are informed and believe and thereupon allege that
l)efendant Lidia Zinchenl<o aka Lidiya Zinchenl<:o, dba Rainier AG (“LIDIA”) is,
and has been, a resident of Santa Barbara County, State of California. On or about
May 16, 2017 LIDIA recorded a “flctitious business name” statement numbered as
2017~0001472 in the County of Santa Barbara under the name of “Rainier AG”
(the “RA}NIER DBA”). Tl:ie business type is listed on the RAINIER DBA as an
“individual”. A true and accurate copy of the abstract of the RAIN_[ER DBA filed
with the County of Santa Barbara is attached as Exhibit 1.

7. Plaintiffs are informed and believe and thereupon allege that the
Defendant LIDIA registered the fictitious business name statement so that she
could impersonate RAlNlER in the United States to unwitting third-party
customers and investors such as CONSUL and VVISE. Plaintiffs are informed and
believe and thereupon allege that the Defendant LIDIA usurped and impersonated
the identity of RAlNlER, either consensually or not, for the purpose of theft and
misrepresentation

8. Plaintiffs are informed and believe and thereupon allege that the

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Defendant Rainier AG claims to be a Swiss trust company, formed in or around
March l, 1971 (“RAINIER”). Arnong other things, Plaintiff is informed and
believes that RAINIER does business as a shareholder in Petlife Phannaceuticals,
lnc. (“PETLIFE”), a corporation that operates in Los Angeles County, State of
California. Plaintiffs are also informed and believe and thereupon allege that the
Defendant RAINIER may use as its own bank accounts, the bank accounts of co-
Defendant LlDlA who does business under the name of Rainier AG through the
RAINIER DBA, and Ezbanc Corp. (°‘Ezbanc”), a Florida corporation with its
principal place of business in the County of Santa Barbara, State of California.

9. Plaintiffs are informed and believe and thereupon allege that the
Defendant Rainier Advisory Group, Ltd., (“RAG”) is a corporation formed in the
United Kingdorn as Cornpany Nurnber 11456266 on July 10, 2018. RAG claims
to be a subsidiary of RAINIER, which it falsely claims is regulated by Swiss
banking and iiduciary authorities

10. Plaintiffs are informed and believe and thereupon allege that
Defendant Michael Guss dba Embles Financial (“GUSS”) is a resident of either
Santa Barbara County and/or Los Angeles County. Plaintiffs are informed and
believe and thereupon allege that GUSS is an individual who does business under

several aliases. He is also known as (“aka”) Michael Gauss aka l\/likhail Gass aka

Michael l Guss aka Michael l. Syroejine aka l\/likhail lvan Syrojine aka Michael

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Syrojeschin, aka Mikhail Syroetine. GUSS does business in and around Los
Angeles and its environs including the buying and selling of companies and their
shares. GUSS has been convicted of money laundering in 1996 in which he
cooperated with federal prosecutors to testify against members of a Russian
organized crime syndicate ln a NASD proceeding in 2007 GUSS was convicted
of managing a broker dealer while an unregistered control person

ll. GUSS (under his alias of Gauss) executed the purchase contract of
PETLIFE in or around February 2017 on behalf of RAINiER as its authorized
agent.

12. Plaintiffs are informed and believe and thereupon allege that LIDIA
and GUSS are related and/or married and/or previously married

13. On or about September 4, 2015, GUSS recorded a fictitious business
name statement numbered as 2015~0002643 in the County of Santa Barbara under
the name of “Ernbles Financial” with its “business address” listed as being in
“Santa Barbara, California”. A true and accurate copy of the abstract of the
fictitious business name filed with the County of Santa Barbara is attached as
Exhibit 2.

14. GUSS is also an officer of Ezbanc, which is an alleged owner of.at
least one of the bank accounts used by RAINIER. Ezbanc lists as its agent of

service of process in California “Embles Financial, lnc.”, although no such

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corporation exists in California and “Ernbles Financial” is a fictitious business, or
“dba”, of GUSS.

15. Notably, Ezbanc was reinstated in May 2018 in Florida by the Florida
Secretary State after not being compliant under Florida law for approximately six
years and co~Defendant Gregory Mancuso aka Greg Mancuso (“MANCUSO”), a
claimed (by MANCUSO) account representative for RAINIER, signed the
corporate reinstatement as the registered agent for Ezbanc. Ezbanc Corp.
transferred USD $300,000 (a part payment of funds owing) to plaintiff allegedly
on behalf of RAINIER or LlDlA as a part of the fraudulent scheme hereupon
alleged

16. Plaintiffs are informed and believe and thereupon allege that
MANCUSO is an individual who acted as the account manager for the CONSUL
Account on behalf of RAINIER, who has his residence in the City of Austin, State
of Texas and does business in the County of Santa Barbara, State of California

17. Specifically, Plaintiffs are informed and believe that since in or about
July 2017, MANCUSO is a control person and primary owner of Heritage Equity
Management, LLC that is located at 330 Spaulding Drive, Penthouse 1, Beverly
Hills, California 90212 with a mailing address of 1187 Coast Village Road, #1-
465, Montecito, California 93108.

18. Plaintiffs are informed and believe and thereupon allege that LlDlA

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held herself out falsely as RAINIER in order to induce CONSUL to invest funds
with RAINIER. ln this endeavor LIDIA was aided and abetted by GUSS, acting
under the names of Embles Financial and Ezbanc, and MANCUSO who falsely
represented himself to be the c‘President” of Embles Financial When Ernbles
Financial in reality is nothing more than GUSS under another name. ln fact,
Embles Fina;ncial, Inc. Was a corporation that was formed in the British Virgin
lslands (“BVI”) on or about November 7, 2014 with LlDlA as its sole director.
The corporation known as Embles Financial, Inc. Was subsequently was stricken
from the Register of Companies as of December l, 2015 and is no longer in good
standing

19. Neither RAINIER nor LIDIA under Swiss law can hold equity
securities in their own name; rather they must hold customers’ assets in depositary
accounts with recognized clearinghouses. Two of such clearinghouses are
maintained by Defendant The Bank of New York Mellon Corporation dba BNY
Mellon (“BNY”) and its subsidiary Defendant Pershing LLC variously also known
as Pershing Corp., BNY’s Pershing and BNY/Pershing (“PC”).

20. Plaintiff is informed and believes that Defendant BNY is a Delaware
corporation that maintains offices in the County of Los Angeles, State of
California

21. Plaintiff is informed and believes that PC is a Deiaware corporation

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that maintains offices in the County of Los Angeles, State of California

22. Plaintiffs are informed and believe and thereupon allege that either
RAINIER or LIDIA (acting in her role as an impersonator), or both, has a direct
(i.e., in their own name) or indirect (i.e., in some other entity’s name) depositary
account at either BNY or PC (the I)EPOSITARY ACCOUNT(S)). Said
DEP()SITARY ACCOUNT(S) are either in the name of RAINIER or LIDIA, or
held for the benefit of RAlNIER or LlDIA by either Caceis Bank, S.A., or Baader
Bank. Plaintiffs are informed and believe and thereupon allege that BNY or PC,
to the extent that either holds CONSUL’s shares, it does so as a trustee or
constructive trustee for the true owner of the shares, i.e. CONSUL.

23. Plaintiffs are informed and believe and thereupon allege that either
EZBANC, GUSS or LIDIA, or some combination thereof, has a direct (i.e., in
their own name) or indirect (i.e., in some other entity’s name) bank account in
which funds sent by Plaintiffs have been received. Plaintiffs are informed and
believe and thereupon allege that EZBANC, GUSS or LIDIA, to the extent that
any or all hold CONSUL’s monies, they do so as a trustee or constructive trustee
for the true owner of the funds, i.e., Plaintiffs.

24. Defendant Caceis Bank, S.A. (“CACEIS”) is a member of Groupe
Credit Agricole aka Credit Agricole, S.A. (“GCA”) and is a part of its “asset

managemen ” division. CACEIS describes itself on its website as “. . .the asset

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servicing banking group of Credit Agricole, S.A. dedicated to asset manager, bank
institutional and corporate clients”. CACEIS has a United States office at 1301
Avenue of the Americas, New York, NY 10019. GCA has additional offices in
the United States in New York City, Chicago, IL and Houston, TX. CACEIS
further does business with BNY and PC in the United States through the
maintenance of clearinghouse accounts in the United States for the benefit of itself
and its GCA customers Plaintiffs are informed and believe and thereupon allege
that CACEIS, to the extent that it holds CONSUL’s shares, it does so as a trustee
or constructive trustee for the true owner of the shares.

25. Defendant Baader Bank (“BAADER”) is a German bank with an
international presence. lt does business in the United States in New York City and
Boston, MA through its wholly owned subsidiary (according to its website)
Baader Helvea, lnc. BAADER further does business with BNY and PC in the
United States through the maintenance of clearinghouse accounts in the United
States for the benefit of itself and its customers Plaintiffs are informed and
believe and thereupon allege that BAADER, to the extent that it holds CONSUL’s
shares, it does so as a trustee or constructive trustee for the true owner of the
shares

26. CACEIS, BAA})ER, BNY and PC are jointly referred to as the

“BANK DEFENDANTS”.

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27. Plaintiffs are informed and believe and thereupon allege that the
BANK DEFENDANTS presently holds in excess of 2,000,000 shares of Gopher
Protocol, Inc., CUSIP 38268V108 (“GOPH”) belonging to CONSUL; and in
excess of 8,300,000 shares of l\/lobiquity Networks, CUSIIP 60743F102,
(“MOBQ”) belonging to CONSUL.

28. The true names, identities and capacities of the defendants named as
Does l through 35, inclusive (each a "Doe Defendant" and, collectively, the
"Doe Defendants"), are unknown to the Plaintiffs at the present time. However,
Plaintiffs are informed and believes and thereon allege that each of these fictitious
defendants is/are in some manner responsible for the events and damages to
Plaintiffs as alleged in this Complaint. Plaintiffs Will seek leave from this Court to
amend this Complaint to include the true names, identities and/or capacities of
these fictitious defendants when they are ascertained

29. Plaintiffs are informed and believes and thereon allege, that at the
times mentioned herein the Doe Defendants, and each of them, were the agents,
shareholders, officers, directors, employees, servants, independent contractors,
partners, joint venturers, alter egos, successors in interest, and/or representatives
of each of the other defendants, and each of them, and conspired with each other,
or some of them, in some manner which caused the damages suffered by Plaintiffs

as alleged herein and/or are the alter ego of the corporate defendants such that they

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should be determined to be liable with said defendants
ALTER EGO ALLEGATIONS

30. Plaintiffs are informed and believes, and on that basis alleges, that
there exists, and at all times herein mentioned there existed, a unity of interest in
ownership between defendants RAlNlER, RAG, GUSS and LlDlA and DOES 1-
15 such that individuality and separateness between defendants RAINIER, RAG,
GUSS and LlDIA and DOES 1-15 has ceased, and that defendants RAINIER,
GUSS, RAG and LIDIA and DOES l-15 are alter egos of each other.

31. Plaintiffs are informed and believe and thereupon allege that
RAlNlER, GUSS and/or LIDIA direct and control all activities relating to RAG,
including the actions at issue in this matter. On information and belief, RAlNlER,
GUSS and/or LlDlA exercise control over RAG’s daily activities, including all
business-related matters

32. Plaintiffs are informed and believe that RAINIER, GUSS and/or
LIDIA have transferred money between RAG and RAINIER, GUSS and/or
LIDIA without the consent of the customers and to further their fraudulent acts.

33. Plaintiffs are liirther informed and believe that RAG did not have a
website and email addresses of its own, but relied on that of RAlNlER, LIDIA
and/or GUSS’s website and email addresses

34. Plaintiffs are further informed and believes that RAG was

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undercapitalized in light of the work it was supposed to perform; i.e., only GBP
200.

35. All of RAG’s portals had the RAlNlER name on it.

36. RAG’s contracts also included RAlNlER and the alleged employees
who were soliciting clients for RAG where the same alleged employees as
RAINIER.

37. Moreover, on information and belief, RAlNlER, GUSS and/or LlDlA
directs, controls, or acts in concert with RAG to control the accounts of RAG.

38. RAG did not have an office, but rather used an “address service” as a
business address

39. Plaintiffs are iiirther informed and believe that at all times herein
mentioned RAINIER and RAG were mere shells and sham without capital, assets
or stock. RAlNlER and RAG were conceived intended and used by LlDlA,
GUSS and DOES 1-15 as a device to avoid individual liability and for the purpose
of substituting a financially insolvent corporation in the place of LIDIA, GUSS
and DOES 1-15. RAINlER and RAG are, and at all times herein mentioned was,
so inadequately capitalized that, compared with the business to be done by
RAlNlER and RAG, and the risks of loss attendant thereto, its capitalization was
illusory

40. Adherence to the fiction of the separate existence of RAINIER,

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GUSS, LlDlA and/or RAG and DOES 1-15 would permit the abuse of the
corporate privilege and would sanction fraud and would result in an injustice to
Plaintiffs

GENERAL ALLEGATIONS

41. ln late April 2018, LARA on behalf of Plaintiffs, contacted Hernan
Castro (“Castro”) of AGM 'l`echnology,l lnc., a financial broker in Costa Rica to
find a company that could trade GOPH stock on behalf of a third-party company
not otherwise involved herein (“COMPANY ONE”). LARA submitted an
application to Castro on or about April 26, 2018.

42. Castro was aware that GOPH was considered at the time as a “penny
stoc ” (which meant that its shares typically traded at less than USD $5.00 per
share).

43. On or about May 8, 2018, Castro told LARA that he was talking with
different clearing Fiims and that three of them were able to receive the GOPH
shares for trading On May 24, 2018, COMPANY ONE was told that an account
with a company known as RAlNlER was approved with an account number
ending in xxxx7l88 (“ACCOUNT”). Plaintiff is now informed and believes and
thereupon alleges that Castro has known GUSS for approximately 20 years and
was referred to RAlNlER from GUSS.

44. Ori l\/lay 28, 2018, LARA received an email from Castro providing

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the wire information for RAINIER. Plaintiffs and LARA were unaware that the
wire transfer information was for the bank account of LlDlA in her deceptive role

of “doing business” as “Rainier AG”. The information provided by Castro was:

ABA 026009593
Bank Account XXXXX2918

45. Plaintiff is informed and believes and thereupon alleges that GUSS,
LlDlA and/or MANCUSO provided the deceptive wire transfer information to
Castro.

46. On June 1, 2018, non-defendant Philippe Herrmann aka Philippe
Hermann (“l-IERRMANN”), the Manager of the so-called “Compliance
Departmen ” of RA]NIER sent an email to Castro which was forwarded to LARA
on behalf of CONSUL, that explained the procedures regarding the fees, deposits
and withdrawals l-lERRl\/_[ANN concealed the fact that the wire transfer
information that RAINIER had forwarded to LARA was not that of RAINlER
residing allegedly in Zug, Switzerland, but rather that of LlDlA, an individual in
Santa Barbara, California

47. On June 4, 2018, Castro forwarded to LARA an email from
l-lERRMANN, and copied it to MANCUSO, which stated that RAINIER had not
heard any updates regarding the ACCOUNT (i.e., an opening transfer of funds to
account). HERRMANN wrote:

“We shall not be opening any new accounts without carefully scrutinizing

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the clients’ financial position including but not limited to proof of funds

intended for deposit as well as going through additional requisite

compliance procedures to ensure the viability of the potential clients.”

48. HERRl\/IANN threatened to close the ACCOUNT, but when Plaintiff
CONSUL agreed to work with Plaintiffs, the account was “reoperied” with no
further required documentation by RAINlER.

49. Between lurie 5, 2018 and early October 2018, by telephone,
MANCUSO on behalf of RAINIER contacted LARA as a representative of
Plaintiffs in said telephone conversations l\/IANCUSO represented to LARA that
RAINlER had been in existence since 1971 in Switzerland, was a member of
FINMA and compliant with FlNl\/lA’s rules and all Swiss banking regulations
and that RAINIER had an experienced brokerage house (RAG) that could also
handle a public offering for certain cryptocurrency security tokens.

5 0. ln addition, between June 5, 2018 and early October 2018, in
telephone conversations with LARA, MANCUSO on behalf of RAINlER and the
other Defendants, represented to Plaintiff CONSUL:

A. That RAINIER was a licensed broker and would follow Plaintiff
CONSUL’ s instructions;

B. With respect to the money and stock entrusted to RAlNlER, such

stock would be sold only with RAINlER’s knowledge and consent, and money

would only be transferred upon CONSUL’s instructions

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C. RAlNlER and its alleged employees would act as fiduciaries and
trustees for the stock and monies being held on behalf of CONSUL and would
safeguard CONSUL’s assets

51. MANCUSO, on behalf of RAINIER, also authorized Plaintiff
CONSUL to use the ACCOUNT that had previously been set up for COMPANY
ONE without getting first the approval of COl\/[PANY ONE.

52. On October 3, 2018, MANCUSO, on behalf of RAlNlER, sent wire
transfer instructions to representatives of the entities that were transferring their
stockholdings, and funds, to CONSUL. rl`he email stated:

“Wire lnfo for $125,000
Rainier AG
ABA 026009593
Account XXXXX29 1 8

Address

Rainier AG

Swiss Asset Management
Neugasse 15

CH-6301 Zug
Switzerland

DWAC INFO: [for securities]
lnteractive Brokers LLC
DTC # 05 34

Accoubt [sic]: XXXX8219
Account Name: Rainier AG

[signed]
Greg Mancuso
Rainier AG

Swiss Asset l\/lanagement

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Neugasse 15
CH-6301 Zug
Switzerland”

See Exhibit 3 (the “MANCUSO EMAlL”).

53. Unbeknownst to Plaintiffs, the bank account for funds transfer listed
in the MANCUSO EMAIL for “Rainier AG” in Exhibit 3 was LlDlA’s bank
account The DWAC information for shares transfer specified lnteractive Brokers
LLC (“IBL”) a brokerage house in the United States On October 5 , 2018,
MANCUSO instructed CONSUL to use a different broker than IBL

54. Following MANCUSO’s instructions allegedly on behalf of
RAINIER, CONSUL, through a consultant of CONSUL, wire-transferred USD
$100,000 on or about October 3, 2018 and USD $25,000 on October 4, 2018 to
what it thought was RAlNlER’s bank account A copy of the transactions from
the bank statement is attached hereto as Exhibit 4.

55. MANCUSO’s instructions as set forth above, state that RAINlER’s
bank is in Switzerland but the code for the bank transfer, as published by the
Anierican Bankers Association, shows that the code is attributable to a Bank of
America branch in New York City. See Exhibit 5.

56. Following MANCUSO’s instructions CONSUL caused to be

transferred 2,244,839 shares in Gopher Protocol lnc. (“GOPH”) on or about

Octo‘oer 6, 2018, to what it thought was RAlNlER’s clearinghouse account at

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BNY. See Exhibit 6.

57. On October 9, 2018, MANCUSO sent to a consultant of CONSUL a
“New Account Forms Corporate” as a “formality” on the already-opened
ACCOUNT.

58. On October 12, 2018, Brian Barthlow (“Barthlow”) of Empire Stock
Transfer lnc. (“Empire”) spoke to MANCUSO at RAINIER. Barthlow checked
the DWAC system and the share were not out there ready for trading. Barthlow
was told by MANCUSO that the European broker was a bit dense. On October
15, 2018, the stock was still not in the DWAC system. MANCUSO represented
that he or the representative from RAINIER that handles the clearing house would
contact Ernpire to finalize the transaction

59. On October 15, 2018, the shares had to be canceled because the
broker did not reference the account name of RAlNlER AG or its account number.

60. Following MANCUSO’s instructions CONSUL caused to be
transferred a further 2,400,000 shares in GOPH on October 19, 2018, to what it
thought was RAINlER’s clearinghouse account Said shares were transferred by
DWAC pursuant to an irrevocable stock power to ‘°BNY FBO Caceis S.A. FBO
Rainier AG Baader Bank-Rainier AG Acc .” See Exhibit 7.

61. On or about October 26, 2018, LARA, for CONSUL, filled out and

sent in to RAlNlER a series of forms entitled as “Account Opening

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Documentation.” (“RAINIER DOCS”). The address of RAINIER was given as
Neugasse 15, CH~6301 Zug, Switzerland on the forms LARA signed for
application forms as the Manager for CONSUL.

62. On October 29, 2018 RAlNlER sent a statement of account to
CONSUL and admitted that it was holding USD $639,783.33 for the benefit of
CONSUL. See Exhibit 8.

63. On October 29, 2018 CONSUL requested a withdrawal of USD
$3 00,000 from the ACCOUNT supposedly at RAlNlER. MANCUSO, for no
good reason, rejected the request, but he then stated that he would approve a
withdrawal of USD $265,000 from the ACCOUNT which was to be sent to a third
party for the benefit of CONSUL. CONSUL resubmitted a withdrawal request of
USD $265,000. See Exhibit 9.

64. lnstead on November 9, 2018, there was a transfer of USD $165,000
that was not sent by RAlNlER, but rather Ezbanc Corp., the recently reinstated
corporation of GUSS, with a notation that it was a loan from MANCUSO to
CONSUL’s consultant (See Exhibit 10). Although sent by Ezbanc Corp., the
statement of CONSUL’s ACCOUNT with LIDIA or RAINIER is shown as a debit
on October 29, 2018 of USD $265,000 (See Exhibit 11), even though no such
amount was ever paid out to CONSUL or to the third party.

65. Neither of the Plaintiffs had any account with Ezbanc or

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MANCUSO; nor to the best of their knowledge do either of the plaintiffs have any
credit or debit balance with Ezbanc or MANCUSO. ln short, they do not know
why said funds were received from either Ezbanc or MANCUSO.

66. On November 9, 2018, Castro sent to CONSUL additional forms that
needed to be filled out by CONSUL for the alleged sale of MOBQ shares

67. Based upon the representations by MANCUSO that RAG was
experienced with public offerings and was the wholly-owned subsidiary of
RAINIER, on or about November 9, 2018 Plaintiff WISE sent an alleged
agreement entitled as an “Advisory and S'l`O Origination Agreement” (“WISE
AGT”) to Defendant RAG. See Exhibit 12.

68. On November 14, 2018, MANCUSO was sent documentation
relating to WlSE for comments by RAG. Such was never done.

69. WISE contends that the VVISE AGT was not executed by RAG and
that RAG did not perform any services on behalf of WISE.

70. On or before November 28, 2018, CONSUL sent a request for funds

to RAINIER, i.e., to be sent funds from the account that had already cleared On

_ November 29, 2018, RAINIER “declined” the request by claiming that the email

was sent from an email account not on file with RAlNlER.
71. Thereafter on December 6, 2018, LARA sent another request for a

wire transfer for the total amount of USD $500,000. CONSUL instructed in an

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email that of the USD $500,000, USD $200,000 was to be sent for the balance of
the RAG alleged agreement and USD $300,000 was to be sent to the consultant or
CONSUL.

72. On December 7, 2018, “Ezbanc Corp” sent USD $300,000 to a
consultant of CONSUL with a notation that it was a “loan disbursement” to
h/lANCUSO. See Exhibit 13. Although sent by Ezbanc Corp., the debit horn
CONSUL’s ACCOUNT with LIDIA or RAINlER is shown on the statement
attached as Exhibit 14. The statement reflects a debit of USD $500,000, but does
not itemize the transaction showing that USD $200,000 was sent to RAG.

73. lt was with the understanding that RAlNlER and RAG were going to
perform pursuant to the WISE AGT, CONSUL authorized the aforementioned
transfer of USD 8200,000, which brought the total amount paid to WISE USD
8250,000. The USD 8250,000 was the deposit for the tokenization offering which
WISE did nothing to earn.

74. During this period of time where Defendants, and each of them, were
refusing to allow Plaintiffs access to their money, Plaintiffs first discovered that
the CONSUL funds were sent not to a RALNIER bank account in Switzerland, but
rather to a bank account owned by Lidia Zinchenko acting as a “sole proprietor”.
The MANCUSO EMAIL quoted above in Exhibit 3 directs that funds be sent to

account number “XXXX2918”. Yet while the wire transfer out went to

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“RAll\llE ”, the bank acknowledgment that was issued in mid-November 2018
shows that the beneficiary on the account was LlDlA. See Exhibit 4.

75. Plaintiffs are informed and believes, and thereon alleges, that the only
way for the bank to be able to accept a wire transfer directed to RAINIER into an
individual account in the name of LlDlA is because the bank was given the false
fictitious business statement filed by LlDlA which alleges she was doing business
as “Rainier AG”. See Exhibit 1. This was a willful intentional act of deception
and fraud committed by the Defendants.

76. Plaintiffs further discovered that even though CONSUL did not do
business with Ezbanc, it transferred money to CONSUL Plaintiffs are informed
and believes and thereon allege, that based on the continuous set of deceptions
practiced by GUSS and LlDlA, CONSUL’s funds were not held by RAlNlER but
rather by GUSS and LlDlA through their maze of entities some of which are sued
herein.

77. As of December 12, 2018, RAlNlER or Lll)lA sent a statement to
CONSUL admitting that it owed USD 5703,245.28 in cash to CONSUL See
Exhibit “1 1” being labelled as a °‘Cash Statement”. Said statement is incorrect in,
among other things, the reference to a USD $265,000 withdrawal on October 29,
2018 is incorrect in that only USD 8165,000 was sent to CONSUL Thus, the

amount held for the benefit of CONSUL as of December 12, 2018 was actually

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USD $868,245.28.

78. As of December 18, 2018, RAINIER sent a statement to CONSUL
admitting that it held 2,000,498 shares of Gopher Protocol, Inc. GOPH stock and
8,363,028 shares of MOBQ stock for the benefit of CONSUL See Exhibit 14
being labelied as a “trading statement”. On January 16, 2019 a snapshot of
CONSUL’s ACCOUNT as found on the Internet reiterated the same numbers of
shares on hand supposedly With RAiNIER. See Exhibit 15.

79. The shares of both GOPH and MOBQ were originally sent by
CONSUL through the DWAC process to 'I`he Bani< ofNew York Mellon
Corporation (“BNY”). Plaintiffs are informed and believes and thereon allege,
RAINIER or LIDIA either maintains an account with BNY or BNY’s
clearinghouse subsidiary (“PC”) or is a customer of BAADER or CACEIS which
itself maintains such a clearinghouse account.

80. BNY has continuously reported to the Depository Trust Company
(“DTC”),, as required by law, that it (or its wholly owned corporate subsidiary,
PC) holds for the benefit of its customers, at least 2,000,498 shares of GOPH (i.e.,
the lowest intermediate balance) in its name since November 2018, the first date
that CONSUL sent GOPH shares to BNY. As of the last reporting date of
February 8, 2019 PC reported that it held 2,148,413 shares of GOPH and BNY

reported that it held 2,218,498 shares of GOPH. The DTC report (redacted) for

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the relevant periods of time is attached as Exhibit 16.

81. Title to said number of GOPH shares resides in CONSUL; and BNY
or PC holds these shares in trust for the benefit of CONSUL.

82. BNY has continuously reported to the DTC, as required by law, that
it holds for the benefit of its customers, at least 8,363,028 shares of` MOBQ (i,e.,
the lowest intermediate balance) per the Rainier statement as of Wednesday
January 16, 2019 (EXhibit 15). As of the last reporting date of`February 8, 2019
BNY reported that it held 8,397,588 shares of MOBQ. The redacted DTC reports
for the relevant periods of time are attached as Exhibit 17. Defendants have not
accounted for the missing USD $34,550 MOBQ shares

83 Title to said number of MOBQ shares resides in CONSUL; and BNY
holds these shares in trust for the benefit of CONSUL.

84. On January 10, 2019, LARA sent an email to HERRMANN stating
that he was going to be in Switzerland and wanted to meet with HERRMANN
while he was there. Although the email was not timely sent by HERRMANN to
LARA, HERRMANN responded that all questions should be directed to
MANCUSO regarding the ACCOUNT and that RAINIER did not hold client
meetings in its “compliance and back office divisions.” HERRMANN also
claimed to have suspended the ACCOUNT, which was wrongful Plaintiffs could

no longer even access their ACCOUNT on the internet.

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85. On January 16, 2019, LARA sent an email to HERRMANN and
MANCUSO terminating Plaintiffs’ alleged contracts with RAINIER and RAG.

86. On January 21 , 2019, the attorney for CONSUL demanded the
release of its cash and shares. See Exhibit 18. On January 23, 2019 RAINIER
replied by email refilsing to comply. See Exhibit 19. On January 23, 2019
CONSUL by LARA, its manager and Costa Rican attorney, made a further
demand; yet, there has been no reply by RAll\llER. See Exhibit 23.

87. On or about January 22, 2019, WISE cancelled any alleged contract
with RAG and demanded the return of the USD $250,000 that RAG received as a
deposit WISE has not received the USD $250,000 it demanded

88. On or about January 25, 2019, LARA, Pablo Gonzales and the
Nominated Chairman of the Board of COMPANY ONE, and the former President
of Costa Rica, Jose Maria Figueres, went to the RAINIER offices at the address on
its website in Zug, Switzerland, and found the doors locked, and no one there.
LARA called the telephone number listed for RAINIER and reached an answering
service which stated that it would provide a message to I~IER,RMANN.
H.ERRl\/LANN then called LARA. On that date, HERRMANN and MANCUSO,
on behalf of RAINIER, admitted that the funds and shares were due but that
CONSUL “. . .had to give them [RAINIER] time to give us [CONSUL] the

funds. . .” As of the date of the filing of this complaint, Plaintiffs’ monies and

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shares have not been returned to CONSUL.

89. After Plaintiffs terminated Defendants, and each of them, Defendants
refused to turn over Plaintiff CONSUL’s stock and money that was contained in
its ACCOUNT and the monies that were improperly paid to RAG on behalf of
WISE. Defendants also cut off Plaintiffs’ access to its ACCOUNT.

90. Furthermore, Defendants, and each of them, commingled Plaintiffs’
assets with their own.

91. On or about February 14, 2019, Plaintiffs, by their counsel, made a

A copy of the letter with redacted exhibits that was sent is attached hereto as
Exhibit 21 .
FIRST CLAIM OF RELIEF
(CONSPIRACY TO DEFRAU]))
BY PLA}NTIFF CONSUL AGAINST ALL DEFENDANTS EXCEPT THE
BANK DEFENDAN'I`S

92. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs 1 through 91, above, as though set forth herein.

93. Plaintiffs have subsequently discovered the following regarding
Defendants, and each of them.

A. As discussed in a decision dated February 12, 2007, appealed from a
Hearing Panel’s December 29, 2005 decision of the National Adjudicatory

Council for the NASD, a copy of which is attached to Exhibit 21 as Exhibit “12”

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demand on the banks to return and/or freeze the assets pending further court order.

 

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(“NASD DECISION”), involving Sterling Scott Lee (“Lee”) and Dennis Todd
Lloyd Gordon (“Gordon”), Complaint No. C06040027 Plaintiffs discovered that
in 1996, GUSS pled guilty and was convicted in the United States of money
laundering GUSS cooperated with federal prosecutors and testified against
members of a Russian organized crime group in exchange for avoiding jail time.
As a result of the 1996 conviction, GUSS was disqualified from registration ~

B. As further discussed in the NASD DECISION, in a way to
circumvent his disqualification from registration in the security industry, GUSS
used his eX-vvife, Kathia Santiago, Lee and Gordon and others to operate a
company or its holding colnpany, which GUSS controlled in or about 2007, Lee
and Gordon were barred in all capacities for permitting an unregistered, statutorily
disqualified individual to function as a principal of the company ln addition,
there was a finding that the company charged retail customers fraudulently
excessive markups.

C. This ruling did not prevent GUSS from advancing to his next scam.
With the NASD DECISION coming down in or about January 22, 2007, GUSS
and Aj erie Odeluga (“A}ENE”) were listed as officers and directors of EzBanc
when neither had been before.

D. On September 18, 2007, in a press release for the OTCBB:UCH_B,

UC Hub Group, Inc. (“UCH”) announced that it intended on changing its name to

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eZBanc, Corp. Larry Wilcox, the President of UCH stated the c‘new coiporate
name will serve the purpose of our aggressive branding policy as the leading
developer of projects related to electronic and virtual financial services.” In
addition, UCH announced that A.TENE, who is also known as Ajene Watson
would be joining UBH as a successful entrepreneur, well-established authority on
securities-collateralized lending”.

E. ln February 2010, GUSS acquired 80,000,000 shares of Omni
Ventures, lnc. (“Ol\le”). Ol\/INI is a Kansas corporation GUSS then transferred
75,317,955 shares to Globanc Corp., a company that according to Ol\/le’s 10-k
filed on January 12, 2012 with the SEC was controlled by GUSS. Ol\/lNl was
accused on many websites as participating in pump and dump schemes ln 2012,
GUSS also became a director of Ol\/INI. January 2013 was the last time that
Ol\/lNl filed any reports with the SEC and at that time the stock was trading at less
than $0.01 per share. 'i`he stock is still on the OTC and is selling for less than
$0.01 per share.

F. The Ol\/ll\ll corporation was also forfeited in for failure to file an
annual report in 2014 by the State of Kansas. However, on December 27, 2017,
Annual Reports for the years of 2014-2016 were filed on behalf of Ol\/H\ll. The
principal office and address were listed at 1187 Coast Village Road, 1-465, Santa

Barbara, California 93108. The CEO, Secretaiy and CFO were listed as a person

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named Philippe Hermann in Zug, Switzerland A man named “Philippe
Herrnann” (HERRMANN defined above) in Zug, Switzerland is also a
representative and principal of RAiNlER. The telephone number of
HERRMANN listed on the Kansas Secretary of State Annual Report was 805»
845-7177, which is a telephone number for LIDIA.

G. On lune 17, 2016, Heritage Equity Fund LP was organized pursuant
to the laws of Delaware. On November l, 2017, filed with the California
Secretary of State a Foreign Lirnited Partnership Application for Registration.
LIDIA was listed as one of the General Partners with an address of l23-A El
Paseo, Santa Barbara, California PRVCY.com lnc., a New York corporation, was
listed as the other General Partner with an address of 1187 Coast Village Road,
Suite 1-465, Santa Barbara, California -the same address used by OMNI, LIDIA
and GUSS.

B. Formation and Operation of the Conspiracy.

94. Plaintiff CONSUL is informed and believes that Defendants, and
each of them, started the conspiracy as early as December 2016, if not earlier.
Plaintiffs are informed and believe that as part of the conspiracy with RAINIER
purchased 3,850,000 shares of stock in Petlife Pharrnaceuticals, Inc. GUSS (under
the last name of Gauss) executed the Private Stock Purchase Agreement as the

“Authorized Agent” for RAINIER.

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95. Plaintiffs are informed and believe that in or about December 2016,
GUSS attempted to negotiate a sale of RAINIER shares. At that time, Plaintiff is
informed and believes that there were only 300 shares issued and outstanding at
par value CI~IF 1,000 per share. The share capital was allegedly fully paid in and
the RAINiER’s shares are/were “bearer shares”. Plaintiffs are informed and
believe that GUSS, either in his individual capacity as a shareholder, or a
representative of RAINIER, attempted to sell shares of RAINER for USD
8100,000 and that he was fully authorized to present the bearer of the respective
amount of shares and could enter into binding agreements on behalf of that person
as well as accept payment on that person’s behalf. The shares being offered were
issued in or about lanuary 2016. Plaintiffs are informed and believe that the
proposed investor did not purchase any shares of RAINIER. Plaintiffs contend
that RAlNIER was merely a shell company.

96, Plaintiff is informed and believes that in or about December 2016, the
main activity of RAINIER was to be a brokerage in US OTC Markets securities to
non-US based clients and RAlNlER was intending on changing its offices.

97. According to the corporate records of Switzerland, on or about May

3, 2017, the RAIN.[ER address changed to Neugasse 15, 63 00 Zug.

93- Prior to November 8, 2017, RAINlER’s statutory purpose was:

“Development, production and trading of equipment and systeins, in
particular for order processing systems for general cargo, collection, billing

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and sorting; can acquire, encumber and sell real estate.”
99. On November 8, 2017, a new statutory “purpose” of the corporation
was added as follows:

“Provision of services throughout Switzerland in the areas of asset and
investment advisory, financial and organizational planning management
services, all kinds of administrative Work and provision of support services
in the area of general financial and investment advisory services, and
assumption of mandates in these areas, activities which require a license as
a bank or securities dealer are expressly excluded;

Offering payment products and virtual currencies, operating a block chain,
providing cash and paperless payment services, facilitating cashless
payments and substituting cash for cash, notably new payment systems,
promoting paperless electronic payments, including development,
processing and distribution of Products, services and systems for the
settlement of payments and billing and related ancillary services,
acquisition and management of investments and associated financial
transactions;

Acquisition, administration, brokering and transfer of patents, trademarks,
licenses and technical knowledge; complete purpose description according
to the Articles of Association.”

100. Nonetlieless, RAINIER held itself out as a corporation that provided
services in the areas of asset and investment advisory, financial and organizational
planning, management services since 1971 when RAINIER was only in such areas
since the latter part of 201 7.

10l. Plaintiff is also informed and believes that RAINIER’s license in
Switzerland is only as an “asset manager” and RAlNlER is not authorized in
Switzerland to take custody of clients’ funds.

102. Concurrently while RAlNlER was changing its office’s address, on

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May 16, 2017, LIDIA registered with the County of Santa Barbara a fictitious
business name of “Rainier AG”. Thereafter, Lll)lA opened a bank account with
Bank of America. This would allow LlDlA to receive and hold funds for
RAiNlER thereby circumventing RAINlER’s own licensing restrictions as
imposed by Switzerland

103. As set forth above, on or about December 27, 2017, HERRl\/IANN,
the compliance officer of RAINIER, was listed as officer for Ol\/lNl when it was
reinstated Plaintiffs are informed and believe that the reinstatement for OMNI
was part of the fraudulent activities of Defendants where they used RAINIER to
perform their fraudulent actions.

104. After COMPANY ONE submitted the application to Castro, on or
about May 4, 2018, MANCUSO (the account representative at RAlNlER)
reinstated Ezbanc, a company that had been administratively dissolved and listed
as inactive since on or about September 28, 2012. GUSS ~- at the address of 1187
Coast Village Road, PMB 1-465, l\/lontecito, California -- was the agent for
service of process The listed registered agent for service of process is a former
BVI corporation that is now non~eXistent at the same address by the name of
Embles Financial, Inc. However, GUSS filed a fictitious business name statement
in the name of “Embles Financial”.

105. After Ezbanc was reinstated, Defendants and each of them could

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commit their fraudulent acts Each of the Defendants herein knew that they were
acting on behalf of the common purpose

C. Wrongful Acts in Furtherance of the Conspiracy.

106. Since LARA had known Castro for approximately seven years,
Defendants and each of them had LARA act as a middleman to help solicit
Plaintiff Castro told Plaintiff that he had a prior relationship with RAINIER.
LARA checked the website for RAll\llER, which in essence stated the following:

“Rainier AG was founded in 1971 and is headquartered in Zug,
Switzerland lt is a privately owned, independent Swiss asset management
firm offering wealth management, fiduciary and securities trading services
to clients world-wide. In working with our international clients we strive to
find a perfect balance between the centuries-old Swiss tradition of privacy
and reliability in financial services with modern compliance requirements
and technological advances Rainier AG account-holders enjoy all the
modern amenities offered by our major international custodian banks, along
with the unparalleled personal attention of their private wealth managers

~ Manage assets on behalf of customers

~ Trade in securities (stocks and shares and value rights) as well as their
derivatives, banknotes and coins, money market instruments precious
metals, commodities

' Open FX, CFD and commodity trading accounts for customers

- Hold securities on deposit or manage securities‘ portfolios.

Rainier AG is a Member firm of ARIF - Association Romande des
lntermediaires Financiers (www.arif.ch), an SRO officially recognized by
the Swiss Financial Market Supervisory Authority (FlNl\/IA), with dual
supervision pursuant to (1) independent asset management and; (2) the
Anti-Money laundering Act (Al\/lLA). Founded in Geneva on March 15th
1999, ARIF is a private non~profit association of public utility, whose
purpose is to assist in the prevention of and the fight against money
laundering in relation with the Swiss Federal Act on Combating l\/loney
Laundering and Terrorist Financing in the Financial Sector (MLA). ARIF is
an SRO recognized by the Swiss Federal State according to Article 24 of
the l\/lLA. ln 2009, the Swiss Financial Market Supervisory Authority

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(FlNl\/IA) recognized the self-regulatory provisions of ARIF (Code of
Deontology) for independent asset managers such as Rainier AG.”

107. Based upon RAINlER’s representations online of these seemingly
strong credentials and the longevity of RAINIER that was represented online,
Plaintiffs thought that Defendants were a legitimate long-standing brokerage
company ln addition, MANCUSO, on behalf of RAINIER stated many of the
same claims as set forth in the preceding paragraph, as follows:

A. Between June 5, 2018 and early October 2018, by telephone,
MANCUSO on behalf of RAINIER contacted LARA as a representative of
Plaintiffs In said telephone conversations MANCUSO represented to LARA
that: (a) RAlNlER had been in existence since 1971 in Switzerland, was a
member of FINMA (a SWISS regulatory agency not to be confused with the
“FINRA” entity in the United States); (b) RAlNIER was compliant with FlNMA’s
rules and all Swiss banking regulations, (c) RAINIER was experienced as a
brokerage house and (d) could also handle a public offering for certain
cryptocurrency security tokens.

B. ln addition, between June 5, 2018 and early October 2018, in
telephone conversations with LARA, l\/IANCUSO on behalf of RAINIER and
other Defendants, represented to Plaintiff CONSUL:

(i). That RAINIER was a licensed broker and would follow Plaintiff

CONSUL’s instructions;

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(ii). With respect to the money and stock entrusted to RAINIER, such
stock would be sold only with RAINIER’s knowledge and consent, and money
would only be transferred upon CONSUL’s instructions

(iii). RAINIER and its alleged employees would act as fiduciaries and
trustees for the stock and monies being held on behalf of CONSUL and would
safeguard CONSUL’s assets

(iv) That CONSUL should transfer money to RAINIER’s brokerage
accounts, which it represented were in Switzerland

(v) That RAINIER would follow CONSUL’s instructions with regard to
the wire transfers and the stock trades, including promptly returning all of
CONSUL’s assets upon demand

C. MANCUSO, on behalf of RAINIER, also authorized Plaintiff
CONSUL to use the ACCOUNT that had been set up for COl\/lPANY ONE
without getting first the approval of COl\/[PANY ONE.

108. Furthermore, Defendants and each of them, concealed from Plaintiffs
that:

A. GUSS was in control of RAINIER, and that his girl friend or wife
LIDIA had a bank account in RAINiER’s name.

B. GUSS was a convicted felon that was unregistered and unqualified in

the United States

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C. That RAINIER did not have a bank or brokerage account in
Switzerland to hold any of the monies or stock. Rather, any monies sent to
RAlNlER were actually being sent to LIDIA who had an account as the RAlNlER
DBA, and the stocks were sent to either CACEIS or BAADER

D. That the stock was being held at BNY and PERSH[NG, and not in an
account in Switzerland

E. That money would be held and/or transferred from an account that
was not a RAINIER account, but from Ezbanc, an entity where GUSS and
MANCUSO are officers, directors and/or representatives

109. Each of the Defendants was part of the conspiracy to defraud and
intended to defraud Plaintiff for a common purpose with the intent of converting
Plaintiff’ s stock shares ad money.

110. Other fraudulent activities by Defendants are alleged in the Second
Claim of Relief, which is incorporated herein by referencel

I). Resulting I)amages

111. As a direct and proximate result of the conspiracy to defraud,
Plaintiff was damaged in amount to be determined as trial, but which is estimated
to be in excess of USD $3,500,000, including in the following respects, among
others:

(a) Losses due to the conversion of Plaintiff s money in the ACCOUNT.

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(b) Losses of the GOPI-i stock and their value; and

(c) Losses of the MOBQ stock and their value.

112. In engaging in the conspiracy to defraud, Defendants and each of
them, acted fraudulently, oppressively, maliciously and with a willful and
conscious disregard of Plaintiff’ s rights Accordingly, Plaintiff is entitled to

exemplary and punitive damages in an amount to be proven.

sECoNr) CLAIM or RELIEF
(FRAUD)
BY PLAINTIFF CONSUL AGAINST ALL DEFENI)ANTS EXCEPT THE
BANK DEFENDANTS

113. Plaintiff CONSUL incorporates by reference all of the allegations

contained in Paragraphs l through 112, above, as though set forth herein.

1 14- On the RAINIER website and their Linkedin page, RAlNlER
represented to Plaintiff as follows:

“Rainier AG was founded in 1971 and is headquartered in Zug,
Switzerland lt is a privately owned, independent Swiss asset management
firm offering wealth management, fiduciary and securities trading services
to clients world-wide. in working with our international clients we strive to
find a perfect balance between the centuries-old Swiss tradition of privacy
and reliability in financial services with modern compliance requirements
and technological advances Rainier AG account-holders enjoy all the
modern amenities offered by our major international custodian banks, along
with the unparalleled personal attention of their private wealth managers

- Manage assets on behalf of customers

- Trade in securities (stocks and shares and value rights) as well as their
derivatives, banknotes and coins, money market instruments precious
metals, commodities

- Open FX, CFD and commodity trading accounts for customers

- Hold securities on deposit or manage securities' portfolios.

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Rainier AG is a Member firm of ARIF - Association Romande des
Intermédiaires Financiers (www.arif.ch), an SRO officially recognized by
the Swiss Financial Market Supervisory Authority (FINMA), with dual
supervision pursuant to (1) independent asset management and; (2) the
Anti-Money Laundering Act (AMLA). Founded in Geneva on March 15th
1999, ARIF is a private non-profit association of public utility, whose
purpose is to assist in the prevention of and the fight against money
laundering in relation with the Swiss Federal Act on Combating Money
Laundering and Terrorist Financing in the Financial Sector (MLA). ARIF is
an SRO recognized by the Swiss Federal State according to Article 24 of
the MLA. In 2009, the Swiss Financial Market Supervisory Authority
(FINMA) recognized the self-regulatory provisions of ARIF (Code of
Deontology) for independent asset managers, such as Rainier AG.”

115. ln addition, MANCUSO, on behalf of RAINIER stated many of the
same claims as set forth in the preceding paragraph, as follows:

A. Between lune 5, 2018 and early October 2018, by telephone,
MANCUSO on behalf of RAINIER contacted LARA as a representative of
Plaintiffs ln said telephone conversations MANCUSO represented to LARA that
RAINIER had been in existence since 1971 in Switzerland, was a member of
FINMA and compliant with FlNMA’s rules and all Swiss banking regulations
and that RAINIER was experienced as a brokerage house and could also handle a
public offering for certain cryptocurrency security tokens.

B. In addition, between luna 5, 2018 and early October 2018, in
telephone conversations with LARA, MANCUSO on behalf of RAINIER and
other Defendants, represented to Plaintiff CONSUL:

(i). That RAlNlER was a licensed broker and would follow Plaintiff

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CONSUL’ s instructions;

(ii). With respect to the money and stock entrusted to RAINIER, such
stock would be sold only with RAINIER’s knowledge and consent, and money
would only be transferred upon CONSUL’s instructions

(iii). RAINIER and its alleged employees would act as fiduciaries and
trustees for the stock and monies being held on behalf of CONSUL and would
safeguard CONSUL’s assets

(iv) That CONSUL should transfer money to RAINIER’s brokerage
accounts, which it represented were in Switzerland

(v) That RAINIER would follow CONSUL’s instructions with regard to
the wire transfers and the stock trades, including promptly returning all of
CONSUL’s assets upon demand

C. MANCUSO, on behalf of RAINIER, also authorized Plaintiff
CONSUL to use the ACCOUNT that had been set up for COl\/IPANY ONE
without getting first the approval of COMPANY ONE.

D. That RAG was a subsidiary of RAINIER and had substantial
experience in public offerings and could handle the token offering on behalf of
WISE.

116. The above representations were made pursuant to a design and scheme

by Defendants to defraud Plaintiff At the time the misrepresentations were made,

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Plaintiff was ignorant of their falsity and believed them to be true.

117. Plaintiff is informed and believes and thereupon alleges that
Defendants were aware of the actual facts which were, without limitation, the
following:

A. Even though the company was founded in 1971 , the “brokerage
services” which Plaintiff was being solicited to transfer money and stock, was in
existence for less than a year.

B. That RAlNIER was not registered with FINMA, but instead was only
a “self-regulated” organization

C. That RAlNIER was not a licensed broker in Switzerland, or anywhere
else. Plaintiff is also informed and believes that RAINlER’s license in Switzerland
is only as an “asset manager” and RAlNlER is not authorized in Switzerland to
take custody of clients’ funds

D. That the GOPH and MOBQ stock would be held in banks in the
United States because RAINIER was not

E. That bank accounts did not exist in the name of RAINIER in
Switzerland, but instead under the name of LIDIA using the RAINIER DBA and
held in the United States.

F. That Ezbanc was somehow the recipient of moneys and that

disbursements would be made from it.

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G. That RAINIER would convert the assets of Plaintiff by refusing to
follow Plaintiff CONSUL’s instructions and turn over its assets

H. RAlN.[ER and its alleged employees would not safeguard Plaintiff' s
assets

l. That RAG was only in existence since luly 10, 2018, RAG did not
have any experience with public offerings the employees operated on behalf of
both RAG and RAlNlER, the company was undercapitalized and RAG did not
even have an office.

118. Furthermore, Defendants and each of them, concealed from Plaintiff
that:

A. GUSS was a convicted felon that was unregistered and unqualified in
the United States and was involved with RAINIER.

B. That RAINIER did not have an account in Switzerland to hold any of
the monies or stock. Rather, any monies sent to RAINIER were actually being
sent to Lll)lA who had an account as the RAINIER DBA.

C. That the stock was being held at BNY and PERSHING, and not in an
account in Switzerland

D. That money would be held and/or transferred from an account that
was not a RAINIER account, but from Ezbanc, an entity where GUSS and

MANCUSO are officers directors and/or representatives

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119. In reasonable reliance on the misrepresentations made by Defendants
and each of them, and the failure of them to disclose all material facts Plaintiff
deposited into the brokerage ACCOUNT money and stock.

120, As a direct and proximate result of Defendants’ fraudulent
misrepresentations and concealments as set forth above, Plaintiffs have been
damaged in an amount in excess of USD $3,500,000.

121. In engaging in the conspiracy to defraud, Defendants and each of
them, acted fraudulently, oppressively, maliciously and with a willful and
conscious disregard of Plaintiff s rights Accordingly, Plaintiff is entitled to
exemplary and punitive damages in an amount to be proven.

TI-IIR]) CLAIM OF RELIEF
(CONVERSION)
BY PLAINTIFF CONSUL AGAINST ALL DEFENDANTS EXCEPT THE
BANK DEFENDANTS

122. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs 1 through 121, above, as though set forth herein.

123. Defendants and each of them, converted CONSUL’s stock, USD
$125,000 in monies and proceeds from the sale of stock that Defendants were
required to transfer from the ACCOUNT. Defendants have wrongfully exercised
dominion and control over the ACCOUNT after Plaintiff CONSUL made a
demand upon Defendants to return the property in the ACCOUNT

124. As a proximate result of Defendants’ wrongful conduct, they have

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converted Plaintiff CONSUL’s 2,244,839 shares of stock in GOPH and 8,397,588
shares in MOBQ.

125. The value of the converted funds at the time of the conversion was an
amount in excess of USD $868,245.28 and Plaintiff is entitled to an award in said
amount

126. ln engaging in the conspiracy to defraud, Defendants, and each of
them, acted fraudulentiy, oppressively, maliciously and with a willle and
conscious disregard of Plaintiffs rights Accordingly, Plaintiff is entitled to
exemplary and punitive damages in an amount to be proven.

FOURTH CLAIM OF RELIEF
(CONSTRUCTIVE TRUST)
BY PLAINTIFF CONSUL AGAINST ALL I)EFENDANTS

127. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs l through 126, above, as though set forth herein.

128. This Claim for Reiief seeks the return of shares of MOBQ and GOPH
shares as described in this Complaint as presently held by the BANK
DEFENDANTS for some or all of the other defendants In addition, this Claim
for Relief seeks the return of monies held by the defendants other than the BANK
DEFENDANTS that are the proceeds of deposits made by the Plaintiffs or the

proceeds of stock sales conducted by the Plaintiffs

129. This is an action seeking equitable redress for Defendants’ illegal

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conduct in converting Plaintiff s assets of money and stock, including, but not
limited to as a broker, custodian and/or trustee Plaintiff seeks the return of the its
stock and monies and seeks return of it.

130. A constructive trust is an equitable device by which a court adjudges
specific restitution of a received benefit Constructive trusts may be imposed
when a defendant has acquired legal title to property or money that they may not
be in good conscience retain the beneficial interest in the property, and in such
situation, equity converts the legal titleholder into a trustee holding the title for the
benefit of those entitled to the ownership Since Defendants have hidden who has
the property and are playing a shell game, all Defendants are being named herein.

131. A constructive trust should be imposed for the purpose of preventing
unjust enrichment by the Defendants for the loss of the value of the stock and
money.

132. Plaintiffs believe and allege that Defendants have deposited funds,
which, as alleged above, were fraudulently and illegally obtained from Plaintiff, in
a bank account or accounts held in the name of one or more of the Defendants

133. Defendants will gain an unconscionable advantage in the retention of
the income from Plaintiff s property if they do not pay the value of the property.
A constructive trust should be imposed to prevent unjust enrichment

134. By reason of the wrongful manner in which Defendants obtained said

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funds, the banks maintaining the deposited funds are involuntary trustees holding
said funds in constructive trust for Plaintiffs, with the duty to reconvey the same
forthwith

135. Among the assets against which a constructive trust should be
imposed are the assets consisting of: (a) 8,397,588 shares of MOBQ stock
presently held by the BNY and/ or PC clearinghouses; and (b) 2,000,498 shares of
GOPH stock presently held by the BNY and/or PC clearinghouses.

136. In such event that it is found that said assets no longer exist in a bank
account held by the Defendants, after having traced the funds, the entity,
individual, person, group, organization, financial institution or agency shall be
deemed an involuntary trustee holding said funds for the benefit of Plaintiffs, with
the duty to reconvey the same forthwith

137. In the event said stocks were sold or funds were used to purchase a
product, horne, stock or any other tangible or intangible item (hereinafter “item”),
Defendants are constructive trustees of said items holding it for the benefit of the
Plaintiffs, with the duty to reconvey the same forthwith

138. By virtue of Defendants’ wrongful conduct and breaches of fiduciary
duties in wrongfully taking, retaining, and converting the stock and monies that
belong to Plaintiff, the stock, any compensation paid if the stocks were sold, and

the monies that belong to Plaintiff, but in the name of any of the Defendants, will

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be held in constructive trust for the benefit of Plaintiff

139. Demand has and will further be made for the turnover of said shares
of GOPH and MOBQ. The demands thus far made have been refused and
ignored Said shares should be turned over to CONSUL as proven under law.

FIFTH CLAIM OF RELIEF
(RESULTING TRUST)
BY PLAINTIFF CONSUL AGAINST ALL DEFENDANTS

140. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs i through 139, above, as though set forth herein.

141. Plaintiffs believe and allege that Defendants have deposited hinds,
which, as alleged above, were fraudulently and illegally obtained from Plaintiff, in
a bank account or accounts held in the name of one or more of the Defendants

142. By reason of the wrongful manner in which Defendants obtained said
funds, the banks maintaining the deposited funds are involuntary trustees holding
said funds in constructive trust for Plaintiffs, with the duty to reconvey the same
forthwith

143. in such event that it is found that said funds no longer exist in a bank
account held by the Defendants, after having traced the funds, the entity,
individual, person, group, organization, financial institution or agency shall be

deemed an involuntary trustee holding said funds for the benefit of Plaintiffs, with

the duty to reconvey the same forthwith

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l44. ln the event said funds were used to purchase a product, home, stock
or any other tangible or intangible item (hereinafter “item”), Defendants are
resulting trustees of said items holding it for the benefit of the Plaintiffs, with the
duty to reconvey the same forthwith

SIXTH CLAIM OF RELIEF
(BREACH OF FIDUCIARY DUTY)
BY PLAINTIFF CONSUL AGAINST ALL DEFENDANTS EXCEPT THE
BANK I)EFENBANTS

145. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs 1 through 144, above, as though set forth herein

146. As Plaintiff s broker, custodian and trustee, Defendants owed
Plaintiff a duty of care.

147. Defendants breached their duty of care by engaging in the above pled
wrongful conduct, including refusing to return Plaintiff s stock and monies in its
brokerage ACCOUNT.

148. At all times relevant hereto, Defendants, and each of them, owed
Plaintiff fiduciary duties, including: (a) the duty of undivided loyalty; (b) the duty
to exercise due care; (c) the duty to make full disclosure; and (d) the duty to
maintain client conhdences.

149. Beginning in or about May 2018, Defendants, and each of them,
breached their fiduciary duties to Plaintiff by, among other things:

A. Mal<ing false and misleading representations and false promises, as

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described above.

B. Concealing, withholding and failing to disclose material facts, as
described above.

C. Refusing to allow Plaintiff access to its money and stock.

D. Refusing to return Plaintiff s money and stock after Plaintiff
terminate the brokerage agreement

E. Not keeping Plaintiff s money in a RAINIER account that is insured

and protected
F. Using bank accounts of third persons that was not disclosed to
Plaintiff

G. Representing that RAIN,[ER was a licensed broker in Switzerland,
when it was not.

H. Failing to account for all monies and stock held in Plaintiff’ s
ACCOUNT.

l. Refusing Plaintiff access to its money and stock.

150. As a direct and proximate result of these breaches of fiduciary duty,
Plaintiff was damaged in an amount to be determined at trial, but which is
estimated to be in excess of USD $3,500,000.

151. By virtue of Defendants’ breaches of fiduciary duties, Defendants

and each of them, acted fraudulently oppressively, maliciously and with a willful

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and conscious disregard of Plaintiff s rights. Accordingly, Plaintiff is entitled to
exemplary and punitive damages in an amount to be proven

SEVENTH CLAIM OF RELIEF
(BREACH OF CONTRACT)
BY PLAINTIFF CONSUL AGAINST RAINIER, LIDIA AND DOES 1-15

152. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs l through 91, above, as though set forth herein.

l53. ln order to open the brokerage account, Defendants orally and in
writing agreed to act as a broker in holding the stock and money and to return and
pay upon demand, all monies and stock that were kept in Plaintiff s ACCOUNT.
Defendants also orally and in writing agreed to safeguard Plaintiff’ s assets and
follow Plaintiff s instructions on the disposition of the assets. Defendant also
agreed to provide statements and account for the disposition of the stock and
money.

154. Plaintiff has performed all obligations which they were required to
perform under the parties’ agreement, except for such obligations which they have
been prevented or excused from performing as a result of Defendants’ breaches as
alleged herein.

155. Defendants, and each of them, breached the written and partly oral

agreement with Plaintiff, including without limitation, as follows:

A. Not holding Plaintiff s money in an account in Switzerland on behalf

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of Plaintiff

B. Not following Plaintiff s instructions, including but not limited to
disbursing the stock and money that was held in the account

C. By refusing to return to Plaintiff the assets in its ACCOUNT
consisting of stock and money after the ACCOUNT was terminated

D. Failing to provide accurate and complete financial and accounting
records of Plaintiff

E. By converting monies and stock that belongs to Plaintiff

156. As a direct and proximate result of Defendants’ breaches of contract
as set forth above, Plaintiff has been damaged in excess of USD $3,5 00,000.

EIGHTI-I CLAIM OF RELIEF
(NEGLIGENCE)
BY PLAINTIFF CONSUL AGAINST RAINIER, LlDIA AND DOES 1-15

157. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs 1 through 91 and l52 through 156, above, as though set
forth herein, save those, if any that they elect to omit so that he can plead this
matter in the alternative

15 8. Plaintiffs are informed and believe and thereon allege that
Defendants, and each of them, as pled above, have negligently failed to use

reasonable care in controlling, and/or handling, and/or maintaining, and or

disposing of Plaintiffs' assets and funds.

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159. Said Defendants, and each of them, were under a duty to exercise
ordinary care in controlling, and/or handling, and/or maintaining and or disposing
of Plaintiffs' assets and funds.

160. As a direct and proximate result of Defendants, and each of them,
Plaintiff has been damaged in excess of USD $3,500,000.

NINTH CLAIM OF RELIEF
(ACCOUNTING)
BY PLAINTIFF CONSUL ALL DEFENDANTS

161. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs l through 160, above, as though set forth herein.

162. Plaintiff is informed and believes that Defendant commingled
Plaintiff s assets with their own.

163. Defendants were Plaintiffs brokers, custodians, fiduciaries and
trustees from 2018 to the present

164. Defendants refuse to provide Plaintiff with a complete accounting

165. An accounting of all funds transferred, deposited, credited and/or
debited to the accounts and an accounting of the sale of any stock is uncertain
because Defendants refuse to provide the disposition of the ACCOUNT.

166. Thereforej the Court should order Defendants to provide Plaintiff

with a complete and accurate accounting of the ACCOUNT, including the money

and securities

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TENTH CLAIM OF RELIEF
(INJUNCTIVE RELIEF)
BY PLAINTIFF CONSUL AGAINST ALL DEFENDANTS

167. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs 1 through 166, above, as though set forth herein.

168. As set forth above, Defendants, and each of them, have devised a
scheme or artifice to defraud, or for obtaining money or property by means of
false or fraudulent pretenses, representations or promises

169. Defendants, and each of them, had Plaintiff transfer to it stock and
money that belongs to Defendant, but being held by Defendants in trust.

170. An injunction is needed to prevent the Defendants or others acting in
concert with Defendants from transferring Plaintiff’ s property.

171. Plaintiff is enti6teld to a permanent injunction enjoining Defendants,
or anyone acting in concert with them or under their control, from transferring or
disposing of any Plaintiffs stock, money or any other asset.

172. Plaintiff seeks an order from this Court, granting a permanent
injunction enjoying Defendants, and anyone acting in concert with them or under
their control, from transferring or disposing of any Plaintiff’s stock, money or any

other asset, and granting such other and further relief as this Court deems just and

proper

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ELEVENTH CLAIM OF RELIEF
(I)ECLARATORY RELIEF)
BY PLAINTIFF CONSUL AGAINS’I` ALL DEFENDANTS

173. Plaintiff CONSUL incorporates by reference all of the allegations
contained in Paragraphs l through 172, above, as though set forth herein

174. A dispute has arisen, and an actual controversy exists, between
Plaintiff, on the one hand, and Defendants, and each of them, on the other hand,
concerning the respective rights, duties, and obligations relating to the
ACCOUNT. Plaintiff contends that money and stock that were earmarked for the
ACCOUNT belong to it. Defendants contend that Plaintiff is not entitled to the
money and stock in the ACCOUNT and is refusing to turn it over.

175. Plaintiff desires a judicial determination of the respective rights and
duties of Plaintiff and Defendants with respect to the ACCOUNT and the
ownership of the money and stock earmarked for the account

TWELFTH CLAIl\/_[ OF RELIEF
(PROMISSORY FRAUI))

BY PLAINTIFF WISE AGAINST RAINIER, RAG AND DOES 35-50

176. Plaintiff WlSE incorporates by reference all of the allegations
contained in Paragraphs l through 91, above, as though set forth herein.

177. On or about November 9, 2018, WISE entered into the WlSE AGT
with Defendants, attached as Exhibit 12 and incorporated herein by reference

Defendants were supposed to assist WISE in its private and public offerings that

were to occur as early as January 2019. WISE was not provided any services with

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regard to the public offerings. ln fact, the only thing that Defendants did was
create a Google document and ask Plaintiff to fill it out and provide disclosures
This did not benefit Plaintiff because no other work was done by Defendants

178. WISE contends that the WlSE AGT was not executed by RAG, but
CONSUL authorized a transfer of deposits for a total paid of USD $250,000.

17 9. Defendants, and each of them, were supposed to perform advisory,
underwriting and management services relating to the token offering, and to assist
them in the token offering

180. On November 14, 2018, MANCUSO was sent documentation
relating to WISE for comments by RAG. Such was never done. As an
inducement to enter into the WISE AGT, Defendants made a promise that they
would perform work for the payment Defendants knew that the private offerings
were to commence in January 2019 and MANCUSO on behalf of Defendants
orally promised that they would assist in doing such. However, Defendants, and
each of them, did not perform any services for Plaintiff, even though they were
paid to assist Plaintiff in its tokenization offering

181. in fact, Defendants did not, and never intended to, do any work for
Plaintiff Defendants never signed the contract and RAINIER transferred the
money directly from the ACCOUNT to RAG’s account

182. The foregoing promises by Defendants were false at the time they

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were made. ln fact, Defendants were aware that they were never going to provide
any services relating to the Security Token Offering at the time of the WlSE AGT.
Defendants did not have any experience in the token offering business and created
a Google Docurnent that was supposedly to help with the regulators, but none of
the work for the regulators was done. Plaintiff is informed and believes that
Defendants have never done a token offering and did not disclose this fact and in
fact only existed since luly 10, 2018.

183. Defendants were fully aware that their promises were false and that
they could not fulfill them at the time they made them.

184. As a proximate and actual result of the fraud and deceit set forth
herein and Defendants’ false and fraudulent promises Plaintiff has suffered
damages in an amount in excess of USD $250,000, including at least USD
810,000 in promotional materials that WISE prepared with the contemplation of
the public offering

185. Defendants, and each of them, acted fraudulently, oppressively,
maliciously and with a willful and conscious disregard of Plaintiffs rights
Accordingly, Plaintiff is entitled to exemplary and punitive damages in an amount

to be proven

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THIRTEENTH CLAIM OF RELIEF
(RESCISSION FOR FRAU]))

BY PLAINTIFF WISE AGAINST RAINIER, RAG AN]) DOES 35-50

186. Plaintiff WISE incorporates by reference all of the allegations
contained in Paragraphs l through 91 and 176»185, above, as though set forth
herein.

187. As set forth specifically in the Tenth Clairn of Relief, Plaintiff was
entitled to rely on Defendants make a full disclosure of the material facts and not
make false representations l-lad Plaintiff known of the facts that Defendants
failed to disclose and/or misrepresented Plaintiff would not have entered into the
WlSE AGT.

188. As a result, Plaintiff’ s consent to the contract was not free and
Plaintiff is entitled to rescind the contract Plaintiff cancelled the contract and
demanded its money back on or about January 22, 2019. Defendants are further
giving notice of the rescission by this Complaint herein. Defendants have failed
and refuse to restore to Plaintiff the consideration furnished to them to
Defendants

FOURTEENTH CLAIM OF RELIEF
(RESCISSION FOR FAILURE OF CONSIDERATION)
BY PLA]NTIFF WISE AGAINST RAINIER, RAG AND DOES 35-50

189. Plaintiff WlSE incorporates by reference all of the allegations

contained in Paragraphs l through 91 and 176-188, above, as though set forth

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herein

190. There has been a material failure in the consideration received by
Plaintiff with regard to the WISE AGT. Plaintiff has not received any services for
Defendants even though that the first private offering was taking place in January
2019 and Defendants received USD 5250,000 deposit on services This rendered
the TRANSACTIONS without consideration

191. As a result of these failures, Plaintiffs have been deprived of the
benefits of their bargain and have sustained damages amounting to at least USD
$250,000 plus monies WlSE expended on promotional materials in a sum not less
than USD 810,000.

192. As a result, Plaintiffs consent to the contract was not free and
Plaintiff is entitled to rescind the contract Plaintiff cancelled the contract and
demanded its money back on or about lanuary 22, 2019. Defendants are further
giving notice of the rescission by this Complaint herein. Defendants have failed
and refuse to restore to Plaintiff the consideration furnished to them to
Defendants

FIFTEENTH CLAIM OF RELIEF
(IN THE ALTERNATIVE, BREACH OF CONTRAC'I`)

BY PLAINTIFF WISE AGAINST RAINIER, RAG AND DOES 35-50

193. Plaintiff WISE incorporates by reference all of the allegations

contained in Paragraphs l through 93 and 17 6~192, above, as though set forth

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COMPLAINT

 

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herein. save those, if any that they elect to omit so that he can plead this matter in
the alternative
194. ln the alternative, if a contract is found to exist, Plaintiffs entered into

the VVISE AGT with Defendants, whereby Defendants agreed to assist Plaintiff
with their tokenization offerings

l95. Plaintiff fully performed its duties under the WISE AGT, excepting
the performance of that Which Was excused or otherwise relieved.

196. Defendants breached the agreement by failing and refusing to
perform any work on the tokenization offering

197. As a direct and proximate result of Defendants’ breaches of the WISE
AGT, Plaintiff has been damaged in the sum of USD $250,000 plus interest
Plaintiff also has damages for promotional materials that were prepared and are
were rendered useless in a sum in excess of USD SlO,()OO. Plaintiff may also
have additional damages if the token offering is delayed in a sum to be proven at
trial.

WHEREFORE, Plaintiff prays for judgment against Defendants, and each
of them, as follows:
ON TI~IE FIRST CLAIl\/I FOR RELIEF:

l. For compensatory and special damages in a sum in excess of USD

$3,500,000.

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2. For punitive and exemplary damages

ON THE SECOND CLAIl\/[ FOR R_ELIEF:

3. For compensatory and special damages in a sum in excess of USD
$3,500,000.
4. For punitive and exemplary damages

ON THE THIRD CLAIM FOR RELLEF:

 

5. The value of the funds converted with interest and the value of the
stock converted, in amount sufficient to compensate Plaintiff CONSUL for its
losses in a Sum in excess of USD $3,500,000.

6. For punitive and exemplary damages

7. For fair compensation for the time and money that Plaintiffs have

ON TI-IE FOURTH CLAIM FOR RELIEF:

Plaintiff and returned to Plaintiff

Plaintiff and returned to Plaintiff

59

COMPLAINT

 

expended in pursuing the return and recovery of their converted funds and stock.

8. That the funds held by Defendants in their bank account(s) acquired

from the Plaintiff be determined to be held in constructive trust for the benefit of

9. That the stock held by Defendants in their bank account(s) acquired

from the Plaintiff be determined to be held in constructive trust for the benefit of

lO. That in the event the funds and/or stock are not in Defendants’ bank

 

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account(s) that said funds and/or stock be traced and that the individual person,
group, organization7 financial institution or agency holding said funds be
determined to be holding said funds in constructive trust for the benefit of the
Plaintiff, with the duty to reconvey it forthwith

ll. That in the event the funds and/or stock proceeds were used to
purchase a tangible or intangible item, Defendants be held as constructive trustees
of said item, holding it for the benefit of Plaintiff, with the duty to reconvey it
forthwith

ON THE FIFTH CLAIl\/i FOR RELIEF:

 

12. That the funds held by Defendants in their bank account(s) acquired
from the Plaintiff be determined to be held in resulting trust for the benefit of
Plaintiff and returned to Plaintiff

13. That the stock held by Defendants in their bank account(s) acquired
from the Plaintiff be determined to be held in resulting trust for the benefit of
Plaintiff and returned to Plaintiff.

14. That in the event the funds and/or stock are not in Defendants’ bank
account(s) that said funds and/ or stock be traced and that the individual person,
group, organization, financial institution or agency holding said funds be
determined to be holding said funds in resulting trust for the benefit of` the

Plaintiff, with the duty to reconvey it forthwith

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COMIPLAINT

 

 

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15. That in the event the funds and/or stock proceeds were used to
purchase a tangible or intangible item, Defendants be held as resulting trustees of
said item, holding it for the benefit of Plaintiff, with the duty to reconvey it
forthwith
ON THE SIXTH CLAIM FOR RELIEF:

16. For general, special, and compensatory damages in an amount to be
proven in excess of USD $3,500,000.

17. For punitive and exemplary damages
ON THE SEVENTH CLAlM FOR RELIEF:

18. For general, special, and compensatory damages in an amount to be
proven in excess of USD $3,500,000.

l9. Por interest

20. For attorney's fees, if any enforceable written contract so provides
ON THE EIGHTH CLAil\/.[ FOR RELIEF:

Zl. For general and compensatory damages in an amount to be proven in
excess of USD $3,500,000.

ON THE NINTH CLAIM FOR RELIEF:
22. For an order requiring the accountings as described in the Ninth

Claim for Relief.

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COMPLAINT

 

 

 

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ON THE TENTH CLAIM FOR RELIEF:

23. For an order requiring that Defendants, and each of them, show
cause, if any, why they should not be enjoined as hereinafter set forth during the
pendency of this action;

24. For further orders issue from this court for a temporary restraining
order, a preliminary injunction, and a permanent injunction, enjoining and
restraining Defendants, and each of them, their agents, servants and employees
and all persons acting under, in concert with, or for them, from transferring,
assigning, selling, conveying, encumbering, hypothecating, or otherwise disposing
of the property, funds, and/or assets acquired by said Defendants
ON THE ELEVENTH CLAll\/[ FOR RELIEF:

25. For a declaration regarding the respective rights, duties, and
obligations of Plaintiffs, and each of them, with respect to the ACCOUNT and the
ownership of the money and stock earmarked for the account
ON TI“}E TWELFTH CLAIl\/l FOR RELIEF:

26. For compensatory and special damages in a sum in excess of USD
$260,000.

27. For punitive and exemplary damages

ON THE TH[RTEENTH CLAIM FOR RELIEF:

 

28. An order and judgment of rescinding the WISE AGT.

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COMPLAINT

 

 

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29. Restoration of all consideration played paid by Plaintiff, together
with interest at the legal rate;

30. General and Special damages, in an amount according to proof in
excess of USD $260,000.

31. For attorneys’ fees according to proof.
ON THE FOURTEENTH CLAIM FOR RELIEF:

32. An order and judgment of rescinding the WISE AGT.

33. Restoration of all consideration played paid by Plaintiff, together
with interest at the legal rate;

34. General and Special damages, in an amount according to proof in
excess of USD $260,000.

35. For attorneys’ fees according to proof.
ON TH_E FIFTEENTH CLAIM FOR RELIEF (lN THE ALTERNATIVE):

36. For general damages according to proof in an amount in excess of
USD $260,000.

37. For attorneys’ fees according to proof.
ON ALL CLAIMS FOR RELIEF:

50. For costs of suit;

51. For attorneys’ fees and costs as are appropriate and proper under each

relevant cause of action;

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52. For such other and further relief as the Court deems just and proper.

DEMAND FOR .IURY TRIAL

Plaintiffs hereby requests a jury trial on all issues properly triable to a jury.

Dated: February 19, 2019 LAW OFFICES OF ROBERT M. YASPAN

RanR't/M. YASPAN
zosEPH G. MCCARTY
DEBRA R. BRAND
Attorneys for Plaintiffs

 
    

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COMPLAINT

 

 

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lf you wish to order a copy of a particular Flctitious Business Narne (FBN) statement, or if you w|sh to payl for an
official search of a FBN, please click here.

 

FBN Number: 201'?-(}001472
Business Address : MONTECITO, CA 93108
Filed: 5/16/2017
Commencement Date :
Expiration Date : 5/16/2022
Puhlication Date :

Business N s : nt Name(s):

RAINIER AG ZINCHENKO, i.IDIA

 

 

 

 

     

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EXHIBIT 2

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FBN Number : 2015-0002643
Business Addrcss : SANTA BARBARA, C.A 93101
Filed : 9/4/?.015
Cnmmencoment Date : 9/3/2015
Expiration Date : 914/2020
Publlcation Date 1

    

Business Name(s): Registrant Name(s):

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The Ol’flcia| Site of the Santa Barbara County‘s Clerk~Recorder,
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http://www.sbcvote,com/ClerkRecord;r/FBNSearchDetalls.aspx?apn=10863{}3

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he authoritative record; please contact the Assessor's office if you have any questions cr concerns

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EXHlBlT 3

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1201 9 lCloud Mail

Re`: Fwd:
October 03, 2016 at 1033 Plvl

`rom Greg Mancuso
To Mo

Recelved and i Wl|l help Wlth dWac, lt ls omnibus and in name of Rainier You Will still be able to see the stock in your
acct

Greg Mancuso

RAIN!ER AG

SWISS ASSET' MA NA GEMENT

Neugasse 15

CH~6301 Zug

Switzerland

Direct: +1.781.367.5428 (USA)

Tel: +41 43 503 26 70

Fax: +41 44 274 2749

Greg@rainier.ch

On‘10]03f2018’15241, Mo Jacob Wrote:
Greg please confirm receiving

Thanl< you and best wishes

l\/lOJ

On Oct 3, 2018, at 2139 PM, § CLA <]llventure22@yahoo.com> Wrote;
t-ll!

$’|OOK ere is done. P|s see attachedl thanks
<lrnage'l.png>

On Oct 3, 2018, at 2:‘10 PM, Greg Mancuso <greg@rainier.ch> Wrote:

CONSUL GROUP RE 2021 l_TD

WlRE lNFO FOR‘125,000
Rainier AG
ABA 026009593

Account mgt 8

Ad d re ss :
RAlNIER AG

SW!SS ASSET MANAGEMENT
Neugasse 15

CH»SSOJ Zug
Switzerland

DWAC |NFO:

 

 

 

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; 1128/2019 lCloud Mail

DTC# 0534
ACCOUBT:~BZ‘lQ
ACCOUNT NAl\/lE: RAlNlER AG

Greg Mancuso

RAINIERAG

SW.‘SS ASSET MANAGEMENT
Neugasse 15

CH-6301 Zug

Switzerland

Direct: +1.781.367.5428 (USA)
Tel: +41 43 508 26 70
Fax: +41 44 274 2749
Greg@rainier. ch
Greg@ralnier.ch

 

 

 

 

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\ 1128/2019 lCloud Mall

SWISS ASSET MANAGEMENT
Neugasse 1 5

CH- 6301 Zug
Swi tzerland

DWAC INFO:

lNTERACTi\/'E BROKERS LLC
D`|‘C?lL 0534

ACCOUBT: U2058219
ACCOUNT NAi\dE: RAlNiER AG

Greg Mancuso
RA!N!ER AG

SW!SS ASSET MANA GEMENT
Neugasse 15

CH-E.?Ol Zug

Switzerland

Direc:t: +1.781.367.5428 (D’SA)
Tel: +41 43 508 26 70

Fax: +41 44 274 2749
Greg@rainier. ch

Greg@ra'lnier.ch

 

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EXHlBlT 4

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 74 of 195 Page |D #:74

 

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EXHIBIT 5

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limited to ten lookups per month. Users Who need additional lookups or need a more robust tool for accessing the
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American Bankers 5377)

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Washington, DC 20036

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EXHIBIT 6

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DEWAC lNSTRUCTlON LETTER

FRoivi. .l. i. L. vENTuRE LLc EiN: ~
soLE MANAGER cELL. *- -”

TO: EMP|RE STOCK TRANSFER INC. -ATI'AN: BRlAN BARTHLOW

RE: DEWAC |NSTRUCTION FROM J.l.L. -

Bke asset 476 244,839 shares and Bke asset 476 J.|.L. Ventures
2,000,000 shares -~

RAiNElR Ctient's: CONSUL GROUP RE 2021

LTD - A Costa Rica Entit~_\rr

 

Dear Brian;

P|ease find here DEWAC instructions for J.i.i_. Venture, LLC shares - to Rianier Ciient CONSUL
GROUP RE 2021 LTD - A Costa Rica Entity

Amount of Shares to be DEWAC: 2,44,839 GOPH Shares
Clea ring Broker Name: Bank of New York Meilon
DTC Pa rticipa nt: 0901

Broker Name: Caceis bank S. A.
Broker ACCT # at C|earing Broker: 112000 - For further credit: BAADER BANK-RA|NIER AG ACCT

Rainier Address and contact inio:

Greg Mancuso - RAlNEER AG-SWiSS ASSET MANAGEMENT

Neugasse 15, Ci-l-6301 ZUG, Switzerland - Tei direct: +l 781-367-5428 e mail: greg@rain§er.ch
RA|NlER CL|ENT |S: CONSUL GROUP RE 202‘%_LTD - A Costa Rica Entity

After you receive the documents piease open DEWAC delivery in the system, RAlNiER will
initiate on their account on|ine.

Sincere|y

J,l.L. VENTURE LLC
£{ ll\
By:Nl\/i‘nager, 10/6 ’2018

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lRREVOCABLE STOCK POWER

FOR VALUE RECE!VED, the undersigned does hereby seli, assign and transfer unto:

DWAC BN‘( FBO Caceis bank S. A FBO RAENER
AGI BAADER BANK-RAINIER AG ACCT

Name _ _ Social Securityfi'ax |D Number

 

Acidress

2.244,839 shares of the Common Stock of:

Number of shares

Gopher Protocol
issuer name

Represented by:

Bi<e asset 476 244,839 shares and Bke asset 476 J.i.L. Ventures
2,000,000 shares 1
Certificate Number{s)

and does hereby irrevocably constitute and appoint Empire Stock Transfer |no. to transfer the said
stock on the books of the within-named Corporation with fuli power of substitution in the

'" d \O/‘»l'r

Signe l Dated
NOT!:E: T o signature(s) to this assignment must correspond with the name(s) as written upon
the face o this certificate in every particular without alteration or enlargement or any change

whatsoever.
P\¢ue See m é]

Attached rO/Oé/’ ga

 

 

BE GUARANTEED B\’ AN ELlGBLE GUARANTOR lNSTETU`FlON. (BANKS.

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Meda“lon Slgna;%% B.lxlr?;saso§knorli mo cason umoNsi wrni MEMBERSH\P m m nemoon simmons ouAaANTss MaoALuoN
STOCKBROKERS’ BAWNG Pnooru~rr PuRsuANT To sec RuLE niro-rs

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EXHIBIT 7

Case 2:19-cv-01254-.]AK-E Document 1 Filed 036/20/19 Page 82 of 195 Page |D #:82
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ERREVOCABLE STOCK POWER

 

FOR VALUE. RECE|VED. the undersigned does hereby seli, assign end transfer unto:

DWAC BNY FBO Caceis bank S. A FBO RAiNER
AGI BAADER BANK~RAINIER AG ACCT

 

 

 

 

Name Sooiaf SecurityiTax |D Nurnber
Address
2.400,000 shares of the Comnnon Stock of:
Number of shares
Gopher Protocol 7
issuer name
Represented by:

Bke asset 479 - 2,400,000 shares (Yassine
Amalial) `

Certificaio Number(s)

and does hereby lrrevocably constitute and appoint Emplre Stock Transfer lnc. to transfer the said
stock on the books of the within-named Corporatlon with full power of substitution in the

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NOTiCE: ?he signature(s) to this assignment must correspond with the name(s) as written upon
the face of this certificate ln every particular without alteration or eniargement or any change
whatsoever.

 

Medalllon Signature Guaranleed mrs srom'runss snour.o as oumureeo sr m senate ouAaArrroa msurunou, roAui<s,
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CAL|FORN|A ALL-PURPOSE ACKNOWLEDGEMENT

 

 

A Notary Public or other officer completing this certificate verities oniy the identity of the individual who signed
the document to which this certiiicate is attached, and not the truthfulness eccuracy. or validity cf that document

 

 

 

 

State of California }
County of Los Angeies

 
 

0n before me, 111121..
personally appeared QA’Md/WF w '

who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s)
is/are subscribed to the within instrument and acknowledged to me that he/she/thev executed
the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
instrument the person(s), or the entity upon behalf of which the person(s} acted, executed the
instrument

i certify under PENALTY OF PER.|URY under the iaws of State of California that the foregoing :
paragraph is true and correct.

JANE\`H if~. DARDDN
Notary Pahiic » California

Lo_s Angnl_§s County §
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Though the information below ls not required by law, it may prove valuable to persons relying on the document
and could prevent fraudulent removal and reattachment of this form to another document

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Document Date: QE£HWS_ lQ‘. 'ZDI‘_S Number cf Pages: 5

Signer(s) Other than Narned Above:

 

 

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EXHIBIT 8

Case 2:19-cV-01254-.]AK-E Document 1 Filed O2/20/19 Page 86 of 195 Page lD #:86

CASH STATEMENT
Date: 2018-09~30 to 2018-10-29

  

        

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Name: éonsul Grot.rp RE 2021 i_td.

 

 

 

 

"courit Number`: '188
t
Rainier AG
Neugasse 15, CH-6301 Zug Switzerland
Telephone: +41 43 508 26 70
Date Description Debit Credit Balance
USD US Doliar
2018-10-04 OPENiNG BALANCE -500.00
2018-05-29 : : New Account Due Diiiganoe Fee ~500.00 -'t 000.00
2018-10-04 2 2 initial Cash Deposit 125000.00 124000.00
2018-10-04 : : Margin Credit Deposit 2.68% p.q. 125000.00 249000.00
2018-10-04 : : Reimbursernent of Account Opening Due Diligence Fee 500.00 249500.00
2018-10-16 : : Fee 1 DWAC - ~300.00 249200.00
2018-10-17 : : interest Charge on Loart -1250,00 247950.00
2018-10-17 Gopher Protocol, inc.: : GOPH Daiiy Sales Sumrnary 44798.08 292748.08
2018-1 0-18 Gopher Protocol, inc.: 74219.13 366967,21 F-
2018-10-19 Gopher Protocol, lnc.: 70993.15 437960,36
2018-10-22 Gopher Prc>tocol, lnc.: 102321.93 540282.29
2018-10-23 Gopher Protocoi, inc.: 67970.99 608253.28
_'18-10-24 Gopher Protocoi, inc.: 31530.05 639783.33
201 8-10-24 CLOS|NG BAE..ANCE 639783.33

Disclaimer: Rainier AG, Neugasse 15, Ci-i-630'l Zug Switzeriand (“Rainier”) or its afhiiates cannot be held liable for any errors or omissions in this
document The information in this document should not be relied upon and action should not be taken on the basis of any information contained in this
document without receiving the appropriate advice from your account representative legal and accounting consultants in the event that any information
in this document is incorrect, Rainier will not be responsible for any iosses, charges, expenses or costs which are incurred as a result Rainier expressly

disclaims any iiabiiity to any person in respect of anything done or omitted to be done in reiiance upon the contents of this information

 

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EXHIBIT 9

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October 291?1, 201 8

 

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NOTARY PUBL}C A_CKNOWLEDGEMENT

 

_ Beiore me HERNAN VELASCG SASSO e Noier`y Pebiic on this day persone'iiy appeared
§\/iAURiCiO LARA RAMO_S known to me to be the persons Whose names ere subscribed
to the foregoing instrument end acknowledged to me that he executed the same for ihe
purposes end considerations there m expressed iviy commission does no‘r expires

 

 

 

 

 

 

October 30th 281-8

 

 

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EXHIBIT 10

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EXHIBIT 11

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CASH STATEMENT

Date: 2018~05-29 to 201 B-12-12
Name: Consui Group HE 2021 Lid.
Account Number:.17188

Rainier AG

SWISS ASSET MANAG£MEHT

 

Rainier AG
Neugasse 15, CH-6301 Zug Switzerland
Teiephone: +41 41 552 4030

 

 

 

Date Description Debit Credit Ba!ance
USD US Do!!ar
2018-05-29 OPENENG BALANCE 0.00
201 B-05-29 : : New Account Due Di|igence Fee -500.00 -500.00
2015-10~04 : : lnitial Cash Depos§t 125000.00 124500.00
2016-10-04 : : Margin Gredit Deposit 2.68% p,q. 125000.00 249500.00
2018-1004 : : Heimbursernent of Account Opening Due Diligence Fee 500.00 250000.00
2018-10-16 : : Fee » DWAC 4300.00 249700.00
2018-10-17 : : |nieresi Charge on Loan -1250.00 248450.00
2018-10-17 Gopher Protoco[, |nc:.: : GOPH DaHy Sa|es Summary 44798.08 293248.08
2018-10-18 Gopher Protocc)§, lnc:.: 74219.13 367467.21 »_:
2018-10-19 Gopher Protocoi, Enc.: 70993.15 438460.36
2016-10-22 Gopher Protocoi, inc.: 102321 .93 540782.29
2018-10-23 Gopher Protocoi, lnc.: 67970.99 608753.28
2018»10-24 Gopher Frotoco|, lnc.: 31530.05 640283.33
2018-10-25 Gopher Profocol, |nc.: 61718.86 702002.19
2018-10-26 Gopher Protocol, Inc.: 57111.39 759113.56
201 B-1 0-29 : : Loan Repayment -125000.00 634113.56
2018-10-29 : :Treasure Dr§ve Ltd. -250.00 633063.58
2018-10-29 : :Treasure Drive Ltd. -265000.00 366863.58
2018-10-29 Gopher Protocol, 1nc.: 57150.23 428013.81
201 B-10-30 Gopher Protoco¥, |nc.: 50034.23 475048.04
2018-10-31 Gopher Protocof, |nc.: _ 49051.49 525099.53
2018-10~31 : : Web Por‘taf Setup Fee -60.00 525039.53
2018-10-31 : : Safekeeging Fee 001 2018 -355.42 524584.11
2018-11-01 Goph@r Protoco!. lnc.‘. 47657.46 572341.57
2018-11-02 Gopher Protc»coi, lnc.: 47155.12 619496.69
2018~11-05 Gopher Protocoi, inc.: 52060.99 671557.68
2018-11~06 Gopher Protoco|, Inc.: 53555.80 725113.48
2018-11-07 : : Fee ~ DWAC -300.00 724813.48
201 B-1 1 -07 : : DWAC la -50.00 724763.48
2018-11»07 Gopher Protoco|, |nc.: 94913.66 819677.14
2018-11~08 Gopher Pro!ocol, |nc.'. 50918.82 880595.96
2016-11-09 : : Fee - DWAC -300.00 880295.96
' 2018-11-0_9 : : DWAC-|n Fee int -50.00 880245.96
2018-11~09 Gopher Pro!ocol, inc.: 79117.58 959363.54
2018'1 1 -09 Nlobiquity Techno|ogies, |nc.: 232.78 959596.32

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2018-11-09 Gopher Protocol, |nc.: 73463.03 1033059.35 _
2018-11-09 : :Compiiance Fteview Fee (Wire Out Hequests} ~255.00 1032504.35
2018-11-12 Gopher Protoool, lnc.: 73463.03 1106267.38
2018-1 1»13 Gopher Protocol, lnc.: 79844.23 1186111.61
2018-12-12 : : Plasel Ltd. ~500000.00 686111.61
2018-12-12 : : Rasel Ltd. ~200.00 685911.61
2018-12-12 Mobiquity Technologios, tnc.: 10098.87 696010.48
2018-12-14 Mobiquity Technologias, |nc.: 1943.18 697953.66
2018-12-17 Mobiquity Tecbnotogies, lnc.: 1241 .68 699195.34
2018-12-18 Mobiqutty Technoiogies. lnc.: 4049.94 703245.28
2018-12-18 CLOSlNG BALANCE 703245.28

Disctaimer: Rainier AG, Neugasse 15, CH-6301 Zug Switzerland ("Fiainief’} or its atfi[iates cannot be heid iiable for any enors or omissions in this
document The information in this document should not be relied upon and action should not be taken on the basis ot any information contained in this
document without receiving the appropriate advice from your account representative legal and accounting consultants in the event that any information
in this document is incorrect, Flainier will not be responsible for any losses, charges expenses or costs which are incurred as a result Rainier expressly

disclaims any liability to any person in respect of anything done or omitted to be done in reliance upon the contents of this information

 

 

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EXHIBIT 12

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Advisory and STO Origination Agreement: Rainier AG.

ADVISORY AND STO ORIG[NATION AGREEMENT

This Agreement ("Agreernent") is entered into as of the 901 day of November 2018
(the “Effective Datc”) by and between Wise N@twf>rk.S-A- located at:
EBC Bidg, 901 fl. Escazu, 51 10203. Costa Rica (the “Company”), and Rainier Advisory Group Ltd.,
the wholly-owned subsidiary of Rainier AG, a Swiss Asset Managernent and Financial
intermediary company, Member of SRO AR}]F regulated by FINMA, with the offices at
Neugasse 15, CH-6301 Zug, Switzerland (“Advisor”).

 

WHEREAS, Advisor is the Wholly-owned subsidiary of the professional, regulated Swiss
financial company with significant experience among other things in corporate finance and
merchant services internationally, including but not limited to advisory, underwriting and
management of offerings of securities and other financial instruments;

WHEREAS, the Company desires to engage Advisor to provide certain services as set forth
on Schedule “A” attached hereto and as specified from time to time by the Company and
Advisor desires to provide such services and duties for a fee as set forth herein,

NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and
conditions contained herein, the parties hereto agree as follows:

1. Engagement. The Company hereby engages Advisor to perform advisory, underwriting
and management services related to Security Tolcen Offering for the benefit of the
Company set forth in the Scheduie A attached hereto and such other duties as may be
requested from time to time by the Company. Advisor hereby accepts such engagement
upon the terms and subject to conditions set forth in this Agreement.

2. Compensation. For the services rendered by Advisor under this Agreement, the
Company shall pay to Advisor the compensation specified in the Schedule A, subject to
the terms and conditions set forth in this Agreement.

3. Terrns and Su_rvivability. The term of this Agreement shall be for a period of one year
horn the Effective Date. The Agreernent in part of the continued periodic services as set
forth herein shall renew automatically at the end of each twelve (12) months unless
terminated by either party in writing prior to the Termination Date. Upon termination of
this Agreement the following sections of this Agreement shall survive such termination:
Sections 3, 5, 6, 7, S, 10, 12, 13, and Scheduie A Sections 4.b, 4.c and 4.d. The rights in
Scheduie A Sections 4.b, 4.c and 4.d shall survive indefinitely unless otherwise agreed to
by the Advis ors.

4. Costs and Expenses of Advisor’s Performance. Except as set forth on the Schedule A,
ali costs and expenses of Advisor’s performance hereunder shall be borne by the Advisor.

5. Taxes. As an independent contractor, Advisor acknowledges and agrees that it is solely
responsible for the payment of any taxes and/or assessments imposed on account of the
payment of compensation to, or the performance of services by Advisor pursuant this
Agreement, including, without iimitation, any unemployment insurance tax, federal and

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Advisory and STO Origination Agreement: Rainier AG.

state income taxes, Federal Social Security (FICA) payments if such are payable in the
USA, AHV payments in Switzerland, and any state disability insurance and social security
taxes in Switzerland The Company shall not make any withholdings or payments of said
taxes or assessments with respect to amounts paid to Advisor hereunder; provided,
however, that if required by law or any governmental agency, the Company shall withhold
such taxes or assessments from amounts due Advisor, and any such withholding shall be
for Advisor's account and shall not be reimbursed by the Company to Advisor. Advisor
expressly agrees to make all payments of such taxes, as and when the same may become
due and payable with respect to the compensation earned under this Agreement.

 

6. Coni'ldentiality. Advisor agrees that Advisor will not, except when required by
applicable law or order of a court, during the term of this Agreement or thereafter, disclose
directly or indirectly to any person or entity, or copy, reproduce or use, any Trade Secrets
(as defined below) or Confidential Information (as defined below) or other information
treated as confidential by the Company known, learned or acquired by the Advisor during
the period of the Advisor's engagement by the Company. For purposes of this Agreernent,
“Confidential lnformation" shall mean any and all Trade Secrets, knowledge, data or know-
how of the Company, any of its affiliates or of third parties in the possession of the
Company or any of its affiliates, and any nonpublic technical, training, financial and/or
business information treated as confidential by the Company or any of its afliliates,
whether or not such information, knowledge, Trade Secret or data was conceived,
originated, discovered or developed by Advisor hereunder. For purposes of this
Agreernent, "Trade Secrets" shall include, without limitation, any fonnula, concept,
pattern, processes, designs, device, software, systems, list of customers, training manuals,
marketing or sales or service plans, business plans, marketing plans, financial information,
or compilation of information which is used in the Company's business or in the business
of any of its affiliates Any information of the Company or any of its affiliates, which is
not readily available to the public, shall be considered to be a Trade Secret unless the
Company advises Advisor in writing otherwise Advisor acknowledges that all of the
Confidential lnformation is proprietary to the Company and is a special, valuable and
unique asset of the business of the Company, and that Advisor‘s past, present and future
engagement by the Company has created, creates and will continue to create a relationship
of confidence and trust between the Advisor and the Company with respect to the
Confidential Inf`ormation. Furtheimore, Advisor shall immediately notify the Company of
any information, which comes to its attention, which might indicate that there has been a
loss of confidentiality with respect to the Confidential lnformation. ln such event, Advis or
shall take all reasonable steps within its power to limit the scope of such ioss.

7. Return of Company’s Proprietary Materials. Advisor agrees to deliver promptly to
the Company on termination of this Agreement for whatever reason, or at any time the
Company may so request, all documents, records, artwork, designs, data, drawings,
flowcharts, listings, models, sketches, apparatus, notebooks, disks, notes, copies and
similar repositories of Confidential lnformation and any other documents of a confidential
nature belonging to the Company, including all copies, summaries, records, descriptions,
modifications, drawings or adaptations of such materials which Advisor may then possess
or have under its control. Concurrently with the return of such proprietary materials to the

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Advisory and S'I`O Origination Agreement: Rainier AG.

Company, Advisor agrees to deliver to the Company such further agreements and
assurances to ensure the confidentiality of proprietary materials Advisor further agrees
that upon termination of this Agreemcnt, Advisor‘s, employees, Advisors, agents or
independent contractors shall not retain any document, data or other material of any
description containing any Confidential lnformation or proprietary materials of the
Company.

8. Assignment of Proprietary Rights. Advisor hereby assigns and transfers to the
Company all right, title and interest that Advis or may have, if any, in and to all Proprietary
Rights (whether or not patentable or copyrightable) made, conceived, developed, written
or first reduced to practice by Advisor, whether solely or jointly with others, during the
period of Advisor's engagement by the Company which relate in any manner to the actual
or anticipated business or research and development of the Company, or result from or are
suggested by any task assigned to Advisor or by any of the work Adviso_r has performed
or may perform for the Company. Advisor acknowledges and agrees that the Company
shall have all right, title and interest in, among other items, all research information and all
documentation or manuals related thereto that Advisor develops or prepares for the
Company during the period of Advisor's engagement by the Company and that such work
by Advisor shall be work made for hire and that the Company shall be the sole author
thereof for all purposes under applicable copyright and other intellectual property laws.
Advisor represents and covenants to the Company that there are no Proprietary Rights
relating to the Company's business, which were made by Advisor prior to Advisor's
engagement by the Company. Advisor agrees promptly to disclose in writing to the
Company all Proprietary Rights in order to permit the Company to claim rights to which it
may be entitled under this Agreement. With respect to all Proprietary Rights, which are
assigned to the Company pursuant to this Section 8, Advisor will assist the Company in
any reasonable manner to obtain for the Company's benefit patents and copyrights thereon
in any and all jurisdictions as may be designated by the Company, and Advisor will
execute, when requested, patent and copyright applications and assignments thereof to the
Company, or other persons designated by the Company, and any other lawful documents
deemed necessary by the Company to carry out the purposes of this Agreement. Advisor
will further assist the Company in every reasonable way to enforce any patents, copyrights
and other Proprietary Rights of the Company.

9. Trade Secrets of Others. Advisor represents to the Company that its performance of all
the terms of this Agreement does not and will not breach any agreement to keep in
confidence proprietary information or trade secrets acquired by Advisor in confidence or
in trust prior to its engagement by the Company, and Advisor will not disclose to the
Company, or induce the Company to use, any confidential or proprietary information or
material belonging to others. Advisor agrees not to enter into any agreement, either written
or oral, in conflict with this Agreement

10. Other Obligations. Advisor acknowledges that the Company, from time to time, may
have agreements with other persons, which impose obligations or restrictions on the
Company regarding proprietary rights made or developed during the course of work
hereunder or regarding the confidential nature of such work. Advisor agrees to be bound

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Advisoiy and STO Origination Agreement: Rainier AG.

by all such obligations and restrictions and to take all action necessary to discharge the
obligations of the Company hereunder.

11. Independent Contractor. Advisor shall not be deemed to be an employee or agent of
the Company for any purpose whatsoever. Advisor shall have the sole and exclusive
control over its einployees, Advisors or independent contractors who provide services to
the Company, and over the labor and employee relations policies and policies relating to
wages, hours, working conditions or other conditions of its employees, Advisors or
independent contractors

 

12. Non-Solicitation. Parties will not, during the term this Agreernent and for one year
thereafter, directly or indirectly (whether as an owner, partner, shareholder, agent, officer,
director, employee, independent contractor, Advisor, or otherwise) with or through any
individual or entity: (i) employ, engage or solicit for employment any individual who is,
or was at any time during the twelve-month period immediately prior to the termination of
this Agreement for any reason, an employee of the other party, or otherwise seek to
adversely influence or alter such individuals relationship

13. Equitable Remedies. ln the event of a breach or threatened breach of the terms of this

Agreement by Advisor, the parties hereto acknowledge and agree that it would be difficult §
to measure the damage to the Company from such breach, that injury to the Company from l
such breach would be impossible to calculate and that monetary damages would therefore

be an inadequate remedy for any breach Accordingly, the Company, in addition to any and

all other rights which may be available, shall have the right of specific performance,

injunctive relief and other appropriate equitable remedies to restrain any such breach or

threatened breach without showing or proving any actual damage to the Company.

14. Supersedes Prior Agreements. This Agreement supersede any and all written and
Verbal agreements prior between the Advisor and the Company.

15. Governing Law, Attorneys’ Fees. All questions concerning the construction, validity,
enforcement and interpretation of this Agreement shall be governed by and construed and
enforced in accordance with the internal laws of Switzerland, without regard to the
principles of conflicts of law thereof Each party agrees that all legal proceedings
concerning the interpretations, enforcement and defense of the transactions contemplated
by this Agreement (whether brought against a party hereto or its respective aftiliates,
directors, officers, shareholders, employees or agents) shall be commenced exclusively in
the courts sitting in Switzerland Each party hereby irrevocably submits to the exclusive
jurisdiction of the courts sitting in Switzerland for the adjudication of any dispute
hereunder or in connection herewith or with any transaction contemplated hereby or
discussed herein, and hereby irrevocably waives, and agrees not to assert in any suit, action
or proceeding, any claim that it is not personally subject to the jurisdiction of any such
court, that such suit, action or proceeding is improper or inconvenient venue for such
proceeding ln case of any litigation between the parties of this Agreement the prevailing
party in such litigation will be entitled to recovery from the other party of all attorneys’
fees and costs of the prevailing party in such litigation

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Advisory and STO Origination Agreement: Rainier AG.

16. Entire Agreelnent: Modifications and Amendrnents. 'l`he terms of this Agreement
are intended by the parties as a final expression of their agreement with respect-to such
terms as are included in this Agreement and may not be contradicted by evidence of any
prior or contemporaneous agreement The Schedules A referred to in this Agreernent is
incorporated into this Agreement by this reference This Agreernent may not be modified,
changed or supplemented, nor may any obligations hereunder be waived or extensions of
time for performance granted, except by written instrument signed by the parties or by their
agents duly authorized in writing or as otherwise expressly permitted herein

 

 

17. Assignment. This Agreernent and the rights, duties and obligations hereunder may be
assigned or delegated by Advisor in part to independent professionals such as attorneys,
accountants and US FlNRA-Mernber broker-dealers, US SEC-registered RIA, UK FCA-
Licensed securities broker-dealers or lsle of Man Registered Digital Asset Exchange. All
fees paid to such third parties are inclusive herein unless additional disbursements are
expressly pre‘approved by the Company.

18. Binding Effect: Successors and Assignrnent. This Agreement and the provisions
hereof shall be binding upon each of the parties, their successors and permitted assigns

19. Validity. This Agreernent is intended to be valid and enforceable in accordance with
its terms to the fullest extent permitted by law. lf any provision of this Agree_ment is found =
to be invalid or unenforceable by any court of competent Jurisdiction, the invalidity or

unenforceability of such provision shall not affect the validity or enforceability of all the

remaining provisions hereof.

20. Notices. All notices and other communications hereunder shall be in writing and, unless
otherwise provided herein, shall be deemed duly given if delivered personally or by
telecopy or mailed by registered or certified mail (return receipt requested) or by Federal
Express or other similar courier service to the parties at the following addresses or (at such
other address for the party as shall be specified by like notice). Additionally, an email shall
be sent with a copy of all written notices.

(i) lf to the Company:

Wise Network, S,A.

Attn: Mauricic E. Lara R., Esq
EBC Bldg ch f|. Escazu, SJ 10203. Costa Rica

 

 

 

(ii) If to the Advisor:

Rainier AG

Attn: Tatja_na Gutschrnidt El Chbeir
Neugasse 15

Cl~l-6301 Zug, Switzerland

Phone: ~1-41 41 552 4030
Facsirnile: +¢ll 44 274 2749

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Advisory and STO Origination Agreement: Rainier AG.

Email: support@rainier.ch

Any such notice, demand or other communication shall be deemed to have been given on
the date personally delivered or as of the date mailed, as the case may be.

]N WITNESS WHEREOF, the parties hereto have executed this STO Advisory and :_
Underwriting Agreement as of the Effective Date written above.

Rainier AG
By:

Name: Tatj ana Gutschmidt El Chbeir
”l`itle: Managing Director

 

Wlse Networ , S.A.

 

 

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By: “'_" ._,-..-
NHI!].C: \ ___-___
Title: j
schedule “A”

1. TI'I`LE, DUTIES AND OPERATIONAL RESPONSI]SILITIES:

a. Throughout the term of this Agre ement Rainier Advis ory Group, Ltd. will have the title
of Advisor.

b. As allowed by applicable Swiss laws and regulations, US Federal and State laws and
SEC Regulations and other relevant rules and regulations of the jurisdictions where
activities by Advisor on behalf of the Company will be conducted, Advisor will undertake
its best effort to assist the Company in its interactions with government financial and
industry regulators, self-regulatory agencies governing financial markets, lawyers,
accountants, investment banks, merchant banks, venture capital funds and private equity
investors,r digital asset exchanges as well as individual investors (“Financiers”) and in
particular will prepare, file, manage and procure registration of required forms and
documents, assist the Company in the negotiating of the terms and conditions of the
agreements between the Company and the Financiers with the purpose of securing the first
round of up to USS M in funding and second round of up to US$ M in funding
for the Company in the form of Security Token Of`fering of assets, equity and/or debt
instruments distributed using blockchain technology via reputable and regulated digital
asset marketplaces on the terms and conditions negotiated with, acceptable to and approved
by the Company.

c. Advisor will provide advisory services as well as preparation, filing, post-filing
management and processing of the requisite forms and documents, and other forms of
guidance in the following areas as relates to assistance in and underwriting of such Security
Token Offering, if required, via filing of the Registration Statement with the SEC and
acquiring the registered status of the Company’s security tokens in either of the following

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Advisory and STO Origination Agreernent: Rainier AG.

or a combination thereof:

i. lncorporation of the Company’s subsidiary in the US or EU, if required; preparation,
filing and post-filing management of the SEC Forms l-A, S-l, or Form 10, and FlNRA
Forml§c-Zl l, Private Placement Mernoranda, preparation and submission of the DTCC~
eligibility, CUSIP Authority and other relevant applications and related documents,
coordination of the handling of the SEC and FINRA comments and other pertinent
formalities, filings etc.; alternatively and/or concurrently, preparation and filing of
requisite registration forms and other documents with EU, UK and/or IOM financial
regulators and Euroclear, if required

ii. Drafting of pertinent binding agreements, forms S-K, lO~Q and lO~K or other regular
reporting forms and submissions as required by the respective regulations, coordination of
work of investment bankers, attorneys, transfer agents and accountants involved in the
same on behalf of the Company.

iii. Preparation for edgarization of forms to be filed with the SEC.

iv. Response to SEC comment letters, assistance with the procedures required for continued
compliance with the relevant regulations

v. Liaison with the shareholders of the Company and investor relations services for the
purposes of creating and maintaining investor awareness for the benefit of the Company,
assistance with the road shows, presentations and coordination of financial public relations.
vi. Listing of the Company’s Security Tol<ens on no less than 3 reputable, regulated digital
asset marketplaces internationally

vii. Assistance with and consulting on matters related to UK FCA, IOM PSA, US DTC,
FINRA, and SEC regulations and compliance upon registration of the Company’s
securities by the SEC and attaining publicly traded status therefor.

2. SCHEDULE AND COMMITMENT OF TIME:
Advisor is expected to devote as much time as needed to assist in fulfilling responsibilities
in Sec. 1 of Schedule A above.

3. REPORTING SCHEDULE:
Advisor shall report regularly, but no less than every week, to the Company.

4. COMPENSATION AND PAYMENT TERMS:

a. Upon execution of this Agreernent the Company will pay Advisor a retainer in the
amount of US$SO0,000, in two installments The first installment of US$ZS0,000 is due
and payable upon signing of this Agreement. The second installment ofUS$ZS0,000 is due
and payable in no later than sixty days since the date hereof or upon completion and
obtaining of the effective status of the regulatory registration required for commencement
of the sales of the Company’s Security Tokens in no less than one internationally
recognized jurisdictions, whichever comes sooner. In addition to the retainer Advisor is
entitled to Equity Compensation in exchange for their services to the Company contracted
herein Advisor will be entitled to Equity Compensation in the amount of 4.99% of the
issued Security Toi<ens of the Company as “payrnent for advisory services” based on this
Agreement, and the Security Tol<ens allotted for Advisor’s compensation shall be afforded
all the registration, non-dilution and other rights at par with other token-holders of the
Company as set forth in the respective registration statements and other relevant documents

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Advisory and STO Origination Agreement: Rainier AG.

and contracts

b. All fees are considered earned when paid.

c. Upon execution of this Agreement Company shall provide Advis or with all the
reasonable required information needed in fulfillment responsibilities in item l above. The
required information shall be provided within 30 days from date of the request by Advisor,
otherwise Advisor has right to terminate this Agreernent and retain all the fees earned to
the date of termination, or continue executing this Agreernerrt but in such case the Company
will be responsible to pay for the additional costs of Advisor’s subcontractors (attorneys,
accountants etc.).

d._ To the extent additional assistance is needed after the termination of this Agreement the
Company shall get the Advisor services at our standard hourly rates which are as follows:
Partner $500 per hour, Associate $300 per hour.

e. Fees shall be wired to the Advisor when due as follows:

Wire Particulars:

Account Name: Rainier Advisory Group Ltd.

Banl< name: Barclays Bank UK PLC

Banlr Address: l Churchill Place, London E14 Si-IP, England
Sort Code: 20-92-63

Account Ns -497

IBAN: GB33BUKB20926333627497

Swift: BUKBGBZZ

5. EXPENSES:

Company agrees to reimburse Advisor for any pre-approved in writing expenses within 15
days of submitting receipts and expense reportl All expenses shall be pre-approved in
advance by Company in order to qualify to reimbursement An email authorization by an
officer of Company shall be deemed a valid approval

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EXHIBIT 13

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CHAS E ‘ December 03. 201Bthrcugh December 31 , 2018
.JPMorgan Chase Bank, N.A. '-
FOBO,‘,BM miranda _
Golumbus, OH 43218- 2051
CUSTOMER SERV!CE ENFORMA`£|ON
Web site: www.Chase.eom
Sarvice Center: 1-877-425-8100
001 sense one 103 219 cone NNNNNNNNNNN 1 onoooonuo 64 oooo Deaf and Hard of Hear':ng: 1 -800-242~7383
Para Espanoi: 1-888-622-4273
international Cat|s: 1-713“262-1679 §
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DEPOS|TS AND ADD!T|ONS

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902123809/Ao-00000000359 8 Rtb=249270018 Obi=Loan D!sburseme Nt Mr G Mancuso
|mad: 12713L1687H21=10141 40 Trn: 6544809341!:{

    

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EXHIBIT 14

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TRAD|NG STATEMENT

Date: to

    

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Name'. Consul Group RE 2021 Ltd. -
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Account Numbe 185
Rainier AG
Neugasse 55. CH~6301 Zug Switzerland
Tetephone: 441 41 552 4030
Trade Date Trade Type Securities Name Symbo| Quant§ty Pr|ce Gross Total Comm Proceede
and fees
2018~10*16 Deposit Gopher Protocol, |nc. GOPl-l 2,244,839 0.000000 0.00 0.00 0.00
2018-10-1 7 Se!| Gopher Protocol, |nc. GOPH 60.000 0.794575 47530.50 2682.43 44798.08
2018-1 0-18 Se1| Gopher Protoco|, |nc. GOPH 100,000 0.755139 78813.90 4394.77 74219.13
201 B-1 0»19 Se|l Gopher Protocol, lnc. GOPH 100,000 0.754012 75401.20 4208.05 70993.15
2018-10-22 Sel| ' Gopher Protocol, lnc. GOPH 150,000 0.723692 108553.50 6031.87 102321 .93
2018-10-23 Sell Gopher Protoco|, inc. GOPH 100,000 0.722031 72203.10 4032.11 67970.99
2018-10»24 Sel| Gopher Protcco|, Inc. GOPH 47,821 0.703472 33640,73 1910.60 31530.05
2018-10-25 Sel| Gopher Protocol, inc. GOPH 100,000 0.655570 65587.00 3668.14 61718.86
2018-10-25 Selt Gopher Protocot, lnc. GOPH 100,000 0.507113 6071 1.30 3399.92 571 11.39 g
201 Bw1 0-29 Seli Gopher Pmtocot, |nc. GOPH 100,000 0.607524 60752.40 3402.17 57150.23 l
201 B-10-30 Seli Gopher Protocol, |nc. GOPH 100,000 0.533633 53353.30 3129.08 50034.23
201 8-10-31 Se11 Gopher Proloco|, |nc. GOPt“| 100,000 0.523206 52320.60 3069.11 49051 .49
201 8-11~0t Se|l Gopher Protocol, lnc. GOPH 100,000 0.508415 50841.50 2984.05 47657.45
2018-11-02 Sell Gopher Prolocol. Enc. GOPH t00,000 0.503085 50308.50 2953.39 47155.12
2018-1 1-05 SeII Gopirer Protoool. inc. GOPH 100,000 0.555137 55513.70 3252.71 52060.99
201 B~t 1~06 Sell Gopher Protoco|, inc. GOPH 107,013 0.533553 57099.77 3343.98 53555.80
2018-11-07 Se|| Gopher Pro!oco|, lnc. GDPH 200,000 0.504907 100981.40 5867.74 94913.66
2018-11-07 Deposit Gopher Protocol, lnc. GOPH 2,400,000 0.000000 0.00 0.00 0.00
2018~11'08 Se|l Gopher Protoco[, 1nc. GOPl-§ 129,502 0.501244 64912,10 3793.29 60918.82
2018-11-09 Sell Mobiquity Technologies, |nc. MDBQ 4,722 0.094000 443.87 211.09 232.78
2018-11-09 Deposit Mob§qulty Technologies. Inc. MOBQ 8,500.000 0.000000 0.00 0.00 0.00
201 B-1 1-09 Seil Gopher Protocol, |nc. GOPH 200.000 0.421 t07 84221.40 4903.82 79t17.58
201 B-‘l 1-09 Sei| Gopher Protocol, |nc. GOPi-I 200,000 0.391 109 75221.80 4558.77 73463.03
2018-11-12 Se|| Gopher Profoeol, |nc. GOPH 200,000 0.39€109 7B221.30 4558.77 73463.03
2018~11»13 Se|| Gopher Prorocol, lnc. GOPH 250,000 0,340601 85165.25 5171.02 79844.23
2015-12-12 Sell Mobiquity technologies |nc. MOBO 75,000 0.152667 11450.03 1 126.15 10098.57
2018-12-14 Sel| Moblquity Technologies, lnc_ MOBO 16,000 0.151563 2585.01 416.83 1943,10
2018-32~17 Sel| Mobiquhy Teohnologies. |nc. MOBG 11 ,250 0.162000 1822,50 355.82 1241 .SB
2018-12-18 Sell Mobiquity Technologies, lnc. MOBQ 30,000 0.162500 4575.00 600.06 4049.94
TOTAL 1435691.46 84025.82 1346615.70

 

Disclatmer: Rainier AG, Neugaese 15, CH-6301 Zug Switzerland (“l"\ainier") or its affiliates cannot he held liable for any errors or omissions in this document The
information in this document should not be relied upon and action should not be taken on the basis ot any information contained in this document without receiving the
appropriate advice from your account representative legal and accounting consultants ln the event that any information in this document is incorrect Fla`laler will not be
'esponslhle tor any lesses, charges1 expenses or costs which are incurred as a result Rainier expressly disclaims any liability to any person in respect of anything done or

omitted to be done in reliance upon the contents of this information

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EXHIBIT 15

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EXHIBIT 16

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Security Fosltion Reports: Weekiy$ubsor¥ptlnn Report
'l'he Deoositon;Tmst company

Weeid\l Security Posltion Report

Daliy Uoslng Balz.nce:

Fcr Weelr. Endlng 01/18/2,01§ v
Security Desu'lpdon Clasip

GGFHER PROTDCOI. INC + SBZSSV 108 -:

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bluth ?axticipant Name 1111/19 §./14[13 1115/15 1/16/19 1[17/:5 ifle Shares Perce:rt

    

 

 

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EXHIBIT 17

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EXHIBIT 18

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LAW CJFF!CEE OF

RC)E Esa'r' M. YASPAN

FaOEr-:RT M. YASFAN avco OxNARD s*r'm-:t-:'r
DEE'RA R. ERAND SU,TE 1750

.JC}SEF'M G. M¢CARTY
WOODLAND H|LLE, CALlFO?lN|A 9l367
lB$B) 905-771| OR lBlB} 774#'9929
FAX [BIB} 505-771| OR lBlS) 774-9559

 

January 21, 2019

Vz'a Emaz`l to sunnert(dlrainier.cli; m‘eg@rainier_.ch;

and USPS fatal/rational Maz'l

RAINIER AG

Swiss Asset Management

e/o Greg Mancuso

Neugasse 15 7 - :
CH~6301 ` g
Zug, Switzerland `

Re: Consul Groun RE 2021, S.R.L (The “Comoany”)., Account No. PROOl?lBS (the

“Aecount” }; Notice of Terrnination of the Brokerage Account Agreement and the
Account

Dear Mr. Mancuso:

This office represents Consul Group RE 2021 S.R.L., Mauricio Lara Ramos (Manager,
and Primary Beneficial Holder), Gopher Protocol, Inc. and its affiliate consultants

As the result of your Brm’s misconduct the Company noticed you regarding the closing
of its account with you. You ignored the notice of closing and instead illegally held onto the
assets in the account You are not authorized to Withhold any funds or Stock or delay the
transfer in any Way. You Will be held fully responsible for any delay and further damages
incurred if you fail to transfer all funds and stock held in the Account immediately as requested

The misconduct of your firm extends to its authorized representatives and if and When the
Company institutes litigation in the States the representatives will also be named in any
appropriate litigation

This letter Will serve as the second notice that pursuant to paragraph 24 of the Brolcerage
Account Agreement (the “Agreement”) for the Account, the Account Hclder and the Beneficiary _
of the Account hereby terminate the Account and Agreernent With immediate effect Therefore, §
you are instructed to transfer all of the funds to the Company account as instructed by Mr.
Ramos in writing; the GOPH shares in the account shall be sent via DWAC to Ernpire Stock
Transfer, lnc., 1859 Whitney Mesa Dr, Henderson, NV 89014; GOPH’s transfer agent; and the

§§ "

Case : - - - `
2 19 cv 01254 .]AK-E Document 1 Fl|ed 02/20/19 Page 118 of 195 Page |D #'118

!_AW OFF|CES OF
Rorst-:RT M. YASPAN

RAINIER AG

Swiss Asset Management
Page 2 of 2

January 21, 2019

MOBQ shares shall be sent Via DWAC to Continental Stock Transfer & Trust, lnc., l7 Battery
Place, Sth Floor, New Yorl<, NY 10004, MOBQ’s transfer agent

Thanl< you for your anticipated prompt attention to this matter. l arn available for your
cali. Please do not contact the Company directly; all comments and communications should he
directed to this office

Since y yours,
Robert M. Yaspan
Enelosures ~ Consul formal notice dated 1/16/2019

cc‘. .T ames Rogers, Regulatory Analyst
FINRA d Oflice of Fraud Detecticn and Market Intelligence
15200 Omega Drive, Suite 210
Rockville, MD 20850

Gop'her Protocol, lnc.
Mitchell Tavera (Chief of Police, Ret,)

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EXHIBIT 19

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Robert Yaspan
l

From: Rainier AG Compliarice Department <comp|iance@rainier.ch>
` Sent: Wednesday, Jariuary 23, 2019 10:‘!4 Ai\/i

To: lanya Menachian

Cc: greg@rainier.ch; Mauricio Lara; Robert Yaspan; whistleblower@firira.org
Subject: Re: Consu| Group RE 2021, S.R.L - Account No. PROO‘lYlBB

|\/lr. Yaspan,

We are aware of your |etter. Your position as the director of the issuer simultaneously representing the apparent insider

that is engaged iri what seems to be an iiiega| distribution of unregistered securities orchestrated by an undisclosed

control person of the company, will without a doubt be carefully examined by FlNRA Office of Fraud Detection and

Market intelligence vvho are copied herewith and who are being supplied with respective ample evidence that came to

our possession for their review. Further, please note that |Vlr. James Rogers is no longer with F!NRA. Our representatives

are in contact with his office though consulting on the relevant matters mentioned herein. Please additionally note that

you apparently have not read the Account Agreement entered into by your client in detail in particular, please analyze

the venue ofjurisdiction clauses as well as Sec. 217 of the same contract prior to making unfounded threats that fall on

deanC ears respective|y. For further information due to the aggravated nature of the suspected activities an attorney will

be retained representing our firm in this matter. You Wi|| be contacted by the same accordingly within 72 business hours _
or less._Therefore no further direct contacts with our company will be necessary. s

Philippe Herrmann, COO
Rainier AG Compliance Department
':Rainier AG

Neugasse 15

CH-6301 Zug
Switzerland

     

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Telephooe: +41 41 552 4030

Facslmiie: +41 44 274 2749
E-maii: compliance@rainier.ch

The consents of this ema|§ and any attachments are confidential and intended solely ior the addressee and may also be privileged or exempt imm disclosure under applicabte law and, in any easa, shall not constitute or
be construed as an of§arto buy or salt securities in the United States, Canada, i€\us'rra|ial lapan, Switzerland or anyl other territory cr jurisdiction if you are not the addressee, or have received this e~mail in error, please
notify the sender immacllately. delete lt from your system and do not copy, disclose or otherwise act upon any part of this e-mai| or !ts attachments

Rainier AG is a registered SRO-Member of Assoclation Romande des lntem\édia|res Flnanclers {AR|F], an oli`lclally recognized self-regulatory organization (SRG) according to the Anti‘Money-Launderlng Act (AN|LAi and
Swiss Asset Management Act.

On Jan 22, 2019, at 7:02 PlVI, Tanya Menachian <tmenachian@vaspaniaw.com> wrote:

Please see the attached letter from Robert M. Yaspan.
Thanl< you.

Tatyana (Tanya) Menachian
JD Paralegal / Office Manager
Law Offlces of Robert M. Yaspan
21700 Oxnard Street, Suite 175 0
Woodland Hills, CA 91367
Telephone: (818) 905-77 ll

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Fax: (818) 501-771i
Email: Tanya@YaspanLan/.oom

<Rainier AG letter 1-21-19.pdf>

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EXHIBIT 20

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Robert Yaspan
w
From: l\/iauricio Lara <mauricio@iaraiegalcorp.corn>
Sent: Wednesdayr January 23, 2019 10:28 Alvi
To: Rainier AG Compliance Departrnent
Cc: Tanya i\/ienachian; greg@rainier.ch; Robert Yaspan; whist!ebiower@finra.org
Subject: Re: Consu! Group RE 2021, S.R.L - Account No. PR0017188

Dear l\/lr. Herrrnann,

We do not take your threats lightly and we have been able to do quite some extensive due diligence of our own on your
operation (if it can even be called that). Your claim of being a 40 year company is completely and utterly false. The
company that you represent was in fact incorporated in 1971, however it wasn't until 2015 that reforms were made to
the company to establish its current purpose.

We have also found out that under Swiss law, the supervision that you hold only covers the supervision of your anti~
money laundering program and a code of deutology. Under this !icense you are not legally authorized, under Swiss law,
to hold client funds but much ratherjust manage (trade) on the assets.

l also think F|NRA will be very surprised to learn how you received orders from a US citizen that holds no signatory
authority over the account and that not a single wire transfer that you claim to have sent was even sent to the account
of my company.

We have also retained the offices of tent & Staehe|in and Wili be represented by |Vlr. Dominique Mii|ler. |-ie had a
"1 handful of comments about schemes like your.

We will pursue this with the full weight of the iaw.

Sleep tight.

Sent from my ii`-’hone

On ian 23, 2019, at 7:13 P|Vl, Rainier AG Compliance Departn'ient <comp!iance@rainier.ch> wrote:
iVir. Yaspan,

We are aware of your |etter. Your position as the director of the issuer simultaneousiy representing the
apparent insider that is engaged in what seems to be an illegal distribution of unregistered securities
orchestrated by an undisclosed control person of the company, will without a doubt be carefuin
examined by F|NRA Off"lce of Fraud Detection and Market |nte!|igence, who are copied herewith and
who are being supplied with respective ample evidence that came to our possession for their review.
Further, please note that iVlr. James Rogers is no longer with F|NRA. Our representatives are in contact
with his office though consulting on the relevant matters mentioned herein. Piease additionally note
that you apparently have not read the Account Agreernent entered into by your client in detaii. in
particular, piease analyze the venue ofiurisdiction c!auses as well as Sec. 17 of the same contract prior
to making unfounded threats that fail on deaf ears respectivelyl For further information due to the
aggravated nature of the suspected activities an attorney will be retained representing our firm in this
matter. You will be contacted by the same accordingly within 72 business hours or less. Therefore no
further direct contacts with our company will be necessary

Philippe Herrmann, COO

 

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EXHIBIT 21

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Ftc)ia Er~a'r M. YASPAN

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P@bruary 14, 2019 '

Vz`a Federczi Express Prir)ri'rv Overnight Maz'l
Tbc Banlt of New Yori< §vleilon Corporation
Sharcowncr Sctvices

400 So. Hope, Suite 400

Los Angeles, California 9007l

Via F ederal Ex;)res.s Priorin) Overnigki Mail
Pcrshin`g, LLC dba BNY Mellon/Pershing ,
400 So. I-lopc, Suito 500

Los Angcles,' California 90071

l/'ia Federa] Exz)ress Prz'oi"z`ty Overnighf Maz`l
Caceis Banlt, S.A./Caccis USA, Inc.

1301 Avcnnc of the Amcrioas

Ncw York, NY 10019

 

Vr’cz Feo'eml Express Prior‘z'tv Ovemight Mail
Baader Banic AG/Baa;der Hclvea, Inc.

420 Lexington Avcnuie, Suite 804

New Yorl<, NY 10170

Re: Notioe of Stolen Propcrty

Victim: Consnl Group RE Dos Mi`l Vci.ntiuno Socicdad de Rcsponsabilidad Limitada
' (ti.'anslatcd to English as Consul Group RE 2021 S.R.L) aka Consul Group RE 2021, Ltda
(“CONSUL”)

Gentlemcn:

This firm represents CONSUL This letter is written on behalf of CONSUL Which is a
Vioi:irn of an international crime and fraud This letter is being sent as a part of a litigation Which
is expected to be filed on February 15, 2019. This letter Wiil bc an exhibit to that litigation

CON SUL is a Costa Rican company Whloh sent over 4,000,000 publicly traded shares of '
Gophcr Protocol, lnc. (OTCMKTS: 'GOPH) and 8,500,-000 publicly traded shares of Mobiquity
Technologies, lnc. (OTCMKTS: MOBQ) by DWAC to an alleged brokerage house supposedly
located in Zug, Switzerland by the name of “Rainicr AG” (“SWISS RAlNlER”).

 

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 126 of 195 Page |D #:126

LAW GFF]CES OF
F€OBERT M. YASPAN

The Bank of New Yorl< Mellon Corporation
Pershing, LLC dba BNY Mellon/Pershing
Caceis Banlc, S.A./Caoeis USA, Inc.

Baader Banlc AG/Baader Helvea, Inc.
February 14, 2018

Page 2

SWISS RAINIBR is believed to have a clearinghouse account with The Bank of New
York Mellon Corporation (“BNY”) and/or Pershing, LLC dba BNY Mellon/Pershing (“PC”). lf
not, then SW[SS RAINIER may be instead a client of Caceis B'anlc S.A., or Baader Bani<
AG/Baader Helvea, lnc, (that are in turn clearinghouse customers of BNY or PC). In that case
SWISS RAINIER would be a sub-client of either Caceis or Baader. Alternatively, a Santa
Barb ara resident, Lidia Zinchenlto dba Rainier AG, may have clearinghouse accounts in her own
name.

The shares were sent as the result-of fraudulent misrepresentations of SWISS RAINIER
to CONSUL Tliose fraudulent representations are the subject of an extensive federal complaint
to be filed on February 15, 201.9. As the result of those misrepresentations you are holding the
subject MOBQ and GOPH shares (as described below) in constructive trust for the benefit of
CONSUL.

The shares Were sent in several tranehes. SW"ISS RAINIER allegedly had arranged to
have the GOPH and MOBQ shares held at either the BNY or PC clearinghouse through one or
inore. One such tranche. of 2,244,339 shares Was sent at the instruction of CONSUL by J.I.L.
Venture LLC to BNY as follows: “DWAC BNY FBO Caceis Bank S.A. FBO Rainer
AGI'BAADER BANK-RAH\IIER AG ACCT” on or about October 6, 2018. See Exhibit l. A
second such tranehe of 2,400,000 shares of GOPH was sent as follows to BNY: “DWAC BNY
FBO Caceis Bani< S.A. FBO Rainer .AG/BAADER BANK-RAINIBR AG ACCT” on or about
October 19, 2018. See Exhibit 2.

SWISS RAINIER admits that it held 2,000,498 shares of GOPH as of.lanuary 16, 2018.
Exhibits 3 and 4. '

Based on the Weel<iy Security Position Report of the Depository Trust Company BNY
consistently held in excess of 2,000,498 shares from the date of deposit through January 14, 2019
and as of that date still held 2,874,998 shares of GOPH in its clearinghouse The next day it
transferred 2,120,498 shares away presumably to PC because on that same day PC’s holdings
were increased to 2,142,845 shares Thus, either PC or BNY still holds the CONSUL~owned
GOPH shares as of January 14., 2019. That position was maintained by PC through at least
February S, 2019. See Exhibit 5.1.

Case 2:19-cV-01254-.]AK-E Document 1 Filed O2/20/19 Page 127 of 195 Page |D #:127

LAW OFF]CES OF'
ROE\ERT M. YASF='AN

The Bank ofl\iew York Meilon Ccrporation
Pershing, LLC dba Bi\lY Mellon/Pershing
Caceis Banl<;, S.A./Caceis USA, 'lnc.

Baader Banit AG/Baader Helvea, Inc.
Fehruary 14, 2018

Page 3

A third tranehe of shares (MOBQ shares) were sent to BNY on behalf of CONSUL as
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than 8,3 97,588 MOBQ shares from the date of receipt through January 24, 2019. Based on the
Weekly Security Position Report of the Depository `Trust Company BNY still held in excess of
8,363,028 shares of MOBQ in its clearinghouse through January 24, 2019, which position
continued to exist through at least Febiuary 8, 2019. Exhibits 6 and 6.1

On ianuary 21, 2019 CONSUL demanded the return ofthe unsold GOPH and MOBQ
shares See Exhibit 7. SWISS RAINIER refused Pi‘esuming BNY/PC to be the custodian of
the GOPH and MOBQ shares CONSUL hereby notifies you that BNY/PC is holding CONSUL’s
shares in constructive trust FBO CONSUL, and CONSUL only.

CONSUL believes that it is the victim of an international crime and fraud perpetrated by
individuals named Lidia Zinchenko and Michael Guss in California (together with others). The
proof of this is contained in two “dba” filings in the County of Santa Barbara; and a personal
visit to Rainier’s A.G’s supposed office-in Zug, Switzerland The first such filing is that of Ms..
Zinchenl<o in which she registered a fictitious business name of “Rainier AG” on May 16, 2017
in Santa Barbara County. Exhibit 8.

CONSUL sent the opening deposit of USD 3125,000 at the instruction of SWISS
RAINIER to SWlS_S RAINIER. However, despite the Writ`ten instructions received by CONSUL
the funds were actually received by an account in the name of Lidia Zinchenlco dba Rainier AG
at the Bank of Ainerica in the U-SA, and not SWiSS RAINIER in Switzerland

Wiien SWISS RAINIER claimed to send moines back to CONSUL’s representative the
monies were not sent by SWISS RAINIER but rather by “Ezbanc Cor_p.” Which turns out to be a
Florida company that Was dissolved in 2012 and reinstated in 2018 just prior to the receipt of the
opening deposit from CONSUL Ezbanc Corp is a corporation whose President is Michael Guss
and whose registered agent is Embles Financ`ial Inc (Exliibit il). Emblcs Financiai is the
fictitious business name of Mr. Guss. See Exhibits 9, l0 and ll.

Mr. .Guss is .a criminal convicted of money laundering in 1996. Exhibit 12, Page 4. Mr.
Guss is barred from securities practice under a ruling of the NASD in 2007. Mr. Guss helped
himself in the federal crime by cooperating with “federal prosecutors and testified against
members of a Russian organized crime group in exchange for avoiding jail time See Exhibit 12,
Pagcs 4~5.

 

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LAW OFF|CEE OF
RC)BER“F M. YASPAN

The Banl< of Nevv York Meilon Corporation

Pershing, LLC dba BNY Mellon/Pershing

Caceis Bank, S.A./Caceis USA, Inc.

Baader Bank AG/Baader Helvea, Inc.
February 14, 2018 »
Page 4 ‘

 

 

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CONSUL and stole its property BNY/PC is now holding that stolen property for the benefit of
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the freezing of such assets pending further court order.

A copy of this letter is being sent as Well to the two company’s stock transfer agents so
that they Will be aware of any attempted change in share ownership

l ain available to you should you have any questions z

Sincere y yours,

  

Robert M. Yaspan
RMY/a

Enciosin‘es

cc: Client W_ith Enclosures

Case 2:19-cV-01254-.]AK-E Document 1 Filed O2/20/19 Page 129 of 195 Page |D #:129

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ROEERT M. YASPAN

ROBERT M, YAEPAN k 2!700 OXNARD STT-'(E£T
DEBRA R. BRAND , SUlTE l75C)

EF' .
JOS H G MGCART¥ WOC>ULAND HlLL$, CAL.\FORN[A 95367

[B\BJ BCJB“-Wll OR {BiSl 774»~9929
FAX (BSB} 501-77|| OR {BIB] 774-99553

February 14, 2019

Via Federal Express Priorz'fv Overni£ht Mafl
The Banl< ofNew York Mellon Corporation
Sl:iareowner Services

400 So. Hope, Suite 400

Los Angeles, California 9007l

Vi'n Federal Ex,or'ess Prz`orir;) Ovemz'ghf Mail'
Pershing, LLC dba BNY Mellon/Pershing .
400 So. Hope, Suite 500

Los Angeles,` California 90071

Via` F ederal E)gpress Prioriry Overnight Mail
Caceis Bank, S.A./Caceis USA, Inc.

1301 Avenue of the Arnericas

New York, NY 10019

Via F ederal Exnress Prz`or‘itv Overnz'gkr Maz`l
Baader Bank AGfB aader Helvea, Inc.

420 Lexington Avenue, Suite 804

New York, NY 10170

Re: Notice of Stolen Prop@y

Victirn: Consul Group RE Dos Mil Veintiuno Sociedad de Responsabilidad Lirnitada
(translated to English as Consul Group RE 2021 S.R.L) aka Consul Gronp RE 2021, Ltda
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LAW 0F'F1CE5 OF
ROBERT M. YASPAN

The Bank of New Yori< Meilon Corporation ` `
Pershing, LLC dba BNY Mellonfi’ershing
Caceis Banlc, S.A./Caceis USA, lnc.
Baader Bank AG/Baader Helvea, Inc.
Pebruary 14, 2018

Page 2

 

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 131 of 195 Page |D #:131

LAW O|“-"F[CES OF"
ROEEFQT M. YASPAN

The Banl< of NeW,Yorlc Mellon Corporation §
Pershing, LLC dba BNY Melion/Pershing
Caceis l?>ank7 S.A./Caceis USA, Inc.
Baader Bank AG!Baader Helvea, lnc.
February 14, 2018

Page 3

 

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 132 of 195 Page |D #:132

L.AW OF'F~‘iC:ES C>F
Roas:sa'r M_ YASPAN

The Bank of New York Mei}on Corporation
Pershing, LLC dba BNY Melioanershing
Caceis Banir, S.A./Caceis USA, Inc.

Baader Banlc AG/B aader Helvea, Inc.
February 14, 2018

Page 4

 

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A copy of this letter is being sent as Weli to the two company’s stock transfer agents sc
that they Wiil be aware of any attempted change in share ownership

i am available to you should you have any questions
Sincerely yours,

Robert M. Yaspau "
RMY/a "
Euclo sures

cc: Client With Enclosures

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 133 of 195 Page |D #:133

 

Exhibit 1

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 134 of 195 Page |D #:134

DEWAC |NSTRUCT-lON LETTER

Faolvl; s.l.L. vsm'uaa_u.c E\N: m
$OLE MANAGER CELL: § _ Pinky Clamor

   

TO: EN!PIRE STOCK TRANSFER INC. -~ AT|`AN: BR!AN BARTHLOW

RE: DEWAC |NSTRUCT!ON FROM .!.i.L -

ake asset 476 244,839 shares ana ake asset 476 _).l.i.. ventures
2,000,000 shares -
earnest ctienrs: cousin eROuP RE 2021
LTD -A Costa Rica Entity

 

 

Dear Brian;

Piease fund here DEWAC instructions for J.l.L. Venture, LLC shares - to Rianier Client CONSUL
GROUP RE 2021 LTD - A Costa Rica El'rii’ty

Amount of 5hares to be DEWAC: 2,44,839 GGPH Shares
Ciearing Broker Name: Bank ofNew York Melion
DTC Participant: 0901 _
Broker Name: Caceis bank S. A.

Broker ACCT # at Clearing Broker: 112000 - For further credit: BAADER BANK-RAEN|ER AG ACCT
Rainier Address and contact tnfo:

Greg Mancuso - RAIN¥ER AG~SW|SS ASSET MANAG EMENT

Neugasse 15, CH-SSOI ZUG, Switzerland - Tel `direct: +1 781~367-5428 e maiI: M_t;
RAiN|ER CL!ENT iS: CONSUL GROUP RE 2021`1.`\'0 - A Costa Rica Entity

After you receive the documents p!ease open DEWAC delivery in the system, RAIN|ER witt
initiate on their account online.

Sincere!y

.LLL. VENTURE LLC

A{ `i\
By: Pinky ilamor, M‘nager, 10{6,’2018

 

let

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 135 of 195 Page |D #:135

ii

lRREVOCABLE STOCK POWER

FOR VALUE RECEWED, the undersigned does hereby se§l, assign and transfer unto:

DWAC BNY FBO Caceis bank S. A FBO RA!NER
AGI BAADER BANK»RAINIER AG ACCT
blame v A Socla% Securityfl`ax lD Number

 

Address

2.244.839 shares of the Gommon Stock of:

Number of shares

Gopher Protocol
issuer name

Represented by:

Bke asset 476 244.839 shares and Bke asset 476 J.|.L. Ventures

2,000,000 shares -
Certificate Number(s)

and does hereby irrevocably constitute and appoint Empirs Stock Transfer Inc. to transfer the said
stock on the books of the within-named Corporation with full power of substitution in -the

premises k
… - »G…
Bated

SignelE l
NOTI : a signaturs(s} to thls assignment must correspond with the _name{s) as written upon
the face o this certificate in every particular without alteration or_enlargement or any change

whatsoever.
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Medalkon S{gnature Guaranteed (m£ s|GNAW|L:$¢iC;'¢S) Wm"l ME‘MBERSH\P EN AN APPROVED SlGNATURE GJARAN'FEE ME{!ALL|ON

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 136 of 195 Page |D #:136

 

 

Exhibit 2

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 137 of 195 Page |D #:137

' i

iRREVOCABL.E STOCK POWER

 

FOR VALUE RECi'.-'.NED, the undersigned does hereby seii, assign and transfer unto:

DWAC BNY FBO Caceis bank S. A FBO RA|NER
AGI BAADER BANK-RAINIER AG ACCT

 

 

 

 

 

 

Name Sooiai Security/Tax ID Number
Address
_§;.400,000 shares of the Common Stock of:
Number of shares
Gopher Protocoi
issuer name
Represented by:

Bke asset 479 - 2,400.000 shares (Yessine
Amaiiai) ~
Certincaie Number(s)

and does hereby irrevocabiy constitute and appoint Empire Stock Transfer inc. to transfer the said
stock on the books of the within-named Corpoz'ation with fuii power of substitution in the

/1)//'7 /,£Ol§?

f Dated

 

NDT§CE: The signature{s} to this assignment must correspond with the neme(s) as written upon
the face of this certi¥icate in every panicniar without alteration or eniargement or any change
whetsoever.

 

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 138 of 195 Page |D #:138

CA}.|FORNEA ALL-PURPCSE ACKNOWLEDGEMENT

 

 

A Notary Publlc or other officer completing this certificate verifies only the identity of the individual who signed s
the document to which this certificate is attachcd, and not the tluti'¢t`uir\ess'.s accuracy. or validity of that document §

 

 

 

 

State of California }
Cou nty of Los Angeles

On §2{1@;#[1 l£z; YIS ,before me, (.ILI.

personally appeared /)/J/HA<LU'! i? v

who proved to me on the basis of satisfactory evidence to he the person{s) whose nameisi
isfare subscribed to the within instrument and acknowledged to me that he/she]they executed
the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
instrument the person(s), or the entity upon behalf of which the person (s) acted, executed the ;__
instrument 5

 
 

l certify under PENALT¥ OF PERJiJRY under the laws of State of California that the foregoing
paragraph is true and correct.

  
 
 

 
 

smith lt. cannon
Nntar_y ?pdiic - California
f-'_ i.-qs hagans county
n . Gc;izmi;sian;#.;liz@ll?
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SIGNATU E

 

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and could prevent fraudulent removal and reattachment of this form to another document.

Bescription of attached document

  

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Document Date:_£Mp/z lQ*. 201§) Numberof Pages: 5

Signer(s} Other than Narneci Above:

 

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 139 of 195

 

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Page |D #:139

 

 

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Exhibit 3

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 141 of 195 Page |D #:141

   

 

 

 

 

 

 

TRADlN 3 S‘¥ATEME NT
Date: lo _ B'
Name: Consul Group RE 2021 Ltd. m E§RZEF _/
Accounmumnm*vtas ,5&?¥5 55 AS$E”V id RHREE*¢EHT
Rainier AG
Neugaese 15l CH-BSOl an Switzedand
‘l'elephone: +41 41 552 4030
Trade Da!a Trade Type Securities Name Symbo¥ Quantlty Prlee Grose Tola| Gomm Proceeds
and fees
2018-1046 Deposil Gopher Prolnool, lnc. GOPl-E 2,244.839 0.000000 0.00 O,Dii 0.00
2013-1 0»11r Se!i anher Protocol. lnr:. GUPH 60,000 0;794‘5? 5 4?680.50 ' 26824$3 44798.08
2018-10-1 8 Sell Gapher Pl'aiocol, Inc. GOPH 109,000 0.?88139 , 78313.90 4394,77 74219.13
201 8»1 0-1 El Sell Gophel' PrDiGoDi, Inc. GOPH 100,0|30 0.754012 75401 .20 4208,05 70993.15
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201 8-10-26 Sell Gopher Protocol, lnc. GOPi-l 100.000 0.607113 60?11.30 3399.92 511 1 39
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2018-10»31 Sell Gopher Protocol, lnc, GOPH 100.000 0.523206 52320.60 0089.11 49051,49 “
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2018-11~12 Sell Gopher Prolocol, lnc. GDPH 200,000 0391109 78221.30 4558.77 73463.03
2018-11 -13 Sell Gopher Fmioeot, Inc. GOPi-i ED,BGD 0.340661 85165.% 51?1,02 79844.23
2018-1242 Sel| Mobiqul'ty Technologies. lno. MOBCI 75,000 0_15266? 11450.03 1125.15 10098.87
2018-12-14 Sell Mobiqu§ty Technologies, lnc. MOBQ 1E,DDD 0.'161 5Il 2585.01 415.83 1943.1 8
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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 142 of 195 Page |D #:142

 

Exhibit 4

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 143 of 195 Page |D #:143

 

 

 

 

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 144 of 195 Page |D #:144

 

Exhibit 5

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 145 of 195 Page |D #:145

Security Fosition Repam: Weekiv Subsr.npt|un Rapor£
The Bepusitorv Tmst Company

Week|v Security Posl£lon Report

Da!|y Ch:s|ng Balances

Far Week Endlr\g Dl/leZDlB

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 146 of 195 Page |D #:146

 

Exhibit 5.1

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 147 of 195 Page |D #:147

GOPHER PROTOCOL INC - CUS\P 38268\/103

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 148 of 195 Page |D #:148

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Exhibit 6

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 150 of 195 Page |D #:150

 

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 151 of 195 Page |D #:151

 

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 152 of 195 Page |D #:152

 

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Exhibit 6,1

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 154 of 195

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Page |D #:154

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Exhibit 7

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 157 of 195 Page |D #:157

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Jannary 21, 2019

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and USPS Intemair'onal Mai?

RAINIER AG

Swiss Asset Management

cio Greg Mancuso

Nengasse. l 5

CH~GBOI

an, Switzerland

Re: Consul Grouo RE 2021, SRL Cl`lie “Con:ioanv”`).. Account No. PROOl?lBS (the

“'Account’j }; Notice of Termination of the Brokerage Account Ag;eeinent and the
Account

Deaz‘ Mr. Mancuso;

This office represents Con.sul Group RB 2021 S.R.L,, Maorieio Lara Ramos (Manager,
and Primary Benelicial Holder), Gopher Protocol, Inc. audits affiliate consldtants.

As the result of your finn’ s misconduct the Company noticed you regarding the closing
of its account with you. You ignored the notice of closing and instead illegally held onto "the
assets in the account You are not authorized to ndthhold any funds or Stock or delay the
transfer in any way. You will be held fully responsible for any delay and furdaer damages
incurred if you fail to transfer all funds and stock held in the Account immediately as requested

The misconduct of your inn extends to its authorized representatives and if and When the
Company institutes litigation in the States the representaiives will also be named in any
appropriate litigation

This letter will serve ss the second notice that pinsuant to paragraph 24 of the Brokerage
Account Agreernent (the “Agreernent”) for the Account, the Account l':lolder add the Bene:fic'isry
of the Account hereby terminate the Account and Agreement oath immediate eH`ect. Thereforc,
you are instructed to transfer all of the funds to the Company account as instructed by Mr.
Ramos in \)vi'iting;l the GOPH shares in the account shall be sent via DWAC to Empire Stock
'l`rsnsi`er, lnc., 1359 Wliitncy Mesa Dr, Henderson, NV 89_014; GOPH’s transfer agent; and the

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 158 of 195 Page |D #:158

L,AW GFF‘|Cl-.'.E OF
RQEERT M. YA$PAN

RAINIER AG

Swiss Asset Management
Page 2 of 2
January21,2019 -

 

MonQ aims shall be sent va nwac o continental stock named a nasa inc., 17 casey
Place, St`n Floor, New York, NY 10004, MOBQ’s transfer agent

Thanlc you for your anticipated prompt attention to this matter. f arn available for your
call. Please dc not contact the Company directiy; all comments and communications should be
directed to this onice.

Sinc Y yours,

MW/%WW
Robert M. Ysspan

simms ~ omni formal mesa dates 1716/2019

cc:_ .Tarnes Rogers, Regulatory Analyst
HN‘RA - O’dice of Fraud Deteciion and Market Inteiligence
15200 Cmega Drive, Soite 210
Rockville, MD 20850
Gop'her_ Protoool, Inc.

Mitchell Tavera '{Chief of Poiice_, 'Ret.)

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 159 of 195 Page |D #:159

 

Exhibit 8

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 160 of 195 Page |D #:160

 

 
  
  

   
  

   

 

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ofhc§ai search cfa FBN, please click here.

FBN Number: 2017~0001472
Business Address : MONTECHO, CA 93108
Filed : 5/16/2017
Commencement bates :
Expiration Date : 5/16/2022
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Business Name[s): Registrant Name(s}:
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The GYficial Si|e cf 1|\e Santa Barbara County‘a Clerk»Recorder, Assessor and Eleollons Departrr\ors. Oopyrigm®ZOm Com',ty of Santa Barbara A!| rights reserved.
`B\e data provided on !hls site ls for information purposes only and should nol be used as the audiorkasive record; please contact the Asseesor‘s o§flcc if you have any questions or concerns
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Exhibit 9

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 162 of 195 Page |D #:162

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FBN Numher : 2015-0062543 _
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Exhibit 10

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 164 of 195 Page |D #:164

2!12!2019 EZBENEFH'SMAPPING EZBANC - Fiorida business directory.
EZBANC CORP
Miami, FL ' Beverly Hiiis, CA j
Statu$:
_ lnactive

§naciive reason:
Adm§n D|sso¥ution f-'or Armuai Repo:t

Registratic)n:
May 24, 2004

§ Inac.€:ive Since;
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AddresSc-:s;
1521 Alton Rd 202, Miam| Beach, FL 33139 (Physicai)

: 468 N Camden Dr Ste 260, Bever¥y Hi¥is, CA 96210 (Physical)
1521 Afton Rd, Miami, FL 33139

State iD:
PD4000081891

" Bus§ness type:
F¥or§da Proflt Corporation

Members (6}: -
Kushkhov, Oleg |V|r, 1521 Alt<;m Rd. #202, Miami Beach, FL 33139 (Physicai}
Michaei Guss {Presidant, President, Director, inactive}
Nury Santiago (Preslc§ant. Directcr, \f!ce President inac€;!ve)
v Oieg M. Kushkhov (Presldent, Director, \J"\ce Presideni, inact?ve]
Ajene Odetuga {Director, \f!<:e Pfesident, §naciiva)

   

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Sep 16. 2095

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Aii R Hakimian {Pr@sidem\ inact'r\se), 3830 He!&ow Crossing Dr., Orlando, FE_ 32817 (Phys§c:a\)

Agent:
Ali Hai<im§an
3839 Ho!§:)w C=*cssing Dr.. Orlandc. FL 32817 (Physical)

 

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9300 South Di):ie Highway Suite 203, Miami, Fl. 33156

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Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 165 of 195 Page |D #:165

 

Exhibit 11

Case 2:19-cV-01254-.]AK-E Document 1 Filed 02/20/19 Page 166 of 195 Page |D #:166

2018 FLOR:DA PROFET CORPORATION RE\NSTATEMENT F}LED
DOCU|VEENT# P04000081891 May 04, 2018

. Secretary of State
Entl Name: EZBANC CORP.

tv 0R7912480380
Current Principal P|ace of Business:
1187 COAST V|LLAGE RD
PMB 1»465

MONTEC|TO, CA 93108

Current Mailing Address:

1187 COAST ViL,LAGE RD
PN|B 1-465
MONTEC|TO, CA 93108 US

 

;;-1=

FE! Number: 20~115?423 Certificate of Status Desired: No
Name and Address of Current Registered Agent:

EMBLES F|NANC[AL, iNC.
1187 COAST VJE_LAGE RD
PMB 1-465

MONTEC|TO, FL 93108 US

The above named entity submits this statement for the purpose atchang;‘ng tts registered oitce or registered agent or both, in the State of Fton`da.

SJGNATURE: GREGORY MANCUSO 05/04/2018
Electronic S'zgnature of Reg`rstered Agent Date

 

Officer!Director Detail :

`I“itte PRES{DENT

Name GUSS, MtCHAEL MR.

Address 1187 COAST VtLLAGE RD
PMB 1~465

City-Siate~Zip: MONTECITO CA 93108

E hereby csatt§) that the Intcnnatton indicated an this report orsupptemenrat report ts true and accurate and that my electronic signature shaft have the some tagst effect as itmads under
oath: that 1 am an officer or dlretttar ofthe cumulation or fha receiver ortrustee empowered to execute this report as requtred by Chapter 607, Ftortda Stawtes; and that my name appos:s

above, aron an attachmeznt with att other tike empowered
S|GNATURE: M!CHAEL GUSS PRES}DENT 95/94)'2013
Electronic Signature of Sign|ng OFEcerlDtrector Detail Date

 

 

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Exhibit 12

Case 2:19-cV-01254-.]AK-E Document 1 Filed O2/20/19 Page 168 of 195 Page |D #:168

BHFORE THE NA'I'lONAL AD}UDICATORY COUNCIL

NASD

 

111 1116 Mattcr Of DECISION 1 '
Dcpartmcnt of Enforccment, Complaint No. C06040027
Complainant, Dated: Fcbruaxy 12, 2007

VS.

Sterling Scott Lcc
Austin, Tcxas,

Dcnnis Todd Lloyd Gordon ;
Roscnberg, Tcxas, §

 

Rcspondents.

chistercd principals and senior officers of member firm permitted

unregistered individual to function as a principal of the iirm, failed to
maintain the accuracy of the iirm’s membership application, charged §
retail customers fraudulently excessive markups, and failed to
disclose the markups on customer coniirmations. Ll_cj__d, findings

affirmed and sanctions modified

Appcarances

For the Complainant: Karen E. Whital»;cr, Bsq., and Lco F. Orcnstcin, Esq., NASD Dcpartmcnt
of Enforccmcnt.

For the Respondcnts: loci A. Gordon, Esq.

DECISION

Pursua:ot to NASD Prcccdural Rulc 9311, Sterljng Scott Lcc (“Lcc”) and Dcnnis Todd
Lloyd Gordon (“Gordoo”) appeal a Hearing Pancl’s December 29, 2005 decision finding that the
respondents permitted an unregistered individual to function as a principal of member firm lloyd
Scctt and Valcnti, Ltd. (“LSVL” , failed to maintain the accuracy of LSVL’§ membership
application, and charged retail customers daudulently excessch marpr that were not disclosed
on the conirmations that the customch received The Hcaring Pa.ncl barred Lcc and Gcrdon in
all capacities for permitting an um'cgistcrcd, statutorily disqualified individual to hanction as a
principal of LSVL. In light of the bar, thc Hcaring Pancl imposed no additional sanction for

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respondents’ fi'audulently excessive maricops, but ordered respondents to pay restitution to LSVL
customers of $22,657 for their markup violations The Hearing Panel also assessed costs of
$2,779. After a thorough review of the record, we affirm the Hcaring Panel’s findings and
modify sanctions

I. Bac ound

 

Gordon entered the securities industry in April 1988 and became associated With LSVL §1
in February 2000. lu 1999, Gordon became acquainted with an unregistered individual Who Was
known by several names, including Michael Guss and Michael Syroejine (hereinafter referred to
as “Guss”). At that time, Gordon was associated with several member firms as a financial and
operations principal (“FINOP”). Guss Was never registered inthe securities industry Lee
entered the securities industry in lanuary 1989. In May 2000, Lee joined LSVL.

ll. Procedurai Histog

NASD’s Department of Enforcement {“Enforcement”) filed the complaint in this matter
in August 2004. A complaint from a former employee of LSVL triggered Enforcement’s
investigation of Guss’s association With LSVL.

Cause one of the complaint alleged and the Hearing Panel found that, between February
2000 and May 2003, Lee and Gordon permitted Gnss to function as a principal of LSVL when
he Was not properly registered and Was statutorily disqualified from the industry The I-Ieaiing
Panel found that Lee and Gordon allowed Guss to: establish LSVL’s policies and procedures,
recruit registered representatives for LSVL, negotiate clearing agreernents, resolve disputes With
LSVL’s clearmg fnms, negotiate Offtce of Supervisory lurisdiction (“OS]”) agreements _
determine branch office operations, and represent LSVL to issuers on the subject of
underwritings. The complaint alleged and the Hearing Panel further found that, during the same
period, Gordon and Lee filed 29 amendments to LSVL’s Uniforrn Application for Broker~l)ealer
Registration (“Form B ”), but failed to disclose Guss’s involvement with LSVL. The Hearing
Panel concluded that Gordon and Lee’s conduct violated Membership and Registration Rule
1021, Conduct Rule 2110, and Articie lV, Section 1 and Article V, Section l ofNASD’s By-
Laws.

Cause two alleged and the Hearing Panei found that, front luna through August 2002,
Lee and Gordon executed 31 riskless principal trades in Pacific CMA, Inc. (“PCCM”) stock iu
which they charged LSVL’s retail customers fraudulently excessive markups of 12.9% to
54.55%. The complaint alleged and the Hearing Panel also found that Lee and Gordon failed to
ensure that the markups were disclosed on customer confirmations The l-Icaring Panel found
that Lee and Gordon violated Conduct Rules 2110, 2120, 2230, and 2440, IM~2440, Section
lO(b) of theISecurlties Exchange Act of 1934 (“Exchange Act”), and Exchange Act Rules 10b-5
and 1 Ob~l 0 .

 

1 Enf`orcement also named LSVL and Guss as respondents LSVL and Guss settled the
matter; NASD censored and fined LSVL and Guss and ordered that they pay restitution to
injured customers Guss also agreed to a bar in all capacities, and LSVL agreed to undertake an

[Footnote continued on next pagel

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A. Guss’s Association with LSVL

Guss immigrated to the United States in 1991 from the fenner Soviet Union. fn 1999,

Guss advised Gordon that Blena Sordia (“Sordia”), a lawyer and business associate of his in
Russia, Was interested in investing in a broker-dealer in the United States and that she had §i
granted Guss legal authority to conduct her business affairs in the United States. Gordon alerted
Guss that the owner of member firm Lauren Capital Was interested in selling his ownership of
the finn Sordia formed a holding company, Devonshirc Forte, Ltd. (“Devonshire”), purchased
Lauren Capital, and after receiving NASD approval of the pnrchase, remarried the firm LSVL.
During all times relevant to- the complaint, LSVL operated as a $5,000 broker»dealer.2 y

 

Gordon assisted Gnss and Sordia in securing NASD approval of Sordia’s purchase of
Lauren Capital. fn February 2000, Gordon became a principal of LSVL and assumed the
positions of Chairrnan and Chiet` Executive Ofticer. He also acquired a minority interest (20%)
in Devonshire and a position on Devonshire’s Board of Directors. ‘

Gordon recruited Lee to join LSVL. In May 200(}, Lee became a principal of LSVL and
the iirm’s President and Chief Compliance Oi:`ticer. Lee also acquired a minority ownership
interest (20%) in Devonshjre and served on Devonshire’s Board.

ln 1999, Guss, who held no formal position With Devonshire or LSVL, recruited
registered person lefErey Chicola (“Chicola”) to join LSVL and open a branch office inNew
York. Guss led Chicola to understand that he (Chicola) would become President of LSVL, §
Sordia would infuse cash into the New York branch that Chicola would operate, and Chicola j
Wculd acquire an ownership interest in Devonshire. Chicoia’s departure from his prior
empioyer, however, Was delayed, and Chicola was unable to join LSVL until June 2000. By that
time, Lee had already assumed the position of President In February 2001, Chicola resigned
nom LSVL.

 

§cont’d}
ownership change, but instead Withdrew its registration Neither paid restitution to the firm’s
injured customers

2 Exchange Act Rule 15 c3-1 establishes the requirement that broker~dealers maintain a

certain ratio of indebtedness to liquid capitai. Pnrsuant to Rule lScB-l(a)(§l)(vi), a broker-dealer
that does not receive or hold customer funds or securities and does not carry accounts of or for
customers shall maintain a minimum net capital of $5,000. LSVL was in this category of
broker-dealers

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hr May 2002, Envision Ventures, Inc. (“Envision”) acquired LSVL from Devonshire.
Guss’s spouse, Kathia Santiago (“Santiago”), was the majority owner (60%) of li‘lnvision.3
Gordon and Lec were minority owners (20% each) of Envision. Santiago was a former fashion
model and had no experience in the securities industry According to the membership
continuance applications that Gordon iiled with NASD on behalf of LSVL, Santiago intended to
have no direct involvement in the affairs of LSVL, Guss acted as Santiago’s representative with
respect to her ownership of Envision_, although Guss was not listed on LSVL’s Form BD. ;.-..

 

LSVL executed a management agreement, first with Devonshire and then with Envision,
pursuant to which the holding company (Devonshire or Envision) covered all of LSVL’s
operating expenses and assumed LSVL’s liabilities in exchange for LSVL’s payment of a
monthly “rnanagement fee” (due on the 15th of each month). ln the management agreement,
Devonshire/Envision agreed that, if any parent company invoice were to place LSVL into net
capital dehciency, the parent company would permanently waive the debt. Sordia (Devonshire)
or Santiago (Envision} infused cash into LSVL as necessary to enable the firm to continue
operations Although the parent companies never forgave a monthly liability that LS`VL owed to
them, Lee and Gordon testified that LSVL never succeeded in generating significant proBts
above its costs

All of the individuals associated with LSVL, including those who Were registered to
conduct LSVL’s securities business, were employed and compensated by the holding company
(Devonsbjre or Envision} and “assigned” by the holding company to work at LSVL. Lee ran the
day-to~day operations of LSVL in the iirrn’s main office in Texas. Gordon worked from his
horne in Texas. LSVL intended to grow by acquiring other broker~dealer firms throughout the
country and transforming them into a series of LSVL OSIs. Gnss was particularly interested in
developing OSJs in New York and Florida, where he resided

Between May 2000 and February 2003 (the period of the registration violation alleged in
the complaint), Guss was disqualified from registration in the securities industry as a result of a "
1996 felony conviction4 Gordon and Lee claim to have been unaware of Guss’s statutory l
disqualification or his underlying felony conviction They were aware, however, that Guss
refused to register with NASD, he did not want to hold an ownership interest in LSVL or its
holding company, and he was not identified on LSVL’s Fonn BD as a person who controls
LSVL’s management or policies5

 

3 Lee and Gordon resigned their positions on Devonshire’s Board in 1rlel)ruary 2002 over

concerns that Guss and Sordia had been conducting other undisclosed businesses through
Devonshire.

 

4 ln 1996, Guss pled guilty and was convicted in the United States of money laundering

Guss cooperated with federal prosecutors and testified against members of a Russian organized
crime group in exchange for avoiding jail time_ As a result of the 1996 conviction, Guss was
disqualified from registration See Article lll, Section 4(g) ofNASD’s By-Laws.

5 Guss did not testify at the Hearing Panel hearing in this matter. On lone 9, 2003, he
testified on the record before NASD staff that, in 2000 or 2001, he advised Lee and Gordon of

[Footnote continued on next page]

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B. LSVL’s Markups in Rctail Sales of PCCM

ln 2001, Gordon established an account at LSVL’s clearing firm to conduct riskless
principal trading LSVL was not a market maker, but Gordon wanted LSVL “to do as much
principal cross-trading as possible (which allows {LSVL] to make a profit as if [it] were a market
maker).” LSVL’s clearing firm was not immediately amenable to establishing the account, and
Gordon represented to the clearing firm that he had “oleared” the type of account with NASD.

Gordon testified that he opened the account at the request of LSVL representative W'I`.
WT identified large shareholders of Bulletin Board securities who were interested in selling all
or part of their positions Once WT identified a willing seller, he submitted the issuer name to
Lee for approval lf approved, Lee added the issuer to LSVL’s approved product list WT then
searched out purchasers of the securities The buyers and sellers next opened accounts at LSVL,
and W”l_` matched purchases and sales and executed riskless principal transactions through
LSVL’s rislrlcss principal trading account

For all trades that LSVL executed in the risldess principal trading account, LSVL bought
at the bid and sold at the ask and retained the spread as compensation Respondents contend that 5
locating purchasers for these rislrless principal transactions required significant time and energy
and that LSVL was entitled to keep the spread as compensation for the additional work required
for these types of sales.6

Only lee and Gordon possessed authority to execute trades in LSVL’s riskless principal
trading account In fact, Lee executed all of the trades at issue in this case.

 

[cont’d]

his criminal conviction Lee and Gordon denied that Guss had advised them of his conviction
prior to NAS})’s commencement of its investigation in this matter. The Hearing Panel
concluded that Lee and Gordon either knew or should have known that Guss was a convicted
felon and therefore statutorily disqualified from the securities industry. The only evidence in the
record that Guss informed Lee and Gordon of his conviction is Guss’s on~the-record testimony
Lee and Gordon’s testimony contradict Guss on this point, and no other record evidence supports
Guss’s version of cvents- Although we concur that the record supports the Hearing Panel’s
findings of violation and that Guss was in fact statutorily disqualified we are not convinced that
Lee and Gordon knew or should have known of Guss’s criminal conviction lndeed, the record
reflects that Guss agreed not to publicize his cooperation with federal authorities and that he
changed his name several times to conceal his identity Based on the record, we do not conclude
that Lee and Gordon knew or should have known of Guss’s statutory disqualification

 

6 On these trades, LSVL paid 75% of the commissions to the registered representative and

kept 25% as compensation for the firm.

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In April 2002, WT recommended PCCM as a candidate for trading in LSVL’s riskless
principal trading accoun? nom runs s through Augusi 30, 2002, 1a sr transaction stL
purchased PCCM from customer CYC at the inside bid, charged a commission of approximately
5%, and sold the PCCM stock to another customer at the inside offer. LSVL retained the spread
in each trade as con;q)ensationJ resulting in markups ranging from 12.9% to 54.55%, Which
LSVL did not disclose on customer conlirmations. LSVL Was responsible for a substantial
percentage of the trading volume in PCCM during the three-month period at issue
(approxirnately 82% in lune, 80% in luly, and 90% in August). -§

 

 

IV. Discnssion '

After a thorough review of the record, we affirm the Hearing Pancl’s findings of violation
and hold that Lee and Gordon violated Memhership and Registration Rule 102l, Conduct Rules
2110, 2120, 2230, and 2440, IM-2440, Article IV, Section l and Articie V, Scction l ofNASD’s
By-Laws, Section lO(b) of the Exchange Act, and Exchange Act Rules 10b~5 and 10b-10.

A. Registration Violations
1. Lee and Gordon Permitted Guss to Act as a Princinal of LSVL Without Principai =
Registration. t

Under cause one, We find that Gordon and Lee allowed Guss, a statutorily disqualified
individual, to flmction as an unregistered principal of LSVL over a period of approximately three
years

Articie V, Scction l ofNASD’s By-Laws states that no member shall permit a person to
associate with the member to engage in the investment banking or securities business of the

 

7 The record suggests that WT learned of PCCM from Giss and that Guss and PCCM had
agreed that Devonshire/Envision Would conduct a “corporate sponsorship campaign” for PCCM.
Through Devonshirc/Envison, Guss operated a “corporate sponsorship” program whereby
Devonshire/'Envision contracted With issuers to increase investor awareness of the issuers. Guss
attached to a November 2001 email to Gordon and Lee a “generic template” for the contract
between Devonshire and issuers. According to the templatc, Guss agreed to publish the issuer’s
corporate profile on LSVL’s Wehsite and promised to deliver the holding company’s “best effort
to drive no less than five mi]]ion investors from its own opt-in database and redirect traffic from
major financial Websitcs to the LSVL’s Website ...” Additionaily, Guss promised that
Devonshjre Worle provide copies of the issuer’s corporate profile or research report and sales
leads to a network of brokers, including LSVL representatives and “encourage” them to solicit
customers to buy the issuer’s stock Guss also offered to provide representatives who contacted
LSVL via BrokerHunter.eom the email addresses of potential investors Who registered with
LSVL on its Web site. Guss referred to these email addresses as “frce pre-qualified leads,”
Although PCCM deposited shares of its stock into Guss’s account at LSVL as payment for the
program, Lee testified that Guss never actually conducted a corporate sponsorship program for
PCCM.

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member unless the person has satisfied NASD’s qualification requirements and is not subject to
disqualification8 Membership and Registration Rule 1021 states that all persons engaged or to
be engaged in the investment banking or securities business of a member who are to function as
principals shall be registered as such with NASD. Rule 1021 defines principal as a person
associated with a member who is actively engaged in the management of the membcr’s
investment banking or securities business, mcluding supervision, solicitation conduct of
business or the training of persons associated with a member for any of these functions9 NASD
IM- 1000-3 states that the failure of any member to register an employee Who should be so a
registered may be conduct inconsistent with just and equitable principles of trade and therefore a
violation of Rule 2110. Thus, to sustain the Hearing Panel’s findings of violation We must find _
that Guss: (l) Was an associated person of LSVL; and (2) actively engaged in the management of "
LSVL’s investment banking or securities business (inclnding supervision, solicitation, conduct

of business or training).

 

Lee and Gorden contend that Guss managed Devonshire and Envision only insofar as he
Was protecting Sordia’s investment in I)evonshire10 and Santiago’s investment in Envision, but
that he did not participate in the management and operation of LSVL. They state that, When he
Would inadvertently exceed his authority at LSVL, Lee and Gordon Would remind him to curtail ~
his activities They contend that Guss had administrative responsibilities only at LSVL and that
he Was LSVL’s “Webmaster.” “A registration determination{, however,] does not depend on the j
individual’s title, but rather on the functions that he or she performs.” NASD Non`ce to Mem.bars
99~49 (.Tune 1999), 1999 NASD LEXlS 24, at *4.“ The record paints a different picture of
Guss’s activities at LSVL.

The record contains myriad cmails among Guss, Lee and Gordon. ln several, Lee or
Gordon chastises Guss for overstepping his bounds and inserting himself into the management
and operations of LSVL. Other emai]s, however, suggest that Lee and Gordon actively sought

 

8 NASD Rule 115 states that persons associated with a member shall have the same duties

and obligations as members under NASD’s rules

9 Article I, Section (dd) of NASD’s By~Laws defines “person associated With a member”

to include a sole proprietor, partner, oflicer, director, or branch manager cfa member, or other
natural person occupying a similar status or performing a similar function, or a natural person
engaged in the investment banking or securities business who is directly or indirectly controlling
or controlled by a member.

w Guss testi§ed on the record that, although Sordia did not compensate him for
representing her business interests in the United States, he nonetheless Was Wil.ling to devote
significant amounts of time and energy to developing the profitability of Sordia’s investment in

Devonshire because he owed Sordia money for unpaid legal fees.

11 See also Dist. Bus. Conducr Comm. v. American Nat’l Equities, Inc., Complaint No. LA-
4323, 1991 NASD Discip. LEX[S 86, at *20 (NBCC Nov, 25, 1991) (holding that the dennition
of “principal” is not limited to those who are involved in day-to-day management of broker-

dealer).

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Guss’s permission and advice on matters related to LSVL’s securities and investment business
In fact, Lee and Gordon clearly considered Guss to be their boss. See Gordon Kerr, 54 S.E.C.
930, 935 (2000) (holding that, to determine necessity for principal registration SEC looks at
“responsibilities assigned to the associated person by the inn and at the activities the individual
actually performed”). In a December 2001 email from Gordon to Lee, Gordon writes:

You are an employee of LSVL which is owned by [Devonshire] . . . 1 too am an
employee, even if 1 am not paid We both have bosses . . . As [Sordia’s] proxy,
we both report to [Guss}. He is our boss and yes, 1 am yours ...12

Gordon and Lee considered Guss to be an owner of LSVL and treated him accordingly13
lu October 2002, Gordon issued an email to the staff of LSVL’s Austin, Texas office in which he
stated unequivocally that Guss should be treated as their “superior.”“ In a Iune 2001 series of
emails in which Guss encouraged Gordon to devote more time to his LSVL duties and delineated
the amount of time that he (Guss} devoted to LSVL, Gordon responded: “lfl owned half the firm
1 arn sure my priorities would be dift"erent.” Lee testified before the Hearing Panel that Guss
“represeuted the shareholders He was a conduit for [Sordia} and a conduit for his wife
[Santiago], and so we respected that.”

Lee and Gcrdon endowed Guss with the authority of a plincipal and owner of LSVL.
Additionally, Guss’s individual actions support our finding that he was a principal of LSVL. As
indicated below, Guss engaged in managerial activities relating to nearly every aspect of LSVL’s
business

a. Guss Participated in Personnel Decisions, including the lining and Firing
of LSVL Staff.

Lee and Gordon claim that Guss’s participation in LSVL’s personnel matters Was limited
to identifying potential hires from BrokerHunter.com, an lnternet resume~posting service for
brokers But emails to and from Guss demonstrate a deeper involvement in personnel issues.
They show that he exerted management prerogatives beyond an administrative role by deciding
compensation issues and making hiring and firing decisions, conduct that suggests that Guss was
acting as a principal of LSVL. Cf Douglas Conrad_Blcck, 51 S.E.C. 791, 794 (1993) (iinding
that an individual engaged in the supervision of another member of the firm should be registered

 

n Although Lee took issue in his response With Gordon’s claim that he (Gordon) was Lee’s

superior, Lee did not dispute that Guss was his boss.

13 ln an email exchange in March 2002, Guss described himselfas being at respondents’

“complete mercy” because they could destroy his broker~dealer investment by placing “one
phone call to {their] buddies at NASD."

34 In the same email, Gordon also directed staff to follow Guss’s instructions “Without fail.”
Gordon also stated in the email that “[Guss] will not provide . . . instructions related to speciiic
securities, securities related issues, or brokerage related instructions.”

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as a principal); Kirk A. Knapp, 50 S.E.C. 858, 861 (1992) (holding that conduct that included
hiring a salesperson for the finn resulted in Knapp’s violation of a principal bar).

In a lanuary 2002 entail exchange on which Gordon was copiedq Lee tells Guss that he
received a call from CM, a broker who, after talking with Guss, decided to join LSVL. Lee
continues: “Anytbing I should/need to know?” On lanuary 18, Guss replies:

Please get him registered (with pre-hire dated (sic} of 1115/2002). He will come
on board in a couple of weeks and will start an OS.T here in FL. He is a high-
growth prospect and we will support him in several ways for a test period of time
in a hope that he could add a lot of production

Later, in another Ianuary 2002 email, Guss directs Lee to “proceed full speed ahead with
registration for [CM].” Similarly, in a December 2002 email to Gordon on which Lee was
copied, Guss writes:

What would it take to set LSVL up to be a commodities dealer? I am
interviewing a broker tomorrow who comes from [MS] and would like to deal in
commodities Please advise ASAP.

Two weeks later, Gordon inquired of Guss as to the status of the MS hire.15

The record also is replete with examples of Guss’s control of LSVL salaries Both
Gordon and Lee sought salary increases from Guss. ln a November 2001 email to Guss that was
copied to Gordon, Lee complains: “I arn currently way undervalued in my position las LSVL
President]. An additional 30k would help bring rne a bit closer to being fairly valued, butl
would still be grossly under-compensated for the work l perform.” ln a .lune 2001 series of
emails, Guss supports awarding VV, an administrative assistant at LSVL, with a saiary increase
In a Septernber 2002 email, Gnss advises Gordon and Lee that the holding company would
withhold a certain dollar amount from the pay of a member of LSVL staff who had made an
error that caused a trading loss.

Everyone at LSVL, horn Lee, the President, down to VV, an administrative assistant,
perceived that Guss was his or her hoss. In a lanuary 2002 email to VV, Lee refers to Guss as
the “powers that be” and states that Gnss had the “power to tell {Lee} to tire peopie.” ln a

 

is Guss also established LSVL policy regarding the timing of the iirm’s hiring of registered

representatives la a January 2002 email, he directed Lee to backdate hire dates He states'.

Ifyou can, all the new hires as long as reasonably possible should go in for the
pre-hire as well as NASD?U¢L (sic) purposes as of if 16 or before lt will take
some time to iigure out with BH. [CM] will he let to work out of the ofdce lent
to me in Ft. Lauderdale and we Will pick up some of his expenses (still in
negotiation). Test period is 3 months and he has to show at least $i 51< worth of
production

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lanuary 2003 email from Guss to Lee and Gordon, Gnss requests that CH, a member of LSVL
staff, be requested to resign Guss w1ites:

Please ask her to resign effective immediately (if the payments for the brokers for
the month of November have all been settled). l would like to hear your
suggestions as regards an interim bookkeeping solution for LSVL. l can get us an
outsourced bookkeeper (witb a FINOP license) at once. Please place an ad for a
ser[ies] 7/24 licensed employee New employee has to take up all the licensed
functions that were spread between [C`l~l] and [G}. l will take up as much (sic)
unlicensed duties that can he carried out in a long-distance mode as necessary in
the meantime

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One day later, Guss sent Lee and Gordon an email containing a draft letter terminating CH’s '
employment at LSVL and bearing Santiagc’s name.16

b. Guss Negoiiated OSJ Agreements and Bstablished OSJs for LSVL.

Guss impliedly represented to potential new hires that he was a principal of LSVL and
negotiated OS] agreements on behalf ofLSVL. See Dz‘st. Bus. Conducr Comm. v. Bmce L.
Pecaro, Complaint No. C8A960029, 1998 NASD Discip. LEXIS 13, at *20 (NBCC lan. 7,
1998) (holding that an individual who held himself out in “a manner that would lead an objective
observer to infer that he was intimately involved” as a principal in the Hrrn’s securities business
must register as a principal). Gnss endeavored to acquire existing firms to establish LSVL OSJs
in New York, California, and Florida. ln September 2002, Guss states in an email to Lee and
Gordon:

The negotiations here in PL are in the final stage Attached is the draft of the OSl
agreement lronically, at this stage, one of the managers of fRB] who has (sic)
originally recruited the crew in question for his fmn, is talking to me as follows
lfwe manage to steal this crew from [RB] (talk about loyalty to the bank~owned
iinn), he would resign from there himself and switch with his 12 brokers and
$22M under management to LSVL.

ln Februa:ry 2003, Guss copied Lee and Gordon on an email that he sent to the owner of an
existing nmi regarding a proposed OSJ agreement with the tirni. Guss states:

 

 

‘6 Guss’s involvement in personnel issues permeated every level of activity at LSVL. ln

January 2003, Guss wrote to Lee: “[AW] in Ft. lauderdale is fired as of today. Please make sure
to call ADP and tell them NOT to bill us $25 for that anymore.” l_,ee’s response that same day
was “Wow . . . she was short-lived l took care of ADP last weelc” Similarly, in February 2003,
Guss directed Lee to “terminate [JB].” Guss continued “l-le called and told me he can’t do much
for LSVL because he really doesn’t have a clue how to start and how to approach things.” Lee
responded “done.”

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Attached is the raw draft of the OSI Agreement . . . My unn, [LSVL] will
upgrade its registration with NASD and will become a market maker etc.,
basically copying all the necessary lines of your current restriction letter so that _:
there is not discontinuation of any of your business ...

Repeatedly, Guss held himself out to individuals outside of LSVL as a person in a
managerial position at the firm

c. Guss Established Policies and Procedures at LSVL.

 

Guss participated significantly in establishing policies and procedures at LSVL and
interacted extensively with LSVL staff, including on issues related to retail clients. ln November §_
2001, Guss emailed to Lee and Gordon LSVL’s “new corporate procedures,” These procedures
covered numerous topicsJ including order-flow compensation, collecting LSVL’s outstanding
debts, and the tirrn’s payout to representatives on house accounts Guss’s November 2001 email
states:

[l]n order to facilitate brokers’ interest in our corporate sponsorship programs one
of the incentives you could give them is participation in the order flow
compensation in order to receive that order flow compensation we would need
two things: a flow of orders and a niend]y market maker.

Similarly, emails nom Guss to Lee and Gordon in February 2002 question why certain
securities were on LSVL’s approved product list and ask which of LSVL’s representatives were
selling those securities In an October 2002 email, Guss directs Lee to release house accounts to
representatives in LSVL’s OSls. In a January 2003 email, Guss chastises Lee and Gordon for
failing to collect a debt owed to LSVL from a former representative of the firm He states: z

l need to get to the bottom of this and therefore this way or another, l would have
to take over the day-to-day supervision of what’s going on in [LSVL‘s main
office’s] accounting . . . We need to create a system that works, and that needs to
be created NOW, before we completely destroy this finn Starting tomorrow l
would have to get access to all the pertinent information and systems and all the
daily accounting and bookkeeping will be done with my direct participation if
not by me personally l expect that changeover to be completed by the end of the
next week.

Guss also entailed the following message to members of LSVL’s administrative staff in
January 2003:

lt has come to our attention that in multiple conversations with the brokers you
are making reference to [clearing flrm} as the excuse for multiple problems and
delays of processing documents . . . For all intents and purposes _ [cleaiing firm]
is OUR back office support subcontractor. Unless completely necessary ~»~ the
reps have no business of knowing what is going on between LSVL and [clear'ing
iirm] . . . please note that from now on you are asked to not refer to [clearing
firm] in any conversations with the reps, unless completely necessary. In addition

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to that, mentioning of [clearing iirrn] as any type of an excuse for any rep-related
problem is expressly prohibited

In the same month, Guss emailed the following to an LSVL representative in the fnm’s Florida
oftice:

_.rlw.,_;."nil ,_,¢..

First of all, now that you have an assistant . . . that we are paying for, l fully F- ~
expect you to train her and use her for all your miscellaneous business needs. lt '
has come to rny attention that you are in What seems to be somewhat excessive
communications with the horne office . . . Second of all, as I mentioned to you,
the printer in the office is for business use only . . . Third of ail, now that you
have agreed to service the house accounts, attendance in the office during market
hours . . . is mandatory . . . and Finally, l Would like to see reporting set up so that
We are reasonably assured that you and [T] are spending time in the office
productiver . . . please submit a brief written summary and breakdown of your
house accounts service

Guss Was involved in every aspect of LSVL’s operations nom miniscule matters, such as
ordering stationery and business cards,17 to major issues, such as agreements as to order flow and ;
directing office policy. Such conduct supports our nndiug that Guss acted as a principal See §
Knapp, 50 S.E.C. at 861 (hoiding that individual Who conducted sales meeting, disseminated z
memoranda to sales staff, and hired sales personnel must register as a principal); Samuel A.
Sardiaia, 46 S.B.C. 337, 343 (1976) (holding that individual Who relinquished titles of director
and officer required principal registration nonetheless because he devoted significant time to the
affairs of the firm and participated in management decisions)-

d. Guss Negotiated Clearing Agreemcnts and Comrnunicated on Behalf of iii"`
LSVL With Clearing Firrns.

Guss regularly communicated on LSVL’s behalf With LSVL’s clearing iinns, implying
that he held a managerial position at LSVL. See L.H. Alton & Co., 53 S.E.C. lllS, 1126 1121
(1999) (flnding that fact that respondent held himself out to be a partner is additional evidence ot`
need for principal registration), aj'd, Alton v. SEC, lied Sec. L. Rep. (CCH) 1§91,021 (9th Cir.
2000). ln December 2002, Guss complained directly to one of LSVL’s clearing firms about
difficulty that LSVL had had attempting to open LSVL accounts for Canadiau customers A gain
in February 2003, Guss corresponded via email directly With LSVL’s clearing firm about
establishing a new clearing arrangement for LSVL. Guss Wrote:

As you may remember a while ago we submitted a proposal of a new clearing
agreement to you. Sorne time ago you Wrote to me promising to get back by the
end of the next week. That was on 2/12/03, i.e. your response Was eagerly

 

17 ln a July 2002 email to Lee and Gordon, Guss established a “policy for reps’ stationary

(sic) orders.” He directed that “NO stationary (sic) orders should be sent to printers unless and
until the proper amounts are credited to [Envision’s} bank account.”

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awaited by 2f21/03. Alrnost a week later there is still no word from you on that
clearing agreement . . .

lndecd, in a March 2003 email, Guss forwarded a clearing agreement that he had negotiated on
behalf of LSVL to Lee and Gordon for their signatures We find that Guss routinely held
himself out to clearing firms as an officer or principal of LS\/L.18

e. Guss Communicated with LSVL Customcrs on Securities-Related Issues.

Guss interacted with some of LSVL’s clients on account-related issues Guss helped a
German client of LSVL open a new account, and he interceded on behalf of a Russian bank that
was an LSVL client to ensure that a trade had been cancelled In a July 2002 email, Guss states
to an administrative person at LSVL:

The customer on [an LSVL on-line trading account] believes that on 07/08 he had
$54,353.38 of equity on his account whereas on 07/09 he had $54,121.38 - less
$232 - on his account According to him he had no activity on his account in
between those two dates . . . Please look into it and reply to the customer directly .
. . land] copy me . . . as soon as possible

Similarly, in Iune 2001, Guss emailed the following to Gordon and Lee'.

lt seems that we should expect our first lon-line trading] account to come nom
Gennany. Please read below and let rne know when this guy’s paperwork arrives.

Guss attached the following email from the proposed customer:

Dear [Guss],

As l don’t have a fan at home, l have send (sic) all necessary documents . . . via
mail {airrnail) to you. l think, the forms will arrive at you (sic) within the next
days.

Guss reviewed LSVL customer account information at will. ln one instance, Guss
interceded to enable a foreign client to trade on margin ln a lanuary 2002 email, Guss wrote to
a member of LSVL’s administrative staff (and copied Lee) as follows:

I really want this client to fund their account first, and then I would casually have
them sign and deliver the updated forms lt is OUR fault that the forms were not

 

18 Guss similarly represented himself to be an official of LSVL to issuers. In a series of

emails in January 2003 between Guss and the representative of an issuer, Guss discussed the
possibility of LSVL being included on the cover of the issuer’s upcoming registration statement
After communicating directly with the issuer, Crnss advised Gordon of the fact and demanded
action “ASAP.”

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up to date on our website and therefore making it too complicated for the

customer that has not funded the account is not cool . , . PLEASE, make sure that

by 02/01 (when most likely their $50K will show in the account) they have

margin privileges . . . it is EXTREMBLY IMPORTANT that by the time the

account has been funded and l am ready to send them the updated Margin

Agreement . . . we also had a THIRD form to send them, i.e- Day Trading 57

Disclosures_ '

 

Lee cautioned Guss that LSVL’s allowing a customer to trade on margin before obtaining the
necessary paperwork could piace the firm at a compliance risk. Guss, however, was nndeterred
by Lee’s warning Guss’s activities on behalf of LSVL clearly crossed over from administrative
duties to developing and maintaining the fn‘m’s client base. See Pecaro, 1998 NASD Discip.
LEXIS l3, at *20 (“[Pecaro’s] admitted entertaining of clients seems to at least cross into
maintaining if not expanding, business clientele. Such interaction gives an appearance of being
involved in developing and maintaining the [flirm’s client base.”).

assess

Guss did little to disguise his de facto management and control of LSVL.19 Numerous
emails contained in the record provide consistent support for our findings and are corroborated
by the testimony of Chicola and two former members of LSVL staff, Cli{ and VV.20 Tahen
together, the evidence demonstrates that Guss was an associated person of LSVL and was
engaged actively in the management of LSVL’s investment banking and securities business and

 

19 ln a March 2002 email, Guss states to Gordon and Lee:

I am really frustrated that my vezyfirst and largest ever investment in a BD
project has not brought me a penny back yet and l risk to be under very soon '
Until recently except for a few grouchy remarks related to spending in Austin you "
have never heard me complain about it. Do you want to know why? Because l

was confident thatl have very reliable and motivated partners in the deal and l

was confident that together we will pull it off this way or another. (Ernphasis

added}.

In other emails, Gnss indicated that, as of lime 2000, he had ceased all of his “revenne-
generating activities” and had dedicated all of his time to LSVL.

20 We have considered that LSVL terminated CH and VV and that both initiated and settled
actions against the linn to recover unpaid overtime pay. While CH and VV’s relationships with 3
LSVL may have potentially provided incentive for them to misconstrue the tradi, we note that

their testimonies were consistent with each other and with the emails contained in evidence VV

denied that she discussed her testimony with CH, and their testimonies regarding business

operations at LSVL were consistent with Chicola’s version of events Furthermore, neither CH

nor VV appear to have been in a position to benefit monetarin from testifying falsely against

respondents

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that Lee and Gordon knowingly permitted Guss to act in a principal capacity without principal
registration

2. Lee and Gordon Failed to Update LSVL’s Fonn BD.

Under cause one, We also find that, by failing to disclose Guss’s association with LSVL
on the iirrn’s membership application (Forrn BD), respondents caused the tirm’s application to
be incomplete and inaccurate Article IV, Section l of NASD’s By~Laws requires member firms
to ensure that membership applications are kept current by the Eling of supplemental
amendments via electronic process. Lee and Gordon admit mat, although they possessed the
authority to and, at times, did amend LSVL’s Forrn BI), they never amended it to reflect that
Guss held an ownership interest in or otherwise participated in the management of LSVL.
Question 9 on the Form BD asks Whetl:ier any person not ideniijied as a direct or indirect owner
controls the management of policies of the applicant LSVL, through Lee and Gordon, answered
“no” and never amended the answer, notwithstanding Gnss’s active involvement in the
management of the linn

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We thus conclude under cause one that Lee and Gordon violated Membership and
Registration Rnle 1021, Condnct Rule 2110, and Article lV, Section 1 and Article V, Section l
ofNASD’S By~Laws.

B. Excessive Mar s

Cause two of the complaint alleged and we iind that Gordon and Lee caused LSVL to
charge fraudulently excessive markups of 12.9% to 54.55% in 31 retail sales of PCCM stoch
between Iune 6 and August 30, 2002, and that LSVL failed to disclose the markups in customer
coniirrnations.

1. Lee and Gordon Charaed LSVL Customers Excessive Marknns.

NASD’s rules obligate NASD member firms to deal fairly With customers Rnle 2440
states that member firms shall buy securities from and sell securities to members of the public at
prices that are fair, taking into consideration all relevant circumstances Generally, markups in
excess of 5 % above the prevailing market price for a security are considered excessive and
unfair ltd-2440 (l\/.[arlr-Up Policy); NASD Notice to Members 92~]6 (Apr. 1992), 1992 NASD
LEXIS 47, a term

We begin our analysis with a determination of the prevailing market price for PCCM
stock at the time of the transactions In cases such as this in Which the member mm is not a

 

21 lsd-2440 states that it is a violation of Rules 2110 and 2440 for a member irm “to enter
into any transaction With a customer in any security at any price not reasonably related to the
current market price . . .”

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market maker in the securities at issue, the price that the Hrm pays (i.e., its cost)
contemporaneously with retail sales is the best indicator of the prevailing market price, 1992
NASD LEX[S 47, at *25; see also Daniel R. Lehl, 51 S.E.C. 1156, l159 (1994) (holding that a
firm that is not a market maker must base its prices on its own contemporaneous cost), ajj”d,
Lehl v. SEC, 90 F.?)d 1483 (10th Cir. 1996); LSCO Sec., Inc., 50 S.E.C. 518, 519 (l991)
(“[W}here a dealer is not a market maker, the best evidence of the current market, absent
countervailing evidence, is the dealer’s contemporaneous cost.”).

Furthermore, it is undisputed that LSVL’s sales of PCCM stock to its customers were
riskless principal transactions and that LSVL executed the trades through its risldess principal
account “A risldess principal transaction occurs when a dealer, after receiving an order to buy
or sell a security from a customer, purchases the security nom another person to offset a
contemporaneous sale to such customer or sells the security to another person to offset a
contemporaneous purchase from such customer.” Strateg'ic Res. Mgmt., Inc, 52 S.E.C. 542, 544
n.8 (1995). “[C]ontemporaneous cost, regardless of countervailing evidence, is the correct basis
for calculating maricopa in a rislrless principal transaction.” R.B. Wel)ster Invs., Inc.J Exchange
Act Rel. No. 35754, 1995 SEC LE`XIS 1309, at *8 n.lS (May 23, 1995). Thus, the appropriate
method for calculating LSV`L’s markups is contemporaneous cost which, in this case, is LSVL’s
purchases from customers

NASD examiner Gene Davis (“Davis”) testified that, for each of the 31 transactions he
matched the riskless principal trades for the sell customers and buy customers12 In every
instance, LSVL paid the selling customer the inside bid price (gcnerally between $.50 and $.65
per share} and charged a commission (Wln`ch generally ranged from approximately 350 to in
excess of $200 per purchase) and simultaneously sold the same stock to another customer at the
inside ask. Davis utilized LSVL’s purchase price as the basis for the prevailing market price and
calculated LSVL’s markups as ranging generally from 13% to 55%, Which We find to be

excessive23

 

22 The 3l transactions in which Gordon and Lee charged LSVL customers excessive

markups are detailed in Exhibit A appended to this decision
23 Enforcement did not account for the commissions that LSVL charged selling customers
in its calculation of markups. Had Enforcement accounted for the commissions the basis for the
computation of prevailing market price would have been less, and LSVL’s markups Would have
been greater. When NASD relies on retail purchases as a basis for calculating markups not
involving risk_less principal transactions NASD may impute a 5% markdown to make the retail
purchase price comparable to the inter-dealer purchase price and calculate the markup based on
the retail purchase price plus 5% (the imputed markdown). Here, respondents’ sales Were
riskless principal trades, and Enforcement did not impute a 5% markdown Euforcement also
did not deduct from the purchase price the commission (which generally equaled or exceeded
5%) that LSVL charged each selling customer. Had Enforcernent deducted the commissions
from LSVL°s cost, LSVL’s markups Would have been greater.

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Lee and Gordon contend that these trades were not standard riskless principal trades and
that, because LSVL had to expend significant time and resources on executing these trades, the
tirrn was entitled to charge markups in excess of 5%. Lee and Gordon failed, however, to
introduce evidence to justify the higher markups that LSVL charged “[l]f a member seeks to
charge its customers more than a 5{%] markup or markdown, it must be fully prepared to justify
its reasons for the higher markup or markdown with adequate documentation.” NASD Notice to
lambert 92-16, 1992 sec Lnxis 47, at *7.2“

 

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2. LSVL’s Markups Were Fraudulent, and Gordon and Lee Acted with Scienter.

“Markups of more than ten percent over the prevailing market price are evidence of
scienter and . . . fraudulent.” A.S. Goldmen & Co., Inc., 55 S-E.C. 147, 153-54 (2001); Adams
Sec., Inc., 51 S.E.C. 311, 315 (1993). Indeed, using unsubstantiated quotations, as respondents
did here, to calculate markups “displays at a minimum reckless indifference to the duty owed to
customers.” FraukL. Palumbo, 52 S.E.C. 467, 478 (1995) (citz'ng Orkiu v. SEC, 31 F.3d 1056,
1065 n. 12 {l lth Cir. 1994)). ~

Lee and Gordon acted recklessly Both testified that LSVL relied exclusively on bid and '
ask quotations in determining the prices charged to customers on the sales of PCCM stock, .
regardless of LSVL’s actual cost. “NASI) and [the] Cornrnission have often cautioned against §
basing prices on quotations Particularly in the case of riskless principal transactions, where the '
trades occur virtually simultaneously with the sale to customers ...” Fz`rst Independeuce Group,
Inc., 51 S.E.C. 662, 665 {1993), afd, F.irst Independence v. S.E.C., 37 F.3d 30 {Zd Cir. 1994).
Furthermore, Lee and Gordon knew that LSVL was not a market maker and not entitled to the
spread With the riskless principal account, they sought to circumvent acceptable pricing
methods and, as Gordon put it, make a proht “as if [LSVL was] a market maker,” We find that
Lee and Gordon acted recklessly when they ignored signi;dcant Commission and NASD t
precedent and based LSVL’s prices on unsubstantiated quotations rather than the flrm’s 5
contemporaneous cost. See Id. at 666 (“Applicants were, at a minimum, reckless in charging
their customers markups based on unsubstantiated ask quotations.”); Sacks' Iav. Co., Inc., 51
S.E.C. 492, 496 (1993) (iinding that respondents were reckless when they charged their
customers markups based on unsubstantiated ask quotations); Adams Sec., Inc,, 51 S.E.C. at 315

 

24 Lee and Gordon argue that the Hearing Panel erred in shifting the burden for producing

countervailing evidence to them rather than requiring Enforcement to investigate potential
countervailing evidence We do not agree The best evidence of the current market, where, as
here, a broker-dealer is not a market maker, is contemporaneous cost. LSCO Sec., Inc., 49
S.E.C. 1126, 1127-1128 (1989). “The burden is on the dealer to establish the contrary.” Id.
(emphasis added). Once Enforcement produced evidence that LSVL’s cost represented the
prevailing market price, the burden shifted to respondents to prove that cost was not a reliable
indicator of the prevailing market See U.S. Sec. Clearing Coi;o,, 52 S.E.C. 92, 99 (1994)

{rej ecting respondents’ argument that, in order to show that the Erm’s markups were excessive
NASD had to present evidence in addition to contemporaneous co st); Charles Michael West, 47
S.E.C. 39, 41-42 (19'79) (holding that burden shifted to Erm to produce countervailing evidence
once NASD established contemporaneous cost).

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(finding that respondents were reckless in rejecting contemporaneous cost as the basis f`or the
firm’s markups).

3. Gordon and Lee Faiied to Ensure that LSVL Disclosed its Markuns on Customer

Confirmations.
NASD Conduct Rule 2230 requires member firms, at the completion of a transaction with 7 f
a customer, to send the customer a written notification disclosing information about the tr

transaction, including the amount of any commission or other remuneration that the member
received from the trade. Exchange Act Rule 10b-10 similarly requires the disclosure to the
customer of the firm’s compensation

Gordon and Lee do not deny that LSVL’s customer confirmations failed to disclose the t
firm’s compensation on the trades at issue They contend that the fault lies with LSVL’s l
clearing firm and that they are not responsible Gordon and Lee, however, were the only two
principals responsible f`or regulatory compliance at LSVL. They received copies of the firm’s
confirmations and, as responsible principals7 should have reviewed them to ensure that they were
complete and accurate Lee and Gordon failed to do so, and they are responsible for the firm’s
omissive confirmations See Dep ’t ofEnforcement v. U.S. Rica Ft'n., Inc., Complaint No.
C01000003, 2003 NASD Discip. LEXIS 24, at *15 (NAC Sept. 9, 2003) (holding principal of`
tirmrespousible for firm’s inaccurate and incomplete customer contirmations).

4. Gordon and Lee Share Responsibilitv for LSVL’s Pricina Violations.

Lee and Gordon share responsibility for LSVL’s excessive markups. Lee and Gordon
were the only two individuals at LSVL with authority to execute trades in the riskless principal
account, and LSVL’s supervisory procedures manual listed them as the firm’s only compliance
principals Lee does not deny responsibility for LSVL’s markups. Indeed, he executed each of
the 31 trades at issue on behalf of LSVL, and he readily admitted the tirm’s policy of buying at
the bid price and selling at the ask price for trades in the riskless principal account

Gordon established LSVL’s risldess principal account and was fannliar With LSVL’s
policy of buying at the bid price and simultaneously selling at the ask price Indeed, in May
2001, Gordon indicated to Lee and Guss in an email that he wanted LSVL to execute as many :__
trades “as possible” in the riskless principal account so that the firm could profit as if it were a
market maker Fuithermore, in order to overcome concerns expressed by LSVL’s clearing firm §
that LSVL was not a market maker when Gordon opened the riskless principal account, Gordon
assured a representative of the clearing firm that he had already cleared the account with NASD.

 

“'l`he securities industry contains many participants - all of whom must perform their
duties properly if` the ultimate goal of fairness to the customer is to be achieved.” Lekl, 51
S.E.C. at 1160; see also Robert Bruce Orkin, 51 S.E.C. 336, 342 (1993) (finding that members of
the securities industry cannot “simply rely on organizational structures or formalistic
arrangements as a means of abdicating their responsibilities” to monitor pricing), aff’d, 31 F.3d
3056 (l ith Cir. 1994). We find that Gordon and Lee share responsibility for LSVL’s
undisclosed, excessive markups.

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We therefore afdrm the Hearing Panel’s findings under cause two that Lee and Gordon
charged LSVL customers undisclosed excessive markups, as indicated on Exhibit A, in
contravention of Conduct Rules 2110, 2120, 2230, and 2440, 1M-2440, Section 10(b) of the
Exchange Act, and Exchange Act Rules 10b-5 and le~lO.

C. Procedural Argu_ments

On appeal, respondents raise three procedural arguments Respondents contend that: (l)
NASD erred in accepting into the record emails from Guss and Guss’s on~the-record testimony;
(2) Enforcement took from respondents during its investigation documents that respondents
needed to defend themselves; and (3) respondents were prejudiced by the Hearing Officer’s ?:'
delay in issuing its decision in this matter. We address each argument in turn.

We End no error in the Hearing Panel’s admitting into the record emails authored by
Guss and Guss’s onpthe~record testimony, both of which are hearsay evidence Hearsay
evidence is admissible in NASD proceedings, but must be evaluated for its probative value and
reliabilityl See Kevin Lee Oito, 54 S.E.C. 847, 854 (2000), a ’d, 253 F.E`»d 960 (7th Cir. 2001).
The factors used to assess the reliability of` hearsay evidence include: possible bias of the
declarant; Whether direct testimony is contradictory; the type of hearsay at issue; whether the
declarant was available to testify; and whether the hearsay is corroborated Id.

Here, Guss’s statements in his on-the-record interview are consistent not only with
emails that he authored, but also with emails that Lee, Gordon and other members of LSVL staff
wrote. 'I'hey also are corroborated by VV and CH’s testimony and by respondents’ own
statements that Guss was their “boss.” Furthermore, Guss had little reason to implicate Lee and
Gordon falsely. Any suggestion in Guss’s testimony that Lee and Gordon violated NASD rules
by allowing him to act as a principal without registration implicates Guss in the same violation
Thus, if Guss were inclined to accuse Gordon and Lee unjustly of registration violations, he also
would be admitting to violations himself Additionally, Lee and Gordon’s direct testimony does
not contradict Guss’s testimony or the statements that Guss made in his emails. Indeed, our
findings'in this case are not based on rejecting Lee and Gordon’s factual claims as to Guss’s
actions and finding Guss’s testimony more credible Rather, our findings are based on our
interpretation in accordance with NASD precedeut, of rules requiring Guss to register. The
parties here differ on the interpretation of what constitutes conduct that requires registration not
on what Guss actually did at LSVL. We therefore reject respondents’ argument See Dep ’t of
Enforcement v, Belden, Complaint No. C05010012, 2002 NASD Discip. LEXIS 12, at *20
(NAC Aug. 13, 2002) (upholding admissibility of` hearsay evidence for which credibility has
been assessed), a]j‘”cI, Wendell D. Beldea, Exchange Act Rel. No. 4?359, 2003 SEC LEXIS 1154
(May l4, 2003); Charles D. Tom, 50 S.E.C. 1142, ll45 (1992) (upholding admissibility of
hearsay evidence that is determined to be reliable).

We also reject respondents’ second procedural argument Respondents contend, for the
first time in their reply brief on appeal, that Enforcement confiscated during its investigation of`
the markup allegations all of the documents that respondents needed to defend themselves
against the markup allegations NASD Rule 9251, however, requires Ent`orcement, during the

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pre-hearing period, to make available for inspection and copying by any respondent documents
prepared or obtained by NASD staff m connection with the investigation that led to the
institution of the proceedings Nothing m the record of this matter, including the transcripts of
the pre-hearing conferences, suggests that respondents were denied the opportunity to inspect
and copy documents contained in NASD’s files During the final pre-hearing conference
conducted on March 18, 2005, counsel for respondents in fact indicated that there were no
additional procedural issues that he intended to raise We therefore reject this argurnent.?°'S

 

We also find no error in the timing of the Hearing Panel’s issuance of the decision in this
matter. Procedural Rule 9268 provides that, within 60 days after the final date allowed for the
filing of proposed findings of fact, conclusions of law, and post-hearing briefs, the Hean`ng
Oft`lcer shall prepare a written decision “f”,[`]he rule addresses the timing of the Hearing ;
Ofticer’s preparation of a decision (whi ch must then be distributed to other members of the t
Hearing Panel), and not the issuance of the decision.” Dauiel Rickard Howard, 55 S.E.C. 1096,
1104 (2002), aff'ci', 77 Fed. Appx. 2 (lst Cir. 2003). There is no evidence that the Hearing
Ofdcer failed to comply with the requirement that she prepare the decision timely The Hearing
Panel hearing occurred on March 29, 30 and 3 l, 2005. Post-hearing briefing ended on May 23,
2005, and the Hearing Panel issued its decision on December 29, 2005.

We reject respondents’ arguments of procedural irregularities and unfairness a
V. Sanctions

The Hearing Panel aggregated respondents’ registration violations for purposes of
sanctions and barred respondents in all capacities for their misconduct under cause one. ln light
of the bar, the Hearing Panel did not suspend or line respondents for their markup violations, but z
ordered that respondents pay restitution to the iirm’s injured customers in the amount of c
$22,65'?.40, plus interest The Hearing Panel also assessed costs We afErm these costs and
sanctions, add a bar for respondents’ daudulently excessive markups, and modify the restitution
order to reflect more accurately respondents’ excessive markups.

For registration violations, NASD’s Sanction Guidelines (“Guideiines”) reconmaend a
fine of $2,500 to $50,000 plus the amount of the respondent’s §nancial gain and a suspension of
up to six months For egregious cases, the Guidelines recommend a suspension of up to two

 

25 Respondents also contend, in a related footnote in their reply brief, that NASI) erred in

failing to make available to testify at the Hearing Panel hearing the registered representatives at
LSVL who sold PCCM stock. Rule 9252 states that a respondent may request that NASD
invoke Rule 8210 to compel the testimony of persons within NASD’s jurisdiction at an NASD
hearing The rule requires that respondents tile such requests no later than 21 days before the
scheduled hearing, describe with specificity the testimony sought, state why the testimony is
material, and describe the respondents’ efforts to obtain the testimony through other means
Respondents did not comply With Rule 9252 and, in fact, did not complain about the absence of
other witnesses until this matter was on appeal to us. We therefore find no error.

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years or a i)ar.26 We concur with the Hearing Panel’s finding that respondents’ misconduct was
egregious T he sanctions we impose therefore are within the range recommended in the
applicable Guideline.

“'I`he requirement that a person . . . register as a principal when actively engaged in a
tirrn’s securities business is an important one . . . [that] assists in the policing of the securities
markets . . . [and] ensures that a person in a position to exercise some degree of control over a
firm has a comprehensive knowledge ot` the securities industry and its related rules and
regulations” Pecaro, 1998 NASD Discip. LEXIS 13, at *22. The Guide]ines for registration
violations recommend that we consider whether the unregistered person had a registration
application pending and the nature and extent of the unregistered person’s responsibilities Here,
Guss did not have a registration application pending Guss did, however, exercise signiiicant
influence and control over all of the activities of LSVL. Lee and Gordon knew or should have
known nom email correspondence alone that Guss was intimately involved in nearly every
aspect of LSVL’s bnsiness, from the mundane ordering of supplies to the tirrn’s negotiations
with clearing firms and potential OSIs. Lee and Gordon themselves went to Guss for advice and
direction on securities-related issucs, personnel decisions, and Hnancial matters They
considered Guss to be their boss and warned other LSVL staff that he could terminate them at "
wili.

 

Respondents’ conduct demonstrates a willingness to evade NASD rules that we find
disturbing Respondents knew that Guss did not want to register with NASD, so they attempted
in their emaiis to couch their language in disclaimers about Guss’s true function at LSVL. By
doing so, they concealed Gnss’s management of a member tirm, circumvented registration
requirements, and hampered NASD’s regulation of the finn and its principals .27

We also have considered that Lee and Gordon enabled Guss to act in a principal capacity
without registration for a period of approximately three years. Finally, although we do not find
that respondents knew or reasonany should have known about Guss’s statutory disqualiiication,
We note that one consequence of their failure to register Guss is that a statutorily disqualified
individual in fact acted as a principal at a member Hrni. This aggravates the severity of
respondents’ misconduct Respondents knew that Guss was assisting in the management of
LSVL and that he was not registered, yet they knowingly ailowed him to continue in that
capacity28

 

 

 

26 NASD sanction Guidelines, is (2006),

h§p: //www.nasd.com/web/g;oup_s/enforcement/documents/enforc ement/nasdw 0 1 1 03 8 . pdf.
27 Respondents furthered their concealment of Guss’s activities by failing to update LSVL’s

Forrn BD accurately to reflect Guss’s involvement in the management of LSVL.

28

 

Respondents argue that we should find mitigating their lack of disciplinary history. We
disagree While the existence of a disciplinary history is an aggravating factor when determining
appropriate sanctions, its absence is not mitigating See, e. g., Dep ’t ofEnforcemenr v. Fergns,
Complaint No. C8A990025, 2001 NASD Discip. LEX[S 3, at * 58-59 (NAC May 17, 2001)
(holding that the absence of disciplinary history is not considered part of “relevant disciplinary
history” under the Guidelines for purposes of reducing sanctions); Dep ’t ofEnforc:ement v.

[Footnote continued on next page}

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Respondents continue to contend that their enabling Guss to act in the capacity in Which
he acted at LSVL was acceptable conductl ln order to disabuse respondents of the notion that
their actions represent an acceptable business practice in the securities industry and to protect the ij
investing public from the recurrence of their misconduct, we impose a bar in ali capacities In :'
our view, a lesser sanction will not sufice to provide adequate protection to the investing publicl

For pricing yiolations, the applicable Guideiine recommends a line of $5,000 to h
$100,000, plus restitution In egregious cases, the Guideline recommends suspending the
responsible individual er barring the individual.” We ana that respondents markup vicarious
Were egregious We bar respondents in all capacities and affirm the Hearing Panel’s restitution
order, but reduce the restitution amount as indicated below30 The sanctions that We impose are 5
within the range recommended in the applicable Guideiine. ?-_

Respondents charged markups in excess of 10% in 31 retail sales over a period of three
months. They stood to benefit from their misconduct because LSVL, Which they indirectly
owned, Wou]d profit from the trades. They recklessly disregarded long-standing precedent and
allowed the firm to keep the spread as compensationj notwithstanding that the i'nrn was not a
market maker and the trades were riskless principal transactions Respondents hether failed to
ensure that the tirrn’s confirmations adequately disclosed the iinn’s remuneration to customers
Coniirmation disclosures “[Work] to protect investors and combat broker-dealer fraud by
ensuring full and fair disclosure to investors . . .” Hcrtl'er, Sanfcrd & Reynoir, 53 S.E.C. 426,
433 n.16 (1998), ajj‘"d, Hattier v. SEC, 163 F-Sd 1356 (Sth Cir. 1998). Lee and Gordon
demonstrated a “marked insensitivity to their obligation to deal fairly with cnstomers” and
caused LSVL’s customers significant financial harm, Frcnk L. Palumbc, 52 S.E.C. 467, 480
(1995). They “recklessly overcharged their cnstomers, even though they had no justification for
basing their prices on. . . quotations_” Id.

 

[cont’d]

Balbirer, Complaint No. C07980011, 1999 NASD Discip. LEXIS 29, at *10-ll (NAC Oct. 18,
1999) (“We are not compelled to reward a respondent because he has acted in the manner in
Which he agreed (and was required) to act When entering this industry . . .”). A respondent
should not he rewarded because he may have previously acted appropriately as a registered
person Indeed, the Commission has consistently rejected arguments that a lack of a disciplinary
record is a factor mitigating the sanction of a bar. See Dam'el D. Mano]j”, 55 S.E.C. 1155, 1165-
66 rl.lS (2002); RonaldH. V. Justiss, 52 S.E.C. 746, 750 (1996).

29 See Guz'delines, at 95,
30 The Hearing Panel found that respondents engaged in serious misconduct by charging
undisclosed fraudulently excessive markups, but did not impose, in light of the bar for
respondents’ registration violations, sanctions other than a restitution order.

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ln the face of overwhelming legal authority that directs non-market makers to calculate
markups based on actual cost, not quotations, and additional case law that indicates that markups
in riskless principal trades must always be calculated based on cost, respondents continue to
contend that they acted appropriately Respondents do not appreciate that LSVL was not entitled
to collect markups of 12.9% to 54.55% from the firm’s customers In our view, a bar is
necessary to protect the investing public and to deter future violations, and a lesser sanction will
not suffice

 

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We affinn the Hearing Panel’s order of restitution, which also is consistent with NASD’s
~‘Fruidelines,31 but reduce the restitution amount to 3220,832.40,3’2 The Hearing Panel ordered that
respondents pay to the firrn’s customers restitution of the flrnl’s markups in excess of 10%, as
indicated on Exhibit A attached hereto. Although we do not agree that markups as high as 10% jj
generally are justified for riskless principal transactions, we have determined to affirm the §
Hearing Panel and order restitution of the Brm’s markups in excess of lG%.33

VI. Conchlsion

We affirm the Hearing Panel’s findings that Lee and Gordon violated Membership and
Registration Rule 1021, Conduct Rule 2110, and Article I`V, Section l and Article V, Section 1
ofNASD’s By-Laws by permitting an unregistered individual to function as a principal of
member firm LSVL for aperiod of` three years and failing to update the firni’s Pornl BD. We
also affirm the Hearing Panel’s findings that Lee and Gordon charged fraudulently encessive,
undisclosed markups in 31 retail sales of PCCM stock, in contravention of Conduct Rules 211(},
2120, 2230, and 244(}, IM-ZMO, Section 10(b) of the Exchange Act, and Bxchange Act Rules
10b»5 and l(}b~l(}.

We find that respondents’ registration violations were egregious, and we bar respondents
in all capacities We also lind that respondents’ markup violations were egregious, and we bar
respondents in ail capacities and order that they pay injured customers restitution of $20,832.40
Goint and severai), plus interest from the date of the violative sales, calculated at the rate
established for the underpayment of` federal income tax in Section 6621 of the Internal Revenue
Code, 26 U.S.C. 6621(a)(2). Respondents shail pay restitution (joint and several) ofmarlcups in

 

3§ See Guideltnes, at 4.

32 ashton A to ass oomplsrnl ssa unions A one B to as nearing Pssol decision identify
eight violative sales in August 2002, but identify purchasing customers for only seven of` the
sales. We therefore reduce the Hearing Panel’s restitution order by $1,825, the amount of the
sale for which a purchasing customer is not identified

33 The record indicates that NASD ordered LSVL and Guss to pay restitution in connection

with their settlement of the allegations against them in this matter. Respondents may be given .:
credit for and reduce their restitution amount by restitution amounts that respondents prove that
LSV'L or Guss actually paid to injured customers identified on Exhibit A to this decision j

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excess of lO% in the amounts and to the customers identified orr Exhibit A attached to this
decision We also affirm the Hearing Panel’s assessment of costs of $2,779.34

'l`hus, Lee and Gordon are barred in all capacities, ordered to pay restitution of
$20,832.40 plus interest and assessed Hearing Panel costs of $2,779. The bars imposed in this
decision are effective immediately upon issuance of the decision

 

On Behalf of the National Adjudicatory Council,

 

Marcia E. Asquith, Vice President and Deputy
Corporate Secretary

 

34 We also have considered and reject without discussion all other arguments advanced by

the parties

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Exhibit A (Page 1 of 4) § j
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FAB Francis A. Brady $455.00
JPB James P. Brandenhuz‘g $1,725.00
DB Dinald Brenkus $934.60
FWB Fi‘ed W. Bryarlf $1 ,2'10.00
NC Nick Como $330.00
MLC Maan L. Corcoran $850.00
PD Paua De\ic $255`00
$1 ,'l 92.00 i.
RLF Roberr L. Fenn@r $260.00
DF Duwayne Fenoi'zo $2,725.00 z
JYF Jeremy Fii<ac $47.00 _
JDF 16er mac $103.00
$1,360.00
DHG David H. Geary $350.00
$592.00
Me Marcel Goldfam $145.00
RRG Ronaid R. Gn'eb $55'00
$255.00
FMH Frederick M. Hackett !RA $420.00
REL Roben E. wage $115.00
KSM Kenne:h 3. Mi:lerd $145.00
sR stamey Randan $534.30
RAS Roben A. Sanderson $2,160.00
CS Chrisfopher Soriano $305,00
Ks Ken Suba:a $443,00
luv lshaq 13. vamc $2,437.00
RW R§ck Woodwyz< $Bo.oo
EW Emmett Wright $420.00
Totaf Restétution Due: $20,832,40

Car|onic/Lee Gordon!Exhibii A1 to decision-doc

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